Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 1 of 165 PageID #:966




                          EXHIBIT A
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 2 of 165 PageID #:967



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                        )
 STERIGENICS U.S., LLC,                                 )
                                                        )
      Plaintiff,                                        )
                                                        )
 v.                                                     )
                                                        ) Case No. 1:21-cv-04581
                                                        )
 NATIONAL UNION FIRE INSURANCE                          ) Honorable Mary M. Rowland
 COMPANY OF PITTSBURGH, PA,                             )
                                                        )
      Defendant/Third-Party Plaintiff,                  )
                                                        )
 v.                                                     )
                                                        )
 ZURICH AMERICAN INSURANCE                              )
 COMPANY, AND DOES 1-20,                                )
                                                        )
      Third-Party Defendants.


                           [PROPOSED] THIRD-PARTY COMPLAINT


         Third-Party Plaintiff, National Union Fire Insurance Company of Pittsburgh, Pa.

(“National Union”), for its Third-Party Complaint against Third-Party Defendants, Zurich

American Insurance Company (“Zurich”) and DOES 1-20, states as follows:

                                            Introduction

         1.        National Union brings this Third-Party lawsuit to obtain contribution and other

relief from Zurich American Insurance Company (“Zurich”) and DOES 1-20 relative to this

Court’s finding that National Union owes a duty to defend Sterigenics, U.S., LLC (“Sterigenics”)

against underlying litigation.

         Sterigenics initiated this lawsuit seeking a declaration that National Union owed a duty to

defend Sterigenics against hundreds of pending lawsuits alleging bodily injuries that are

consolidated for purposes of discovery and are captioned In re: Willowbrook Ethlyene Oxide
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 3 of 165 PageID #:968




Litigation, Circuit Court of Cook County, Illinois Consolidated Case No. 18-L-010475 (the

“Underlying Litigation”).      The Underlying Litigation seeks compensatory damages from

Sterigenics arising out of ethylene oxide (“EtO”) medical device sterilization facilities located in

Willowbrook, Illinois. The Underlying Litigation maintains that Griffith Foods International, Inc.

f/k/a Griffith Laboratories U.S.A., Inc. (“Griffith”) and certain affiliate entities designed and

operated the EtO facilities from inception in or around 1984 until May 1999, when successor

entities operated the facilities. The Underlying Litigation alleges that emissions of EtO for decades

caused underlying plaintiffs who reside in surrounding communities of the facilities to develop

various diseases caused by ingesting EtO emissions.

       National Union maintained that it did not owe coverage to Sterigenics under various terms

and conditions of two Commercial General Liability insurance policies it issued to Griffith

Laboratories, Inc. and Griffith Laboratories U.S.A., Inc.

       In this lawsuit, Sterigenics and National Union cross-moved for judgment on the pleadings

regarding National Union’s duty to defend. On August 3, 2022, this Court entered a Memorandum

Opinion and Order [ECF 40], which held that National Union owed a duty to defend Sterigenics

(“the Ruling”). A true and accurate copy of the Ruling is attached hereto as Exhibit 1. In relevant

part, the Ruling found that pollution exclusions in National Union’s policies were “ambiguous as

to whether emission of EtO under an IEPA permit qualifies as traditional environmental pollution.”

[ECF 30 at 16]. As the pollution exclusion’s application was not free from doubt, National Union

was not excused from its defense obligation. Id. Further, the Ruling also found that the allegations

of the underlying litigation raised a possibility that Sterigenics constitutes an insured under the

National Union Policies as a successor to a Griffith affiliate.




                                                  2
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 4 of 165 PageID #:969




        Upon information and belief Zurich and DOES 1-20 issued Commercial General Liability

insurance policies effective September 30, 1985 through 2019 that provide insurance coverage to

Sterigenics for the Underlying Litigation. Based on the Ruling, pollution exclusions in insurance

policies issued by Zuirch and DOES 1-20 are inapplicable to preclude coverage. Thus, similar to

National Union – under the terms of the Ruling – Zurich and DOES 1-20 owe a defense to

Sterigenics relative to the Underlying Litigation. Pursuant to the Ruling, National Union is entitled

to contribution and other relief from Zurich and DOES 1-20 for their equitable share of Sterigenics’

defense of the Underlying Litigation.

                                                  Parties

        2.      National Union is a Pennsylvania corporation with its principal place of business

located in New York, NY. At all relevant times, National Union was authorized to issue insurance

policies in Illinois.

        3.      Zurich American Insurance Company is New York Corporation with its principal

place of business located in Schaumburg, Illinois.

        4.      National Union is informed and believes, and thereon alleges, that each of the

fictitious Defendants named as DOES 1-20 is an insurer that provides coverage to Sterigenics for

the claims asserted in the Underlying Litigation. National Union is unaware and ignorant of the

true names of the Defendants named as DOES 1-20, inclusive, and therefore National Union sues

these Defendants by such fictitious names. National Union will amend this Third-Party Complaint

to allege their true names and capacities when ascertained.


                                    Jurisdiction And Venue

        5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 2201 and

2202 insofar as National Union seeks a declaration of rights and duties under insurance policies


                                                 3
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 5 of 165 PageID #:970




it and other insurers issued to Griffith under which Sterigenics asserts a right to insurance

coverage. This Court also has jurisdiction over this lawsuit pursuant to 28 U.S.C. § 1332 as

complete diversity exists between the original parties to this lawsuit, and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

        6.      There is a present and actual controversy between the parties.

        7.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 (a), (b), and

(c) because Zurich’s principal place of business is located in this judicial district and Zurich

conducts sufficient business within this judicial district as to confer personal jurisdiction over it

in this Court. Venue is further proper in this judicial district because underlying lawsuits allege

that Sterigenics’ business operations in this district caused injury and damage for which

compensatory damages are sought.            Venue is also proper in this judicial district because

Sterigenics’ requests for insurance coverage regarding the Underlying Litigation arises from

alleged conduct that occurred in this judicial district, including the delivery of the National Union

insurance policies to Griffith Laboratories, Inc. at an Alsip, Illinois address.
                                        The Underlying Litigation

        8.      Hundreds of underlying lawsuits are currently pending and consolidated for pre-

trial and discovery purposes in the Circuit Court of Cook County, Illinois, County Department,

Law Division. A true and accurate copy of the Fourth Amended Master Complaint of the

Underlying Litigation is attached hereto as Exhibit 2.


        9.      The Underlying Litigation asserts that on or about April 12, 1984, Griffith through

its unincorporated division Micro-Biotrol, Co., leased a facility located at 7775 Quincy Street in

Willowbrook, Illinois.

        10.     The Underlying Litigation alleges that Griffith sought to operate EtO medical

device sterilization at the facility.




                                                    4
     Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 6 of 165 PageID #:971




         11.    Upon information and belief, operations and EtO emissions at 7775 Quincy Street

were in operation between September 30, 1985 to and including at least May 1999.

         12.    The Underlying Litigation alleges that Sterigenics under its current name and

through predecessor entities including, Micro-Biotrol Company, Micro-Biotrol, Inc., Griffith

Micro Science, Inc., IBA S&I, Inc., and Sterigenics EO, Inc., operated EtO sterilization facilities

located at 7775 Quincy Street in Willowbrook, Illinois and 830 Midway Drive, Willowbrook,

Illinois (collectively, “the Facilities”).

         13.    The Underlying Litigation maintains that plaintiffs lived or worked near the

Facilities and unknowingly breathed excessive amounts of EtO emitted from the Facilities on a

routine and continuous basis for years.

         14.    The Underlying Litigation alleges that chronic inhalation exposure to EtO causes

cancer, including lymphatic cancers, leukemia, and breast cancer.

         15.    The Underlying Litigation alleges plaintiffs and their descendants inhaled

dangerous amounts of EtO and developed diseases and conditions resulting in medical bills, lost

wages, pain and suffering, mental anguish, disability, disfigurement, loss of normal life and death.

                                   The National Union Insurance Policies

         16.    National Union issued to Griffith Laboratories U.S.A., Inc. and Griffith

Laboratories, Inc. Commercial General Liability Policy No. GLA9 457058RA, effective

September 30, 1983 to September 30, 1984 and Policy No. GLA1940011RA, effective September

30, 1984 to September 30, 1985 (collectively, “the National Union Policies”).

         17.    The Policies, in relevant part, provide:

I.       COVERAGE A—BODILY INJURY LIABILITY
         COVERAGE B—PROPERTY DAMAGE LIABILITY




                                                  5
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 7 of 165 PageID #:972




        The company will pay on behalf of the insured all sums which the insured shall become
legally obligated to pay as damages because of

               A.     bodily injury or
               B.     property damage

to which this insurance applies, caused by an occurrence, and the company shall have the right
and duty to defend any suit against the insured seeking damages on account of such bodily injury
or property damage, even if any of the allegations of the suit are groundless, false or fraudulent,
and may make such investigation and settlement of any claim or suit as it deems expedient, but the
company shall not be obligated to pay any claim or judgment or to defend any suit after the
applicable limit of the company’s liability has been exhausted by payment of judgments or
settlements.

Exclusions

       This insurance does not apply:

                                         *       *       *

(f)    to bodily injury or property damage arising out of the discharge, dispersal, release or
       escape of smoke, vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or gases, waste
       materials or other irritants, contaminants or pollutants into or upon land, the atmosphere or
       any water course or body of water; but this exclusion does not apply if such discharge,
       dispersal, release or escape is sudden and accidental;

                                         *       *       *

II.    PERSONS INSURED

       Each of the following is an insured under this insurance to the extent set forth below:

                                         *       *       *

(c)    if the named insured is designated in the declarations as other than an individual,
       partnership or joint venture, the organization so designated and any executive officer,
       director or stockholder thereof while acting within the scope of his duties as such;

                                         *       *       *

                                         DEFINITIONS

                                         *       *       *

“bodily injury” means bodily injury, sickness or disease sustained by any person which occurs
during the policy period, including death at any time resulting therefrom;



                                                 6
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 8 of 165 PageID #:973




                                         *      *       *

“insured” means any person or organization qualifying as an insured in the “Persons Insured”
provision of the applicable insurance coverage. The insurance afforded applies separately to each
insured against whom claim is made or suit is brought, except with respect to the limits of the
company’s liability;

                                         *      *       *

“named insured” means the person or organization named in Item 1. of the declarations of this
policy;

                                         *      *       *

“occurrence” means an accident, including continuous or repeated exposure to conditions, which
results in bodily injury or property damage neither expected nor intended from the standpoint
of the insured;

                                         *      *       *

“property damage” means (1) physical injury to or destruction of tangible property which occurs
during the policy period, including the loss of use thereof at any time resulting therefrom, or (2)
loss of use of tangible property which has not been physically injured or destroyed provided such
loss of use is caused by an occurrence during the policy period;

                                         *      *       *

      BROAD FORM COMPREHENSIVE GENERAL LIABILITY ENDORSEMENT

                                         *      *       *

II.   Personal Injury and Advertising Injury Liability Coverage

       (A)     The company will pay on behalf of the insured all sums which the insured
               shall become legally obligated to pay as damages because of personal
               injury or advertising injury to which this insurance applies, sustained by
               any person or organization and arising out of the conduct of the named
               insured’s business, within the policy territory….

                                         *      *       *

       (D)     Additional Definitions
                                         *      *       *




                                                7
  Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 9 of 165 PageID #:974




               “Personal injury,” in relevant part, means injury arising out of one or more
               of the following offenses committed during the policy period of the
               following offenses committed during the policy period:
                                         *       *       *
               2. wrongful entry or eviction or other invasion of the right of private occupancy;

                                         *      *       *

X.     ADDITIONAL PERSONS INSURED

As respects bodily injury, property damage and personal injury and advertising injury
coverages, under the provision “Persons Insured”, the following are added as insureds:

                                         *      *       *

       (B)     Employee—Any employee (other than executive officers) of the named insured
               while acting within the scope of his duties as such, but the insurance afforded to
               such employee does not apply:

               (1)    to bodily injury or personal injury to another employee of the named
                      insured arising out of or in the course of his employment;

               (2)    to personal injury or advertising injury to the named insured or, if the
                      named insured is a partnership or joint venture, any partner or member
                      thereof, or the spouse of any of the foregoing;

               (3)    to property damage to property owned, occupied or used by, rented to, in
                      the care, custody or control of or over which physical control is being
                      exercised for any purpose by another employee of the named insured, or
                      by the named insured or, if the named insured is a partnership or joint
                      venture, by any partner or member thereof or by the spouse of any of the
                      foregoing.

                                         *      *       *

XII.   AUTOMATIC COVERAGE—NEWLY ACQUIRED ORGANIZATIONS (90
       DAYS)

The word insured shall include as named insured any organization which is acquired or formed
by the named insured and over which the named insured maintains ownership or majority
interest, other than a joint venture, provided this insurance does not apply to bodily injury,
property damage, personal injury or advertising injury with respect to which such new
organization under this policy is also an insured under any other similar liability or indemnity
policy or would be an insured under any such policy but for exhaustion of its limits of liability.
The insurance afforded hereby shall terminate 90 days from the date any such organization is
acquired or formed by the named insured.


                                                8
 Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 10 of 165 PageID #:975




                                         *       *      *

               Item 1 - Named Insured

               Griffith Laboratories U.S.A., Inc.
               Griffith Laboratories, Inc.

               “Named Insured” means the organization, including any subsidiary thereof, named
               in item 1 of the declarations and also includes any other company which is acquired
               or formed by the named insured during the policy period and over which the named
               insured maintains ownership or financial control, provided this insurance does not
               apply to any such newly acquired or formed company which is an insured under
               any other liability or indemnity policy or would be an insured under any such policy
               but for its termination upon exhaustion of its limits of liability. Such insurance as
               may be afforded and newly acquired or formed company shall terminate within
               sixty days of its acquisition of formation unless reported to the company within said
               sixty days.

                                         *       *      *

                               Coverage Dispute and The Ruling

       18.     On or about February 12, 2021, Sterigenics sought insurance coverage under the

National Union Policies relative to the Underlying Litigation.

       19.     National Union maintained that the National Union Policies preclude coverage for

the Underlying Litigation.

       20.     National Union also asserted that Sterigenics failed to meet its burden to establish

it qualified as an insured under the National Union Policies.

       21.     Sterigenics filed this lawsuit seeking, in part, a declaratory judgment that National

Union owed Sterigenics a duty to defend the Underlying Litigation.

       22.     The Court entered the Ruling on August 3, 2022 based on cross-motions for

judgment on the pleadings.




                                                 9
 Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 11 of 165 PageID #:976




        23.     The Ruling finds that the allegations of the Underlying Litigation raise at least the

possibility that Sterigenics constitutes a Named Insured to the National Union Policies as a

successor to Griffith’s affiliate. Exhibit 1 at 12.

        24.     The Ruling holds, in part, that pollution exclusions in the National Union Policies

do not excuse National Union’s duty to defend Sterigenics against the Underlying Litigation,

because the pollution exclusions is ambiguous as to whether the emission of EtO under an IEPA

permit qualifies as traditional environmental pollution that is excluded under the National Union

Policies. Id. at 16.

        25.     The Ruling also holds that allegations of unintended leaks, spills or emissions in

the Underlying Litigation are sufficient to trigger the “sudden and accidental” exception to the

pollution exclusion. Id. at 18.

        26.     The Ruling provides that the allegations of private nuisance in the Underlying

Litigation implicate “personal injury” coverage under the National Union Policies. Id. at 23.

        27.     The Ruling finds that National Union sought declaratory relief regarding its

coverage position within a reasonable time of receiving actual notice of the Underlying Litigation

and, as a result, is not estopped from asserting coverage defenses. Id. at 28.

        28.     The Ruling concludes that National Union owes a duty to defend Sterigenics based

on the Fourth Amended Master Complaint of the Underlying Litigation.

                               Zurich and DOE Insurance Policies

        29.     On information and belief, Zurich issued Commercial General Liability insurance

policies to policies to Griffith effective September 30, 1985 to and including at least May 1999.




                                                  10
 Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 12 of 165 PageID #:977




       30.     On information and belief, DOES 1-20 issued Commercial General Liability

insurance policies that provide insurance coverage for the Underlying Lawsuit to Sterigenics

effective September 30, 1985 through 2019.

       31.     Based on the Ruling, pollution exclusions in insurance policies issued by Zuirch

and DOES 1-20 are inapplicable to preclude coverage for the Underlying Litigation.

       32.     Based on the Ruling, the allegations of the Underlying Litigation implicate

“personal injury” coverage.

       33.     On information and belief, Zurich and DOES 1-20 denied coverage to Sterigenics,

including a duty to defend, relative to the Underlying Litigation.

       34.     Pursuant to the Ruling, Zurich and DOES 1-20 owe a defense to Sterigenics relative

to the Underlying Litigation.

                                Count I – Declaratory Judgment

       35.     National Union realleges Paragraphs 1 - 34 as if fully set forth herein.

       36.     Based upon the Ruling, pollution exclusions in insurance policies issued by Zurich

and DOES 1-20 are inapplicable to preclude coverage for Sterigenics regarding the Underlying

Litigation.

       37.     Based upon the Ruling, “bodily injury” and “personal injury” coverage is

implicated under insurance policies issued by Zurich and DOES 1-20 for Sterigenics regarding the

Underlying Litigation.

       38.     The Ruling’s determination that National Union owes a duty to defend Sterigenics

applies equally to Zurich and DOES 1-20.

                                Count II – Equitable Contribution

       39.     National Union realleges Paragraphs 1 – 34 as if fully set forth herein.




                                                11
 Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 13 of 165 PageID #:978




       40.     On information and belief, Sterigenics tendered the Underlying Litigation to Zurich

and DOES 1-20 and sought a defense and indemnity

       41.     On information and belief, Zuirch and DOES 1-20 denied coverage to Sterigenics,

including a duty to defend, relative to the Underlying Litigation.

       42.     Based on the Ruling, pollution exclusions in insurance policies issued by Zurich

and DOES 1-20 are inapplicable to preclude coverage for Sterigenics regarding the Underlying

Litigation.

       43.     Based on the Ruling, “bodily injury” and “personal injury” coverage is implicated

under insurance policies issued by Zurich and DOES 1-20 for Sterigenics regarding the Underlying

Litigation.

       44.     The Ruling’s determination that National Union owes a duty to defend Sterigenics

in the Underlying Litigation applies equally to the risk insured by Zurich and DOES 1-20.

       45.     Any sums National Union is required to pay toward the defense and/or indemnity

of Sterigenics in the Underlying Litigation pursuant to the Ruling should be shared by by Zurich

and DOES 1-20 based on the time on the risk.

       46.     Pursuant to the Ruling, insurance rights and obligations under policies issued by

Zurich and DOES 1-20 constitute other valid and collectible insurance that is owed to Sterigenics.

       47.     Sums paid under the National Union Policies for Sterigenics regarding the

Underlying Litigation under the terms of the Ruling are not voluntarily paid by National Union.

       48.     Sums paid under the National Union Policies for Sterigenics regarding the

Underlying Litigation under the terms of the Ruling that are not also shared by those insurance

policies issued by Zurich and DOES 1-20 shall exceed National Union’s equitable share of

responsibility to defend and/or indemnify Sterigenics and warrant contribution from DOES 1-20.




                                                12
 Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 14 of 165 PageID #:979




                                       Unjust Enrichment

       49.     National Union realleges Paragraphs 1 – 34 as if fully set forth herein.

       50.     On information and belief, Sterigenics tendered the Underlying Litigation to Zurich

and DOES 1-20 and sought a defense and indemnity.

       51.     On information and belief, Zurich and DOES 1-20 denied coverage to Sterigenics,

including a duty to defend, relative to the Underlying Litigation.

       52.     Based upon the Ruling, pollution exclusions in insurance policies issued by Zuirch

and DOES 1-20 are inapplicable to preclude coverage for Sterigenics regarding the Underlying

Litigation.

       53.     Based upon the Ruling, “bodily injury” and “personal injury” coverage is

implicated under insurance policies issued by Zurich and DOES 1-20 for Sterigenics regarding the

Underlying Litigation.

       54.     The Ruling’s determination that National Union owes a duty to defend Sterigenics

in the Underlying Litigation applies equally to the risk insured by Zurich and DOES 1-20.

       55.     Sums paid under the National Union Policies for Sterigenics regarding the

Underlying Litigation under the terms of the Ruling are not voluntarily paid by National Union.

       56.     By not contributing to defend and/or indemnify Sterigenics regarding the

Underlying Litigation under the terms of the Ruling, Zurich and DOES 1-20 are unjustly

benefitting from sums required to be paid on Sterigenis’ behalf by National Union.

       57.     Equity and justice entitle National Union to reimbursement from Zurich and DOES

1-20 for amounts they should have paid to defend and/or indemnify Sterigenics regarding the

Underlying Litigation under the terms of the Ruling.




                                                13
 Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 15 of 165 PageID #:980




       WHEREFORE, National Union respectfully requests that this Court enter judgment in its

favor and:

       a.     Declare that the Ruling, including a duty to defend Sterigenics regarding
              the Underlying Litigation, applies to the insurance policies issued by Zurich
              and DOES 1-20;

       b.     Declare that Zurich and DOES 1-20 must share in Sterigenics’ defense
              based on each insurer’s time of the risk;

       c.     Award National Union damages equal to sums it is required to pay under
              the Ruling that are in excess of its proportional share that should be paid by
              Zurich and DOES 1-20 on behalf of their co-insured Sterigenics regarding
              the Underlying Litigation, plus interest; and,

       d.     Grant National Union such other and further relief as this Court deems just
              and appropriate, including costs.

                                DEMAND FOR JURY TRIAL


       National Union hereby demands a trial by jury of all triable issues in this case.



Dated: ---, 2022              Respectfully submitted,

                              NATIONAL UNION FIRE INSURANCE COMPANY OF
                              PITTSBURGH, PENNSYLVANIA


                                                 By: ________________________
                                                    Matthew J. Fink
                                                    Joseph P. Lang
                                                    Nicolaides Fink Thorpe Michaelides
                                                    Sullivan LLP
                                                    10 South Wacker Drive, Suite 2100
                                                    Chicago, IL 60606
                                                    Telephone: (312) 585-1400
                                                    jlang@nicolaidesllp.com



4853-3852-6259




                                                14
Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 16 of 165 PageID #:981




                           EXHIBIT 1
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 17
                                                            1 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:727
                                                                              #:982




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


Sterigenics, U.S., LLC,

              Plaintiff,                          Case No. 21-cv-4581

              v.

National Union Fire Insurance Company
Of Pittsburgh, P.A.,
                                                  Judge Mary M. Rowland

            Defendant.
______________________________________

Griffith Foods International, Inc., et al.,

              Plaintiffs,                         Case No. 21-cv-6403

              v.

National Union Fire Insurance Company
of Pittsburgh, P.A.,
                                                  Judge Mary M. Rowland

              Defendant.



                     MEMORANDUM OPINION AND ORDER

       In this insurance coverage dispute, Plaintiff Sterigenics U.S., LLC and

Plaintiffs Griffith Foods International, Inc. and Griffith Foods Group, Inc. have

brought separate but related lawsuits against their insurer, National Union Fire

Insurance Company of Pittsburgh, P.A. Plaintiffs seek judgments declaring that

National Union owes them duties to defend and indemnify them in an underlying


                                              1
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 18
                                                            2 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:728
                                                                              #:983




action pending in Illinois state court. Sterigenics and the Griffith Plaintiffs have

moved for partial judgment on the pleadings, requesting a judgment that National

Union owes them a duty to defend. The Griffith Plaintiffs have also moved for

judgment on their claims for breach of the duty to defend and estoppel. National

Union has cross-moved for judgment on the pleadings. For the reasons explained

below, this Court grants Sterigenics’ and the Griffith Plaintiffs’ motions as they

pertain to the duty to defend, denies the Griffith Plaintiffs’ motion as to estoppel, and

denies National Union’s motions except as it pertains to estoppel.

   I.      Background

        This Court accepts as true the following facts from the amended complaint in

the Sterigenics case and the complaint in the Griffith case. See Wagner v. Teva

Pharm. USA, Inc., 840 F.3d 355, 358 (7th Cir. 2016). Because Plaintiffs’ complaints

contain similar allegations and concern the same insurance policies, this Court will

sometimes cite to one complaint for a proposition that applies to both Plaintiffs.

Unless otherwise indicated, citations to docket numbers refer to filings in Sterigenics’

case.

           A.    Underlying Litigation and the Policies

        In Illinois state court, multiple plaintiffs have sued several defendants,

including two of the Plaintiffs here—Sterigenics and Griffith Food International, Inc.,

formerly known as Griffith Laboratories U.S.A., Inc. (hereinafter Griffith Labs). [15]

¶¶ 13, 16. The underlying litigation, entitled In re: Willowbrook Ethylene Oxide

Litigation, is currently pending in the Circuit Court of Cook County, Illinois. [15-1].




                                           2
    Case:
      Case:
          1:21-cv-04581
            1:21-cv-04581
                        Document
                          Document
                                 #: #:
                                    45-1
                                       40 Filed:
                                          Filed: 09/23/22
                                                 08/03/22 Page
                                                          Page 19
                                                               3 ofof29
                                                                      165
                                                                        PageID
                                                                          PageID
                                                                               #:729
                                                                                 #:984




In the (operative) fourth amended complaint, the underlying plaintiffs allege that

they suffered bodily and personal injuries as a result of exposure to discharges of

ethylene oxide (EtO) from sterilization facilities Sterigenics currently owns in

Willowbrook, Illinois. [15] ¶ 14. The fourth amended complaint serves as the master

complaint for hundreds of actions which the state court consolidated for pretrial and

discovery purposes; its allegations concern each named plaintiff. Id. ¶ 14 & n.2.

         The underlying plaintiffs assert that, in 1984, Griffith Labs “purposely

directed” that an EtO sterilization facility be located in the plaintiffs’ residential

community, knowing the facility would endanger the community’s health and safety;

the plaintiffs also assert that Griffith Labs operated the facility for the next fifteen

years without adequately protecting the plaintiffs from the facility’s carcinogenic

emissions. [15-1] ¶ 7. Griffith Labs operated the Willowbrook facility “[d]uring

certain times prior to May 14, 1999,” according to the underlying complaint. Id. ¶

24.1 The underlying complaint also alleges that “Defendant Sterigenics U.S., under

its current name and previously under other names, operated EtO sterilization

facilities at 7775 Quincy Street in Willowbrook, Illinois . . . and 830 Midway Drive

in Willowbrook, Illinois, continuously and at all relevant times.” Id. ¶ 22. The

underlying complaint asserts state-law claims against Sterigenics and Griffith Labs

for negligence, negligent training, negligent supervision, willful and wanton

conduct, strict liability, civil battery, and public nuisance. [15-1].



1 Prior iterations of the underlying complaint—the second and third amended complaints—named
Griffith Foods Group Inc., the other Plaintiff in the Griffith suit (hereinafter Griffith Foods). Griffith
[1] ¶¶ 19, 23. Griffith Foods is formerly known as Griffith Laboratories, Inc. Id. ¶ 1.


                                                    3
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 20
                                                            4 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:730
                                                                              #:985




          B.     Policies’ Provisions

       The parties’ dispute centers around two commercial general liability policies

that National Union insures. [15] ¶ 17. Policy number GLA-945-70-58RA was

effective from September 30, 1983 to September 30, 1984; policy number GLA-194-

00-11RA was effective from September 30, 1984 to September 30, 1985. Id.

       The Policies’ insuring agreement provides coverage for “bodily injury” or

“property damage”:

       The company will pay on behalf of the Insured all sums which the
       insured shall become legally obligated to pay as damages because of

       A. bodily injury or
       B. property damage

       to which this insurance applies, caused by an occurrence, and the
       company shall have the right and duty to defend any suit against the
       insured seeking damages on account of such bodily injury or property
       damage, even if any of the allegations of the suit are groundless, false or
       fraudulent, and may make such investigation and settlement of any
       claim or judgment or to defend any suit after the applicable limit of the
       company’s liability has been exhausted by payment of judgments or
       settlements.

[25-1] at 6; [25-2] at 12. Exclusion (f) of the Policies—the Pollution Exclusion—

states:

       Coverage A and B are subject to exclusion (f), which precludes coverage
       for:
       [] bodily injury or property damage arising out of the discharge,
       dispersal, release or escape of smoke, vapors, soot, fumes, acids, alkalis,
       toxic chemicals, liquids or gases, waste materials or other irritants,
       contaminants or pollutants into or upon land, the atmosphere or any
       water course or body of water; but this exclusion does not apply if such
       discharge, dispersal, release or escape is sudden and accidental[.]

[25-1] at 6; [25-2] at 12.


                                           4
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 21
                                                            5 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:731
                                                                              #:986




       The Policies also provide coverage for “personal injury,” as follows:

       Personal Injury and Advertising Injury Liability Coverage

       The company will pay on behalf of the insured all sums which the
       insured shall become legally obligated to pay as damages because of
       personal injury or advertising injury to which this insurance applies,
       sustained by any person or organization and arising out of the conduct
       of the named insured’s business, within the policy territory, and the
       company shall have the right and duty to defend any suit against the
       insured seeking damages on account of such injury, even if any of the
       allegations of the suit are groundless, false or fraudulent. . .

       ‘Personal injury,’ in relevant part, means injury arising out of one or
       more of the following offenses committed during the policy period of
       the following offenses committed during the policy period:

       * * *
       2.    wrongful entry or eviction or other invasion of the right of private
       occupancy;


[25-1] at 7; [25-2] at 6.

       The Policies contain an endorsement stating that the term “Named Insured”

means:

       [T]he organization, including any subsidiary thereof, named in item 1
       of the declarations and also includes any other company which is
       acquired or formed by the named insured during the policy period
       and over which the named insured maintains ownership or financial
       control, provided this insurance does not apply to any such newly
       acquired or formed company which is an insured under any other
       liability or indemnity policy or would be an insured under any such
       policy but for its termination upon exhaustion of its limits of
       liability. Such insurance as may be afforded and [sic] newly
       acquired or formed company shall terminate within sixty days of its
       acquisition of [sic] formation unless reported to the company within
       said sixty days.

[25-1] at 16; [25-2] at 15.

       Item 1 of the Policies’ declarations pages identifies “Griffith Laboratories, Inc.”


                                            5
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 22
                                                            6 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:732
                                                                              #:987




and “Griffith Laboratories U.S.A., Inc.” (the Griffith Plaintiffs, under their former

names) as the named insureds. Id. ¶ 20.

          C.    National Union Denies Coverage

      In February 2021, Sterigenics tendered the underlying litigation to National

Union for defense and indemnity coverage. [15] ¶ 52. National Union denied coverage

on the grounds that Sterigenics is not insured under the Policies and that the

Pollution Exclusion precludes coverage. Id. ¶¶ 53, 55. National Union similarly

denied coverage to the Griffith Plaintiffs after they provided notice to it of the third

amended underlying complaint. Griffith [1] ¶¶ 31, 34.

      After National Union denied coverage, Sterigenics and the Griffith Plaintiffs

brought separate suits against National Union in this district; the Sterigenics case

was initially assigned to this Court. Upon National Union’s unopposed motion, this

Court deemed the suits related and the Executive Committee reassigned the case to

this Court. [30]. In its amended complaint, Sterigenics seeks a judgment declaring

that National Union possesses a duty to defend (Count I) and a duty to indemnify

(Count II), as well as damages resulting from National Union’s alleged breach of the

Policies (Count III). [15] ¶¶ 57–82. The Griffith Plaintiffs assert claims for breach of

contract based on National Union’s refusal to defend (Counts I and II); they also a

seek declaratory judgment ordering National Union to defend and indemnify and

estopping National Union from asserting coverage defenses (Counts III and IV).

Griffith [1] ¶¶ 49–78.

      Sterigenics moves under Rule 12(c) for partial judgment on Counts I and III,




                                           6
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 23
                                                            7 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:733
                                                                              #:988




as to National Union’s duty to defend, [24]; National Union cross-moves for entry of

judgment on all counts against Sterigenics, [31]. In the Griffith case, the Griffith

Plaintiffs move pursuant to Rule 12(c) for judgment on Counts I and II for breach of

contract with respect to the duty to defend and on Counts III and IV for a declaration

that National Union has a duty to defend and that National Union is estopped from

raising coverage defenses. Griffith [15]. National Union cross-moves against the

Griffith Plaintiffs for judgment on all counts. Griffith [23].

II.    Legal Standard

       Rule 12(c) permits a party to move for judgment solely on the pleadings. Fed.

R. Civ. P. 12(c). Pleadings include the complaint, the answer, and any written

instruments attached as exhibits. Federated Mut. Ins. Co. v. Coyle Mech. Supply Inc.,

983 F.3d 307, 312–13 (7th Cir. 2020). This Court reviews Rule 12(c) motions under

the same standards as a motion to dismiss under Rule 12(b)(6). Mesa Lab’ys, Inc. v.

Fed. Ins. Co., 994 F.3d 865, 867 (7th Cir. 2021); Lodholtz v. York Risk Servs. Grp.,

Inc., 778 F.3d 635, 639 (7th Cir. 2015). Accordingly, this Court takes all facts pleaded

in the amended complaint as true and draws all reasonable inferences and facts in

favor of the nonmoving party. Mesa, 994 F.3d at 867.

III.   Analysis

       Before addressing the parties’ legal arguments, this Court notes that all

parties agree that Illinois law applies to the construction of the Policies. Under

Illinois law, the interpretation of an insurance policy, like any other contract, is a

question of law. Mashallah, Inc. v. W. Bend Mut. Ins. Co., 20 F.4th 311, 319 (7th Cir.




                                            7
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 24
                                                            8 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:734
                                                                              #:989




2021). This Court construes insurance policies as a whole, “giving effect to every

provision if possible.” Melcorp, Inc. v. W. Am. Ins. Co., No. 21-2448, --- F.4th ----, 2022

WL 2068256, at *1 (7th Cir. June 8, 2022) (quoting Paradigm Care & Enrichment

Center, LLC v. W. Bend Mut. Ins. Co., 33 F.4th 417, 420 (7th Cir. 2022)). Policy terms

“that are ‘clear and unambiguous’ must be given their ‘plain and ordinary meaning.’”

Mashallah, 20 F.4th at 319 (quoting Sanders v. Ill. Union Ins. Co., 157 N.E.3d 463,

467 (Ill. 2019)).

          A.        The Duty to Defend

       This Court first considers whether National Union owes Sterigenics and the

Griffith Plaintiffs a duty to defend in the underlying lawsuit. Illinois law “recognizes

that the insurer’s duty to defend arises when the facts alleged in the underlying

complaint fall within, or potentially within, the policy’s coverage provisions.” Liberty

Mut. Fire Ins. Co. v. Clayton, 33 F.4th 442, 447 (7th Cir. 2022) (internal quotation

omitted). The duty to defend is generally broader than the duty to indemnify “because

it arises in cases of arguable or potential coverage,” while the duty to indemnify

“arises only in circumstances of actual coverage.” Id. (quoting Keystone Consol.

Indus., Inc. v. Emps. Ins. Co. of Wausau, 456 F.3d 758, 762 (7th Cir. 2006)). To

determine whether insurer’s duty to defend has arisen, the Court compares the

allegations of the underlying complaint to the policy language. Thermoflex Waukegan,

LLC v. Mitsui Sumitomo Ins. USA, Inc., No. 21 C 788, 2022 WL 954603, at *3 (N.D.

Ill. Mar. 30, 2022) (citing Metzger v. Country Mut. Ins. Co., 986 N.E.2d 756, 761 (Ill.

App. Ct. 2013)). This is known as the “eight corners rule,” meaning that the duty to




                                            8
 Case:
   Case:
       1:21-cv-04581
         1:21-cv-04581
                     Document
                       Document
                              #: #:
                                 45-1
                                    40 Filed:
                                       Filed: 09/23/22
                                              08/03/22 Page
                                                       Page 25
                                                            9 ofof29
                                                                   165
                                                                     PageID
                                                                       PageID
                                                                            #:735
                                                                              #:990




defend depends on a comparison between the four corners of the insurance policy and

the four corners of the complaint for which defense is sought. United Fire & Cas. Co.

v. Prate Roofing & Installations, LLC, 7 F.4th 573, 579–80 (7th Cir. 2021).

      The duty to defend arises where the “allegations of the underlying complaint

potentially assert a claim within the liability coverage of the policy.” Id. at 580; see

also Am. Bankers Ins. Co. of Fla. v. Shockley, 3 F.4th 322, 327 (7th Cir. 2021) (“If the

facts alleged in the complaint fall within, or potentially fall within, the policy

coverage, the insurer must defend the insured.”). This Court resolves any doubts

about the duty to defend and liberally construes policy terms and the underlying

complaint’s allegations in the insured’s favor. Am Bankers, 3 F.4th at 327; Zurich

Am. Ins. Co. v. Ocwen Fin. Corp., 990 F.3d 1073, 1078 (7th Cir. 2021).

                    1.     Named Insured

      Initially, there is no dispute that the Griffith Plaintiffs qualify as “named

insureds” under the Policies. National Union argues that Sterigenics fails to qualify

as an insured under the Policies and therefore cannot avail itself of their benefits.

This Court disagrees; Sterigenics is a “named insured” for the purposes of National

Union’s duty to defend.

      Both Policies contain an endorsement providing that the term “Named

Insured” means:

      [T]he organization, including any subsidiary thereof, named in item 1
      of the declarations and also includes any other company which is
      acquired or formed by the named insured during the policy period
      and over which the named insured maintains ownership or financial
      control, provided this insurance does not apply to any such newly
      acquired or formed company which is an insured under any other


                                           9
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 10
                                                             26 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:736
                                                                               #:991




      liability or indemnity policy or would be an insured under any such
      policy but for its termination upon exhaustion of its limits of
      liability.

[15] ¶ 18. Item 1 of the Policies’ declarations pages identifies Griffith Labs as one of

the named insureds. Id. ¶ 20. Thus, under the Policies’ plain language, any subsidiary

of or any other company acquired or formed by Griffith Labs also qualifies as a named

insured under the Policies.

      The underlying fourth amended complaint’s allegations trigger Sterigenics’

status as a named insured because it attempts to hold Sterigenics liable for its own

and its predecessor’s acts. The complaint alleges that on “October 4, 1984, Griffith

Labs formed a nominal corporate subsidiary, Micro Biotrol Company (MBC),” [15-1]

¶ 105. This allegation establishes that MBC is also a “named insured” under the

Policies due to its status as a subsidiary of Griffith Labs. The underlying complaint

next alleges that:

      22. “Defendant Sterigenics U.S., under its current name and previously
      under other names, operated EtO sterilization facilities at 7775 Quincy
      Street in Willowbrook, Illinois . . . and 830 Midway Drive in
      Willowbrook, Illinois, continuously and at all relevant times.
      23. Sterigenics U.S.’s predecessors who operated the Willowbrook
      facilities include: Micro-Biotrol Company, Micro-Biotrol, Inc., Griffith
      Micro Science, Inc., IBA S&I, Inc., and Sterigenics EO, Inc. Through a
      series of acquisitions, mergers, and name changes, Sterigenics U.S.
      has assumed the liabilities of these predecessor entities for their
      respective involvement in the operation of the Willowbrook facilities.
      (Sterigenics U.S. and its predecessors are referred to collectively herein
      as ‘Sterigenics U.S.’)


[15-1] ¶¶ 22, 23. Read in combination, these allegations establish that Sterigenics

became the successor entity to MBC, a named insured, through a series of corporate



                                          10
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 11
                                                             27 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:737
                                                                               #:992




transactions, including by acquisition, merger, and name change. The allegation that

Sterigenics is MBC’s successor raises at least the “possibility” that Sterigenics is

covered as a “named insured.” Amerisure Mut. Ins. Co. v. Microplastics, Inc., 622 F.3d

806, 816 (7th Cir. 2010) (quoting Health Care Industry Liability Ins. Program v.

Momence Meadows, 566 F.3d 689, 696 & n.9 (7th Cir.2009)); see, e.g., Am. Alternative

Ins. Corp. v. Metro Paramedic Servs., Inc., 829 F.3d 509, 515 (7th Cir. 2016)

(concluding that, under a reading of the underlying complaint, that a party qualified

as a named insured).

      This conclusion is supported by general principles of corporate law. Once “a

merger is established, the successor corporation takes on the obligations and

liabilities under the insurance policies.” Knoll Pharm. Co. v. Auto. Ins. Co., 167 F.

Supp. 2d 1004, 1010 (N.D. Ill. 2001); see also Kaleta v. Whittaker Corp., 583 N.E.2d

567, 570 (Ill. App. Ct. 1991) (noting that “the general rule is that a corporation that

merges with another corporation takes on the latter corporation’s obligations and

liabilities”); accord Cont’l Ins. Co. v. Daikin Applied Americas Inc., 998 F.3d 356, 361

(8th Cir. 2021) (noting that, under Minnesota law, “a surviving corporation may

assert claims under insurance policies issued to an acquired company for pre-merger

liabilities of the acquired company, even though the survivor was not named on the

policy.”) (quotation omitted). Similarly, “a corporation that simply changes its name

retains the rights and liabilities it possessed prior to the identity switch.” Gen. Elec.

Bus. Fin. Servs. Inc. v. Hedenberg, No. 10 C 5094, 2011 WL 1337105, at *2 (N.D. Ill.

Apr. 7, 2011).




                                           11
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 12
                                                             28 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:738
                                                                               #:993




      National Union argues that whether Sterigenics qualifies as an insured cannot

be determined by the underlying complaint allegations and that “numerous fact

issues” preclude judgment on this issue. [32] at 10–16. To that end, National Union

dedicates much of its briefing questioning whether Sterigenics, in fact, is a corporate

successor of MBC, and whether it in fact inherited MBC’s insurance protections.

These arguments are misplaced because “the duty to defend is gauged by the

allegations of the complaint,” and “what the facts subsequently show is immaterial.”

Am. Alternative Ins. Corp. v. Metro Paramedic Servs., Inc., 75 F. Supp. 3d 833, 841

(N.D. Ill. 2014) (quoting In re Country Mut. Ins. Co., 889 N.E.2d 209, 210 (Ill. 2007)),

aff’d, 829 F.3d 509 (7th Cir. 2016). Even if the underlying complaint’s allegations “are

groundless, false or fraudulent, the insurer is obligated to defend.” United Fire & Cas.

Co. v. Prate Roofing & Installations, LLC, 7 F.4th 573, 581 (7th Cir. 2021) (quoting

14 Couch on Insurance § 200:20). The Seventh Circuit has emphasized that “the bar

to finding a duty to defend is low.” Panfil v. Nautilus Ins. Co., 799 F.3d 716, 722 (7th

Cir. 2015). The underlying complaint’s allegations raise at least the possibility that

Sterigenics constitutes a “named insured” under the Policies as MBC’s successor.

                    2.      Bodily Injury

      Next, there is no dispute that the operative fourth amended complaint in the

underlying litigation alleges a covered “bodily injury” as defined under the Policies.

      The Policies provide:

      The company will pay on behalf of the Insured all sums which the
      insured shall become legally obligated to pay as damages because of

      A. bodily injury or



                                          12
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 13
                                                             29 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:739
                                                                               #:994




      B. property damage

      to which this insurance applies, caused by an occurrence, and the
      company shall have the right and duty to defend any suit against the
      insured seeking damages on account of such bodily injury or property
      damage, even if any of the allegations of the suit are groundless, false or
      fraudulent, and may make such investigation and settlement of any
      claim or judgment or to defend any suit after the applicable limit of the
      company’s liability has been exhausted by payment of judgments or
      settlements.

[25-1] at 6; [25-2] at 12. The underlying complaint seeks damages from Griffith Labs

and Sterigenics based on allegations that they caused the underlying plaintiffs to

breathe excessive and dangerous amounts of EtO, causing them serious—and

sometimes fatal—diseases or conditions. [15-1] ¶ 13. These allegations plainly

trigger “bodily injury” coverage under the Policies—a point that National Union

concedes. [32] at 6–7; Griffith [28] at 1.

                      3.     Pollution Exclusion

      Although National Union concedes that the underlying fourth amended

complaint alleges “bodily injury” under the Policies, it argues that the Pollution

exclusion excuses its obligation to defend Sterigenics and Griffith Labs from those

allegations in the underlying litigation. An insured’s claim can fall outside of a

policy’s coverage if it falls “within an exclusion.” Mesa Lab'ys, Inc. v. Fed. Ins. Co.,

994    F.3d    865,    868    (7th   Cir.    2021).   But   “a   decision   to   excuse

an insurer’s duty to defend based on an exclusionary clause in the contract ‘must be

clear and free from doubt.’” Zurich Am. Ins. Co. v. Ocwen Fin. Corp., 990 F.3d 1073,

1078 (7th Cir. 2021) (quoting Evergreen Real Estate Servs., LLC v. Hanover Ins. Co.,

142 N.E.3d 880, 887 (Ill. App. Ct. 2019)).



                                             13
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 14
                                                             30 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:740
                                                                               #:995




      Exclusion (f) of the Policies—the Pollution Exclusion—states:

      Coverage A and B are subject to exclusion (f), which precludes coverage
      for:
      [] bodily injury or property damage arising out of the discharge,
      dispersal, release or escape of smoke, vapors, soot, fumes, acids, alkalis,
      toxic chemicals, liquids or gases, waste materials or other irritants,
      contaminants or pollutants into or upon land, the atmosphere or any
      water course or body of water; but this exclusion does not apply if such
      discharge, dispersal, release or escape is sudden and accidental[.]

[25-1] at 6 (emphasis added); [25-2] at 12 (emphasis added).

      In Illinois, courts restrict pollution exclusions to “only hazards traditionally

associated with environmental pollution.” AFM Mattress Co., LLC v. Motorists Com.

Mut. Ins. Co., 37 F.4th 440, 444 (7th Cir. 2022) (citing Am. States Ins. Co. v. Koloms,

687 N.E.2d 72 (Ill. 1997)). National Union argues that the Pollution Exclusion bars

coverage because the underlying fourth amended complaint asserts that the

plaintiffs have sustained severe injuries stemming from traditional environmental

pollution—namely, the emissions of EtO, a toxic and poisonous chemical that has

been classified as a carcinogenic and a “priority pollutant.” [15-1] ¶¶ 13, 44, 46, 128.

This Court disagrees and concludes that the Pollution Exclusion is inapplicable for

two reasons.

      First, the Pollution Exclusion is ambiguous as to whether it applies to

 permitted emissions like the ones alleged in the underlying complaint. In Erie

 Insurance Exchange v. Imperial Marble Corp., the Illinois Appellate Court

 construed a similar pollution exclusion to the one here barring coverage for bodily

 injury of property damage “arising out the actual, alleged or threatened discharge,

 dispersal, seepage, migration, release or escape of pollutants.” 957 N.E.2d 1214,


                                           14
Case:
 Case:1:21-cv-04581
        1:21-cv-04581Document
                      Document#:#:45-1
                                   40 Filed:
                                       Filed: 08/03/22
                                              09/23/22 Page
                                                       Page 15
                                                            31 of
                                                               of 29
                                                                  165PageID
                                                                      PageID#:741
                                                                              #:996




1220 (Ill. App. Ct. 2011) (internal quotation marks omitted). The policy in Imperial

Marble defined “pollutants” as any “solid, liquid, gaseous or thermal irritant

or contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemical, and

waste.” Id. at 1220–21. The insured argued that the alleged emissions it made did

not qualify as traditional environmental pollution because those emissions were

made pursuant to a permit issued by the Illinois Environmental Protection Agency

(IEPA). Id. at 1221. Reasoning that pollution exclusions have “potentially limitless

application,” the appellate court found the pollution exclusion “arguably ambiguous

as to whether the emission of hazardous materials in levels permitted by an IEPA

permit constitute traditional environmental pollution excluded under the policy.”

Id. at 1221 (internal quotation omitted). Thus, construing the ambiguity in favor of

the insured, the court held that the pollution exclusion did not apply and that the

insurer owed the insured a duty to defend. Id.; see also Country Mut. Ins. Co. v.

Bible Pork, Inc., 42 N.E.3d 958, 961, 970 (Ill. App. Ct. 2015) (finding a similar

pollution exclusion ambiguous as to whether it applied to emissions from a hog

factory which operated under state regulations and permits).

      The same reasoning applies here. The underlying fourth amended complaint

alleges that the IEPA issued Griffith Labs a two-year permit, beginning in July

1984 (during the first Policy period) and expiring on July 31, 1986 (after the

expiration of the Policies’ periods). [15-1] ¶¶ 57–58. According to the underlying

complaint, the IEPA permit made Griffith Labs responsible for “sterilization

processes for the six chambers for which it received a permit,” “emissions of EtO




                                        15
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 16
                                                             32 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:742
                                                                               #:997




 and other volatile organic materials from the facility,” and “ensuring that its

 emissions and emission controls were compliant with local, state and federal law.”

 Id. ¶ 60. The underlying complaint similarly attempts to hold Sterigenics liable for

 negligence due its management of the Willowbrook facilities, including for its

 emission of “massive and unnecessary amounts of” the permitted “EtO into the air

 from the Willowbrook facilities.” Id. ¶ 220. As in Imperial Marble, this Court finds

 that the Pollution Exclusion is ambiguous as to whether emission of EtO under an

 IEPA permit qualifies as a traditional environmental pollution under the Policies.

 Because the Pollution Exclusion’s application is not “clear and free from doubt,” it

 cannot excuse National Union from its defense obligations. Panfil v. Nautilus Ins.

 Co., 799 F.3d 716, 719 (7th Cir. 2015) (quoting Hurst–Rosche Eng'rs, Inc. v.

 Commercial Union Ins. Co., 51 F.3d 1336, 1342 (7th Cir. 1995)).

      In addition, even if EtO emissions qualify as the type of traditional

environmental pollution recognized under Illinois jurisprudence, the Pollution

Exclusion itself contains an exception that reinstates coverage for Sterigenics. That

is, the Pollution Exclusion “does not apply if such discharge, discharge dispersal,

release or escape is sudden and accidental.” [25-1] at 6; [25-2] at 12. In interpreting

a similar “sudden” and “accidental” pollution exception to a pollution exclusion, the

Illinois Supreme Court has held that the term “sudden” in pollution exclusions to be

ambiguous and has construed the term “in favor of the insured to mean unexpected

or unintended.” Outboard Marine Corp. v. Liberty Mut. Ins. Co., 607 N.E.2d 1204,

1220 (Ill. 1992). Additionally, courts construe the term “accident” in the context of




                                          16
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 17
                                                             33 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:743
                                                                               #:998




CGL policies as “an unforeseen occurrence, usually of an untoward or disastrous

character or an undesigned, sudden, or unexpected event of an inflictive or

unfortunate character.” Lyerla v. AMCO Ins. Co., 536 F.3d 684, 688–89 (7th Cir.

2008) (quoting Westfield Nat’l Ins. Co. v. Cont’l Cmty. Bank & Trust Co., 804 N.E.2d

601, 605 (Ill. App. Ct. 2003)); see also Westfield Ins. Co. v. Zaremba Builders II LLC,

No. 19-CV-00794, 2022 WL 614938, at *5 (N.D. Ill. Mar. 2, 2022) (using the same

definition). The underlying fourth amended complaint triggers the “sudden and

accidental” exception to the Pollution Exclusion for Sterigenics because it alleges

that Sterigenics’ negligence resulted in “unintended leaks, spills, or emissions.” [15-

1] ¶¶ 225, 230. The “unintended” nature of the alleged leaks, spills, or emissions fit

squarely within the definitions of “sudden” and “accidental,” as interpreted by

Illinois courts.

       National Union counters that the underlying complaint, read as a whole,

paints the picture that the “EtO emissions were a common, recurring, expected and

intended aspect of the business,” rather than sudden and accidental occurrences.

[32] at 23. True, the underlying plaintiffs allege that the Willowbrook facilities’

failure to control emissions resulted in “unnecessary emission of EtO into the

surrounding community of at least 25,000 pounds each year of at least 400,000

pounds between 1984 and 1999,” and that the facilities “operated 24 hours a day,

emitting toxic, cancerous gas on a steady and continuous basis.” [15-1] ¶¶ 86, 141.

These allegations suggest, as National Union argues, that the emissions were

routine and recurring, and not “sudden” nor “accidental.” But “if several theories of




                                          17
 Case:
  Case:1:21-cv-04581
         1:21-cv-04581Document
                       Document#:#:45-1
                                    40 Filed:
                                        Filed: 08/03/22
                                               09/23/22 Page
                                                        Page 18
                                                             34 of
                                                                of 29
                                                                   165PageID
                                                                       PageID#:744
                                                                               #:999




recovery are alleged in the underlying complaint against the insured, the insurer’s

duty to defend arises even if only one of several theories is within the potential

coverage of the policy.” Cincinnati Ins. Co. v. H.D. Smith, L.L.C., 829 F.3d 771, 774

(7th Cir. 2016) (quoting Gen. Agents Ins. Co. of Am. v. Midwest Sporting Goods Co.,

828 N.E.2d 1092, 1098 (Ill. 2005)). Here, in addition to alleging that EtO emissions

were continuous and routine, the underlying plaintiffs also allege that the emissions

were unintended and unexpected. The latter theory is all that is needed to trigger

the “sudden and accidental” exception.

      National Union’s citation to Fruit of the Loom, Inc. v. Travelers Indemnity Co.

does not alter this Court’s conclusion. Contra [38] at 6. In Fruit of the Loom, the

Illinois appellate court considered the “sudden and accidental” exception in the

context of an insured’s discharge of liquid polychlorinated biphenyls (PCBs) in the

mid-1950s to the late 1970s. 672 N.E.2d 278, 280 (Ill. App. Ct. 1996). There, the court

held that the exception did not apply where the undisputed facts showed that, even

though accidental spills occurred, those accidents occurred with regularity and were

expected by the insured in the “ordinary course of business.” Id. at 287–88. An

employee testified, for example, that “PDB drippage occurred all the time; it was an

ongoing problem to keep certain areas clean.” Id. at 281. Unlike this case, the Fruit

of the Loom court determined coverage on a full evidentiary record and determined

that, although accidents occurred, they were not unexpected. Here, in contrast, this

Court construes only the allegations of the underlying complaint in considering the

duty to defend and it does so liberally in favor of coverage. Am Bankers, 3 F.4th at




                                          18
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 35
                                                           19 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:745
                                                                            #:1000




327; Zurich Am. Ins., 990 F.3d at 1078. Because the underlying complaint contains

allegations that Sterigenics is liable for “unintended leaks, spills, or emissions,” [15-

1] ¶¶ 225, 230, it triggers the “sudden and accidental” exception to the Pollution

Exclusion for Sterigenics.

                     4.      Personal Injury Coverage

       Sterigenics and the Griffith Labs also contend that National Union must

defend them under the “personal injury” coverage provision of the Policies, to which

the Pollution Exclusion does not apply. [25] at 26; Griffith [25] at 14–16. National

Union does not dispute that the Pollution Exclusion is inapplicable to “personal

injury” coverage. See generally [32]; [38]. Instead, National Union disputes that the

underlying complaint does not allege any covered “personal injury.”

       The personal injury coverage provision provides:

       The company will pay on behalf of the insured all sums which the
       insured shall become legally obligated to pay as damages because of
       personal injury or advertising injury to which this insurance applies,
       sustained by any person or organization and arising out of the conduct
       of the named insured’s business, within the policy territory. . . .

       “Personal injury,” in relevant part, means injury arising out of one or
       more of the following offenses committed during the policy period of
       the following offenses committed during the policy period:

       * * *
       2.    wrongful entry or eviction or other invasion of the right of private
       occupancy;

[25-1] at 7; [25-2] at 6.

       This Court agrees with Plaintiffs that the underlying fourth amended

complaint alleges injuries that fall under the definition of “personal injury” under



                                           19
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 36
                                                           20 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:746
                                                                            #:1001




the Policies. Under Illinois law, private nuisance claims trigger “personal injury”

coverage because they entail a “wrongful entry or eviction or other invasion of

the right of private occupancy.” Admiral Indem. Co. v. 899 Plymouth Ct. Condo.

Ass’n D&kK Real Est. Serv. Corp., No. 16 C 5085, 2017 WL 345559, at *7 (N.D. Ill.

Jan. 24, 2017) (quoting Great Am. Ins. Co. of N.Y. v. Helwig, 419 F. Supp. 2d 1017,

1025 (N.D. Ill. 2006)). A private nuisance “is a substantial invasion of another’s

interest in the use and enjoyment of his or her land.” Martinez v. City of Chicago,

534 F. Supp. 3d 936, 953 (N.D. Ill. 2021) (quoting In re Chicago Flood Litig., 176 Ill.

2d 179, 204 (Ill. 1997)). Allegations “that the defendant’s conduct threatens the

plaintiff’s land with environmental contamination . . . sufficiently state a

nuisance claim.” City of Evanston v. Texaco, Inc., 19 F. Supp. 3d 817, 825 (N.D. Ill.

2014); see also Lewis v. 300 W. LLC., No. 18-CV-50186, 2019 WL 4750313, at *11

(N.D. Ill. Sept. 30, 2019) (allegations that environmental contamination

substantially interfered with the plaintiffs’ reasonable use, development, and

enjoyment of their property adequately stated a private nuisance claim).

      The underlying complaint asserts that Sterigenics and Griffith Labs have

threatened the underlying plaintiffs’ land with environmental contamination. In

Counts VII, the underlying plaintiffs assert that Sterigenics’ “use and emission of

EtO from the facilities . . . caused those who lived and worked in the area

surrounding the facilities to inhale high levels of EtO on a routine and constant

basis, and further, to be exposed to air causing a substantially elevated risk of

cancer.” [15-1] ¶ 253. Similarly, Count XVIII alleges that the activities of “Griffith




                                          20
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 37
                                                           21 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:747
                                                                            #:1002




Labs . . . caus[ed] those who lived and worked in the area surrounding the facilities

to inhale high levels of EtO on a routine and constant basis, and further, to be

exposed to air causing a substantially elevated risk of cancer.” Id. ¶ 318. These

allegations that Sterigenics and Griffith Labs have threatened the underlying

Plaintiffs’ enjoyment and use of land with environmental contamination state a

private nuisance claim and thus fall under the definition of “personal injury” under

the Policies. See, e.g., Millers Mut. Ins. Ass’n of Ill. v. Graham Oil Co., N.E.2d 223,

231 (Ill. App. Ct. 1996) (concluding that facts alleging “the unauthorized seepage

and migration of gasoline onto the property of an adjoining neighbor[] were sufficient

to bring the underlying complaint within the personal injury coverage of the

policies”).

       National Union argues that the underlying complaint does not trigger

“personal injury” coverage because the underlying plaintiffs have labeled Counts VII

and XVIII “public nuisance” and not “private nuisance.” [32] at 24. Legal labels are

not dispositive. See Santa’s Best Craft, LLC v. St. Paul Fire & Marine Ins. Co., 611

F.3d 339, 347 (7th Cir. 2010) (noting that the court’s inquiry on a duty to defend

claim “is based on the allegations in the complaint, not the legal labels attached to

them”). Further, when the “nuisance, in addition to interfering with the public right,

also interferes with the use and enjoyment of the plaintiff’s land, it is a private

nuisance as well as a public one.” Willmschen v. Trinity Lakes Improvement Ass’n,

840 N.E.2d 1275, 1282–83 (Ill. App. Ct. 2005) (quoting Restatement (Second) of Torts

§ 821C, Comment e, at 96 (1979)). As discussed, the underlying complaint contains




                                          21
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 38
                                                           22 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:748
                                                                            #:1003




allegations that Sterigenics and Griffith Labs emitted carcinogenics onto the

plaintiffs’ private property. Thus, even though the underlying plaintiffs have labeled

those counts as “public nuisance” claims, the facts they have alleged also “potentially

give rise to” a private nuisance claim, and thus fall within the Policies’ “personal

injury” coverage. Santa’s Best Craft, 611 F.3d at 346; see Liberty Mut., 33 F.4th at

447 (instructing that the duty to defend arises when the facts alleged in the

underlying complaint fall within, or potentially within, the policy’s coverage

provisions).

       National Union also argues that the Policies preclude coverage for “personal

injury” arising out of the willful violation of a penal statute or ordinance committed

by or with the knowledge or consent of the insured. [32] at 28; see [25-1] at 7

(excluding from coverage “personal injury or advertising injury arising out of the

willful violation of a penal statute or ordinance committed by or with the knowledge

or consent of the insured”); [25-2] at 6 (same). This argument is unpersuasive. The

underlying complaint does not allege any statutory violation; it alleges common law

causes of action. See generally [15-1]. To be sure, the underlying fourth amended

complaint contains a reference to the Illinois Environmental Protection Act. See [15-

1] ¶ 72 (alleging that “Griffith Labs was obligated to comply with the Illinois

Environmental Protection Act and its supporting regulations, which prohibited ‘the

emission of any contaminant into the environment so as to cause or tend to cause air

pollution in Illinois. . . ’”). But the Act is not the basis for any of the plaintiffs’ claims.

National Union has not demonstrated that an exclusion to the “personal injury”




                                              22
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 39
                                                           23 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:749
                                                                            #:1004




coverage provision applies. In sum, the underlying complaint’s private nuisance

allegations trigger the “personal injury” coverage provisions in the Policies, thus

providing another independent basis for National Union’s duty to defend. See Title

Indus. Assurance Co., R.R.G. v. First Am. Title Ins. Co., 853 F.3d 876, 884 (7th Cir.

2017) (observing that “where insurer has duty to defend against at least one count

of underlying lawsuit, it must then defend against all counts”).

                   5.     National Union Owes a Duty to Defend

      As explained above, the underlying fourth amended complaint alleges bodily

injury and personal injury that triggers coverage under the Policies, and National

Union has not met its burden in demonstrating that any exclusions apply.

Accordingly, this Court concludes that National Union owes Sterigenics and Griffith

Labs a duty to defend based on the underlying fourth amended complaint.

      The Griffith Plaintiffs also point out that although Griffith Foods is not named

as a defendant in the fourth amended underlying complaint, it was named as a

defendant in a prior iteration of the underlying complaint—the second amended

underlying complaint. Griffith [19] at 15–16. Griffith Foods argues that, at a

minimum, National Union owes it defense costs for the time that Griffith Foods was

on the hook in the underlying case. Id. But this argument is undeveloped (indeed,

Griffith Foods devotes only two sentences to it), and neither side engages in any

substantive analysis regarding National Union’s defense obligations under prior

versions of the underlying complaint; instead, the parties’ briefs focus on National

Union’s defense obligations under the fourth amended complaint. “When a party has




                                         23
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 40
                                                           24 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:750
                                                                            #:1005




more    than    ample     opportunity      to   present     an argument but        raises    it   in

a perfunctory manner, it should not expect more than perfunctory consideration

from the district court.” Williams v. Dieball, 724 F.3d 957, 963 (7th Cir. 2013).

Because the parties have not sufficiently raised these issues before this Court, this

this Court denies without prejudice Griffith Foods’ request for defense costs arising

from prior versions of the underlying complaint.2

           B.      Estoppel

       The Griffith Plaintiffs also ask this Court to enter judgment declaring that

National Union is estopped from asserting policy defenses to coverage. National

Union, for its part, requests a determination that estoppel is inapplicable.

       Under Illinois law, when “an insurer learns of a claim against its insured, the

ball is in the insurer’s court.” Title Indus., 853 F.3d at 891. When a complaint against

an insured alleges facts within or potentially within the coverage of the insurance

policy, and the insurer takes the position that the policy does not cover the

underlying complaint, the insurer must: (1) defend the suit under a reservation of

rights; or (2) seek a declaratory judgment of non-coverage. Essex Ins. Co. v. Blue

Moon Lofts Condo. Ass’n, 927 F.3d 1007, 1012 (7th Cir. 2019). If the insurer fails to

take either of these steps and is later found to have wrongfully denied coverage, the

insurer breaches its duty to defend and is estopped from asserting policy defenses to


2 This Court also notes that, although Griffith Foods relies on the second amended complaint in
arguing that National Union owed it a defense, the insurer’s duty to defend only arises upon “actual
notice of the underlying suit.” Cincinnati Cos. v. W. Am. Ins. Co., 701 N.E.2d 499, 505 (Ill. 1998).
Here, Griffith Foods alleges that National Union received actual notice when it received the third
amended complaint, not the second amended complaint. Griffith [1] ¶ 31. Thus, to the extent National
Union owes Griffith Foods any defense costs, those costs ostensibly would arise only after Griffith
Foods provided notice to National Union of the third amended complaint.


                                                 24
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 41
                                                           25 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:751
                                                                            #:1006




coverage. Santa’s Best Craft, 611 F.3d at 349; Emps. Ins. of Wausau v. Ehlco

Liquidating Tr., 708 N.E.2d 1122, 1135 (Ill. 1999); see also Title Indus., 853 F.3d at

892 (observing that an “insurer that breaches its duty to defend and abandons its

insured is estopped from later invoking policy defenses to indemnity”). To avoid

estoppel, the insurer must take one of the above steps—defend under a reservation

of rights or seek declaratory judgment—“within a reasonable time of a demand by

the insured.” Nautilus Ins. Co. v. Bd. of Directors of Regal Lofts Condo. Ass’n, 764

F.3d 726, 733 (7th Cir. 2014) (quoting Korte Constr. Co. v. Am. States Ins., 750

N.E.2d 764, 770 (Ill. App. Ct. 2001)).

       On January 29, 2021, the Griffith Plaintiffs provided National Union with

notice of the underlying suit and provided copies of the (then-operative) third

amended complaint. Griffith Compl. [1] ¶ 31.3 On February 17, 2021, National Union

acknowledged receipt of the notice and requested copies of the Policies, which the

Griffith Plaintiffs provided the same day. Id. ¶ 32. National Union ultimately denied

coverage on October 12, 2021. Id. ¶ 33. Shortly after, on November 30, 2021, the

Griffith Plaintiffs filed this declaratory judgment action, and shortly after that, on

January 31, 2022, National Union answered and asserted affirmative defenses. See

Griffith [1]; [11]. In its answer and affirmative defenses, National Union explicitly

denies coverage and “requests that this Court find and declare that Plaintiffs are not

entitled to any relief.” [11] at 11. Thus, about one year transpired between the



3 The parties assume, without discussing, that the third amended complaint’s allegations were
sufficiently similar to the fourth amended complaint’s allegations, such that if the latter triggered
National Union’s duty to defend, the former would have, too.


                                                 25
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 42
                                                           26 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:752
                                                                            #:1007




Griffith Plaintiffs’ tender of the underlying litigation and National Union’s request

for a declaration of non-coverage. See Sentinel Ins. Co. v. Walsh Constr. Co., 298 F.

Supp. 3d 1165, 1176 (N.D. Ill. 2018) (noting that to avoid estoppel, “an insurer need

not be the one to have filed the action in which it seeks a declaration of no coverage”).

      Illinois courts have generally applied one of three standards to measure an

insurer’s promptness in requesting declaratory judgment. L.A. Connection v. Penn-

Am. Ins. Co., 843 N.E.2d 427, 432 (Ill. App. Ct. 2006); Nat’l Cas. Co. v. S. Shore Iron

Works, Inc., 341 F. Supp. 3d 884, 893 (N.D. Ill. 2018). One approach deems a

declaratory judgment action timely requested “as long as it was filed before the

underlying lawsuit ends,” and another approach focuses on whether the insurer

requested declaratory judgment before trial or settlement was imminent. Id. The

third approach asks simply whether “the insurer filed the declaratory action within

a reasonable amount of time after receiving notification of the underlying action.”

Allied World Specialty Ins. Co. v. John Sexton Sand & Gravel Corp., 2019 IL App

(1st) 182468-U, ¶ 66. Here, it is undisputed that the underlying suit remains

ongoing, and there is nothing in the present record suggesting that trial or

settlement is imminent. Thus, National Union clearly discharged its duty to act with

reasonable promptness under the first two approaches.

      Under the third approach, which is the one now favored by Illinois courts, the

Court asks whether National Union requested declaratory judgment within a

“reasonable time” of being on notice of the underlying suit, regardless of the posture

of the underlying suit. State Auto. Mut. Ins. Co. v. Kingsport Dev., LLC, 960, 846




                                           26
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 43
                                                           27 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:753
                                                                            #:1008




N.E.2d 974, 987 (Ill. App. Ct. 2006); see also Zurich Specialties London Ltd. v. Vill.

of Bellwood, No. 07 CV 2171, 2011 WL 248444, at *10 (N.D. Ill. Jan. 26, 2011) (noting

that although the “Illinois Supreme Court has not yet decided the issue, this court

agrees with those courts that have adopted the third approach”); Sentinel, 298 F.

Supp. 3d at 1175 (“This Court agrees with these decisions . . . that the proper inquiry

is whether Sentinel sought a declaratory judgment of no coverage within

a reasonable time.”). This Court finds that National Union did not unreasonably

delay in requesting declaratory judgment. Illinois courts have not adopted a bright

line rule as to what constitutes a “reasonable time.” Nat’l Cas. Co. v. S. Shore Iron

Works, Inc., 341 F. Supp. 3d 884, 894 (N.D. Ill. 2018). In South Shore Iron Works,

the district court found that a thirteen-month delay between an initial tender and

filing a declaratory judgment action was reasonable because of the “protracted

procedural history” of the underlying suit—including that it involved multiple

amended complaints, one of which was filed just four months prior to the insurer’s

filing of a declaratory judgment action. 341 F. Supp. 3d at 894.

      Similarly, there is protracted history here in the underlying case. And while

“delays of over a year have been found unreasonable by courts employing the

reasonable time test,” Zurich, 2011 WL 248444, at *10 (emphasis added), the delay

here between the time the Griffith Plaintiffs provided actual notice of the underlying

suit and when National Union first requested a declaration of non-coverage was just

about one year. Particularly given the complex nature of the underlying dispute

(which involves hundreds of consolidated complaints) and the fact that the




                                          27
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 44
                                                           28 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:754
                                                                            #:1009




underlying dispute is nowhere near completion nor settlement, this Court concludes

that National Union sought declaratory relief within a reasonable time of receiving

actual notice of the underlying suit. Therefore, this Court denies the Griffith

Plaintiffs’ motion as to estoppel, and grants National Union’s motion as to estoppel.

IV.   Conclusion

      For the reasons explained above, this Court concludes that National Union

owes Sterigenics and Griffith Labs a duty to defend the underlying fourth amended

complaint and that National Union is not estopped from asserting coverage defenses.

As a result, this Court grants Sterigenics’ partial motion for judgment on the

pleadings and denies National Union’s cross-motion for judgment; and grants in part

the Griffith Plaintiffs’ partial motion for judgment on the pleadings, and grants in

part National Union’s cross-motion for judgment. This Court sets a telephonic status

hearing for August 25, 2022 at 10:00 a.m. Parties shall call 866-434-5269; access code

3751971. Counsel shall be prepared to report on what substantive issues remain in

this case, given that this Court has adjudicated National Union’s defense obligations

(at least with respect to the underlying fourth amended complaint), and questions

regarding National Union’s duty to indemnify are unripe and subject to dismissal

pending the outcome of the underlying litigation. See Am. Bankers, 3 F.4th at 331.




                                         28
Case:
  Case:
      1:21-cv-04581
        1:21-cv-04581
                    Document
                      Document
                             #: #:
                                45-1
                                   40 Filed:
                                      Filed: 09/23/22
                                             08/03/22 Page
                                                      Page 45
                                                           29 of
                                                              of 165
                                                                 29 PageID
                                                                     PageID#:755
                                                                            #:1010




                                            E N T E R:


Dated: August 3, 2022

                                            MARY M. ROWLAND
                                            United States District Judge




                                       29
Case: 1:21-cv-04581 Document #: 45-1 Filed: 09/23/22 Page 46 of 165 PageID #:1011




                           EXHIBIT 2
                                                Case:
                                                  Case:
                                                      1:21-cv-04581
                                                         1:21-cv-04581
                                                                    Document
                                                                       Document
                                                                             #: 45-1
                                                                                #: 1-1Filed:
                                                                                       Filed:09/23/22
                                                                                              08/27/21Page
                                                                                                       Page47
                                                                                                            1 of 165
                                                                                                                 119 PageID #:1012
                                                                                                                            #:21

                                                                                                                                                        FILED
                                                                                                                                                        4/16/2021 2:00 PM
                                                                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                                        IRIS Y. MARTINEZ
                                                                                                                                                        CIRCUIT CLERK
                                                                         COUNTY DEPARTMENT, LAW DIVISION                                                COOK COUNTY, IL
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                                                           Consolidated for Pretrial and
                                            IN RE: WILLOWBROOK ETHYLENE OXIDE                                              Discovery Purposes Under:
                                            LITIGATION
                                                                                                                                                        2018L010475
                                                                                                                           No. 2018-L-010475

                                            This filing applies to: ALL ACTIONS                                            Judge Christopher E. Lawler
                                            CONSOLIDATED FOR PRETRIAL AND
                                            DISCOVERY PURPOSES




                                                                 PLAINTIFFS’ FOURTH AMENDED MASTER COMPLAINT




                                                     Plaintiffs, by and through their attorneys, for their Complaint at Law1 against Defendants

                                            STERIGENICS U.S., LLC, SOTERA HEALTH, LLC, BOB NOVAK, ROGER CLARK, GTCR, LLC,

                                            and GRIFFITH FOODS INTERNATIONAL, INC.,2 allege as follows:




                                            1Plaintiffs submit this Fourth Amended Master Complaint in accordance with prior Court orders, including CMO-1.
                                            In so doing, Plaintiffs maintain their position that this consolidated matter is not a mass action under 28 U.S.C. § 1332.
                                            In no way should this complaint be taken to mean that any Plaintiff is proposing any joint trials and/or joint decision
                                            of one or more issues in one or more cases. These matters have been consolidated for discovery and pretrial only based
                                            on certain Defendants’ motion and the Court’s own orders. Plaintiffs further submit this Fourth Amended Master
                                            Complaint in accordance with the Court’s August 17, 2020 Order on Defendants’ Motions to Dismiss, which dismissed
                                            certain counts of Plaintiffs’ First Amended Complaint without prejudice. Plaintiffs hereby preserve Counts X (Sotera-
                                            Negligent Supervision), XII (Sotera-Strict Liability), XIII (Sotera-Battery), XXI (GTCR-Strict Liability), and XXII (GTCR-
                                            Battery) from their First Amended Master Complaint previously dismissed on August 17, 2020 for appeal, disclaim
                                            any waiver, and explicitly reserve the right to amend those counts as provided by the Court’s dismissal without
                                            prejudice.

                                            2 Plaintiffs previously named Griffith Foods, Inc., Griffith Foods Worldwide, Inc., and Griffith Foods Group, Inc. as
                                            defendants in their Third Amended Master Complaint. The first two entities moved to dismiss that complaint pursuant
                                            to 735 ILCS 5/2-619 and produced a Declaration from William Frost stating, in relevant part, that these two entities
                                            never possessed any ownership interest in the Willowbrook facilities or in any entity owning any interest in the
                                            Willowbrook facilities, and that neither entity had any involvement with EtO sterilization services. See Frost Decl. at
                                            ¶¶ 17-18. Mr. Frost also attested that Griffith Foods Group, Inc. was merely the parent to Griffith Foods International,
                                            Inc., formerly known as Griffith Laboratories, U.S.A., Inc. Id. at ¶¶ 3-4. Plaintiffs have no reason to believe that Griffith’s
                                            and Mr. Frost’s representations to this effect are untrue and Plaintiffs are reasonably relying upon these representations
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page48
                                                                                                        2 of 165
                                                                                                             119 PageID #:1013
                                                                                                                        #:22




                                                     I.     Prefatory Statement on Griffith Foods

                                                     1.       In this Fourth Amended Complaint, Plaintiffs sue only one Griffith entity, referred
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            to herein as “Griffith Labs.” Today, Griffith Labs is known as “Griffith Foods International, Inc.”;

                                            it was formerly known as “Griffith Laboratories U.S.A., Inc.”

                                                     2.       Plaintiffs sue Griffith Labs only for its own independent acts and omissions

                                            between 1984 and 1999, detailed extensively in this complaint. Plaintiffs do not sue Griffith Labs

                                            for the conduct of any other entity.

                                                     3.       Sterigenics has not assumed liability for the conduct of Griffith Labs. (This is

                                            contrary to the Court’s understanding at page 6 of its March 16, 2021 dismissal order). Indeed, in

                                            Stipulation No. 1, entered on June 12, 2020, Sterigenics assumed the liabilities of certain entities

                                            explicitly identified in the Stipulation, but Griffith Labs is not one of them.3

                                                     4.       In this complaint, Plaintiffs specifically allege that Griffith Labs’ misconduct

                                            persisted throughout the entirety of the period from 1984 to May 14, 1999, when Griffith Labs

                                            sold its sterilization business. See Paragraphs 33 – 104. Plaintiffs further describe how Griffith

                                            Labs’ misconduct satisfies the elements of Plaintiffs various causes of action. See Paragraphs 275

                                            – 324.

                                                     5.       In summary, as alleged in this complaint, Griffith Labs’ independent acts and

                                            omissions throughout the entirety of the period between 1984 and 1999, which caused or

                                            contributed to Plaintiffs’ injuries, include:



                                            in electing not to name Griffith Foods, Inc. Griffith Foods Worldwide, Inc. and Griffith Foods Group, Inc. in their Fourth
                                            Amended Master Complaint.
                                            3 Stipulation No. 1 only applies to the approximate 70 plaintiffs who had filed suit at the time the stipulation was

                                            entered on June 12, 2020; it does not apply to the hundreds of plaintiffs who filed suit after, all of whom expressly
                                            disclaimed that stipulation in their respective complaints.

                                                                                                        2
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page49
                                                                                                        3 of 165
                                                                                                             119 PageID #:1014
                                                                                                                        #:23




                                                        a. Locating, and then for the next 16 years operating, controlling and/or
                                                           maintaining, an EtO sterilization facility in the residential community
                                                           of Willowbrook despite knowing at all times that EtO is very
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                           dangerous to human health and that area residents, workers, and
                                                           schoolchildren would be unknowingly breathing daily the facility’s
                                                           EtO emissions, significantly increasing their risk of contracting cancer
                                                           and other serious illnesses.

                                                        b. Never warning its neighbors that they were in danger because of the
                                                           Willowbrook facility’s EtO emissions, even though Griffith Labs knew
                                                           that the emissions threatened their health and that they had no ability
                                                           to protect themselves because they had no idea that EtO was even being
                                                           emitted into their community. Griffith Labs failed to warn the
                                                           Willowbrook community even though it provided warnings to
                                                           residents living near other Griffith Labs’ EtO sterilization facilities in
                                                           other states.

                                                        c. Deciding and mandating that the Willowbrook facility operate without
                                                           essentially any emission control equipment whatsoever for its first four
                                                           years of operation (1984 – 1988), even though Griffith Labs knew that
                                                           this violated the standard of care and would result in its neighbors
                                                           being unnecessarily exposed to more than 500,000 pounds of EtO
                                                           emissions during that time.

                                                        d. Deciding to operate the Willowbrook facility for the entirety of the 1984
                                                           – 1999 time period without any control over EtO emissions from, e.g.,
                                                           the facility’s back-vents, aeration rooms, and work aisles, even though
                                                           Griffith Labs knew that this too violated the standard of care and
                                                           would result in its neighbors being unnecessarily exposed to at least
                                                           400,000 pounds of EtO emissions (in addition to those emissions
                                                           alleged in subparagraph (c), above) during that time.

                                                        e. Designing in 1984, and then from 1984 to 1999 mandating the use of, a
                                                           sterilization/emissions process that Griffith Labs knew violated the
                                                           standard of care and was inadequate to protect the health of its
                                                           neighbors against EtO emissions from the facility.

                                                        f.   Throughout the period from 1984 to 1999, itself directly purchasing,
                                                             using, and mandating the use of sterilization and emission control
                                                             equipment that Griffith Labs knew violated the standard of care and
                                                             was inadequate to protect the health of its neighbors against EtO
                                                             emissions from the facility.



                                                                                          3
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page50
                                                                                                        4 of 165
                                                                                                             119 PageID #:1015
                                                                                                                        #:24




                                                          g. Failing to use emission control equipment in Willowbrook that it
                                                             (Griffith Labs) was using in its other EtO facilities in the United States
                                                             and other countries. This resulted in EtO emissions from the
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                             Willowbrook facilities that were sometimes as much as 100x higher,
                                                             and more dangerous, than those at Griffith Labs’ other facilities.

                                                          h. Failing to test the air outside the Willowbrook facility (ambient air) to
                                                             determine the concentrations of EtO that had been emitted from the
                                                             facility and would be inhaled by Griffith Labs’ neighbors, even though
                                                             Griffith Labs knew those concentrations would be health threatening,
                                                             and IEPA had specifically and directly required Griffith Labs to
                                                             conduct extensive ambient air testing in 1984 to 1986 as a special
                                                             condition for granting Griffith Labs’ permit to operate the Willowbrook
                                                             facility.

                                                          i.   Misleading the State’s regulator, IEPA, by, inter alia, failing to inform
                                                               IEPA as to what it (Griffith Labs) knew about the dangers of EtO to
                                                               human health; planning to emit more EtO from the Willowbrook
                                                               facility than it had represented to induce IEPA to grant it (Griffith Labs)
                                                               the initial Willowbrook permit; failing to advise IEPA that it was not
                                                               using the same caliber equipment and processes in Willowbrook that it
                                                               was using at its other facilities; and reporting to IEPA EtO emissions
                                                               that were based on assumptions Griffith Labs knew had no basis or
                                                               were false.

                                                          j.   Failing to train its employees and failing to audit the Willowbrook
                                                               facility to ensure that the facility’s operations were not endangering its
                                                               neighbors even though such training and auditing were Griffith Labs’
                                                               responsibilities.

                                                          k. Working independently and through an EtO industry lobbyist to
                                                             improperly dispute conclusions concerning the health dangers of EtO
                                                             that had been reached by independent scientists and health agencies in
                                                             order to understate those health dangers and create a justification for
                                                             emissions it knew endangered the health of those living near the
                                                             Willowbrook (and other) sterilization facilities.

                                                   6.     The above misconduct of Griffith Labs persisted well past its October 1984

                                            nominal transfer to Micro Biotrol Company of certain (though far from all) assets and liabilities

                                            and at least until May 14, 1999. Indeed, as alleged above and throughout this complaint, this



                                                                                              4
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page51
                                                                                                        5 of 165
                                                                                                             119 PageID #:1016
                                                                                                                        #:25




                                            October 1984 transaction did nothing to diminish Griffith Labs’ substantive participation in the

                                            Willowbrook facility’s operations and emissions.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    7.      In summary, Plaintiffs sue Griffith Labs because its actions and failures to act

                                            caused them to suffer the cancers and other serious illnesses that Griffith Labs specifically

                                            foresaw, when, in 1984, it purposely directed that an EtO sterilization facility be located in

                                            Plaintiffs’ residential community that it (Griffith Labs) knew would endanger the community’s

                                            health and safety, and then, for the next 15 years, directed that the facility be operated without

                                            the means necessary––indeed, for many years without any means at all––to protect the

                                            unsuspecting Plaintiffs against the facility’s nearly one million pounds of carcinogenic emissions

                                            during that time. Griffith Labs may be held liable for this conduct, despite the fact that its

                                            subsidiaries were nominally operating the Willowbrook facility for portions of that 15 year period

                                            because, as the Illinois Supreme Court has determined, “[i]f a parent company specifically directs

                                            an activity, where injury is foreseeable, that parent could be held liable. Similarly, if a parent

                                            company mandates an overall course of action and then authorizes the manner in which specific

                                            activities contributing to that course of action are undertaken, it can be liable for foreseeable

                                            injuries.” Forsythe v. Clark USA, Inc., 224 Ill. 2d 274, 290 (2007).

                                                    II.   Introduction

                                                    8.      For decades, tens of thousands of people have lived in the quiet but densely

                                            populated suburbs of Cook and DuPage Counties—Willowbrook, Burr Ridge, Darien, and

                                            Hinsdale—believing that their neighborhoods were safe and their air free from dangerous toxins.

                                            Not so. Defendants’ Willowbrook sterilization facilities were emitting massive and unnecessary

                                            amounts of ethylene oxide (“EtO”)—an invisible, odorless carcinogen—into their air.

                                                                                                5
                                                Case:
                                                  Case:
                                                      1:21-cv-04581
                                                         1:21-cv-04581
                                                                    Document
                                                                       Document
                                                                             #: 45-1
                                                                                #: 1-1Filed:
                                                                                       Filed:09/23/22
                                                                                              08/27/21Page
                                                                                                       Page52
                                                                                                            6 of 165
                                                                                                                 119 PageID #:1017
                                                                                                                            #:26




                                                       9.       There is no safe level of EtO; its carcinogenic effects have been widely known since

                                            the 1940s and known to Defendants since at least 1984. Notwithstanding, Defendants chose to
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            operate their business and emit EtO in a densely populated area full of children, houses, parks,

                                            schools, and businesses.

                                                       10.      Even further, although technologies to control EtO have been available—and

                                            widely used—since the 1980s, Defendants operated for years in Willowbrook without using the

                                            best practices and control technologies available to reduce their emissions; and as a direct and

                                            proximate result, the Willowbrook area has become one of the most toxic in the U.S. The people

                                            who have lived and worked in the area have inhaled EtO on a routine and continuous basis for

                                            years, unknowingly. Defendants never warned them about the danger it posed.

                                                       11.      In August 2018, the U.S. Department of Health and Human Services, Agency for

                                            Toxic Substances and Disease Registry (“ATSDR”) released to the public a report titled

                                            “Evaluation of Potential Health Impacts for Ethylene Oxide Emissions.”4 That report,

                                            documenting the public health impacts of Defendants’ emissions on the Willowbrook area,

                                            revealed the area’s staggering and disproportionate risks of cancer.

                                                       12.      In February 2019, the Illinois Environmental Protection Agency (“IEPA”) ordered

                                            Defendants’ Willowbrook facilities to stop using EtO. In the months that followed, Sterigenics

                                            U.S. announced a plan to install equipment to reduce emissions of EtO to 85 lbs. per year — a

                                            drastic reduction from the thousands of pounds of EtO emitted in the years prior. Before




                                            4   https://www.atsdr.cdc.gov/HAC/pha/sterigenic/Sterigenics_International_Inc-508.pdf

                                                                                                      6
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page53
                                                                                                        7 of 165
                                                                                                             119 PageID #:1018
                                                                                                                        #:27




                                            implementing the plan, however, Sterigenics U.S. announced the permanent closure of its

                                            Willowbrook facilities effective September 30, 2019.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   13.     Plaintiffs lived and/or worked near Defendants’ Willowbrook facilities. They

                                            unknowingly breathed the excessive and dangerous amounts of EtO emitted from the facilities

                                            on a routine and continuous basis for years. As a result, they have been diagnosed with serious

                                            — sometimes fatal — diseases or conditions, and/or have sustained severe personal injuries

                                            causing them to incur and endure medical bills, lost wages, pain and suffering, mental anguish,

                                            disability, disfigurement, reduced life expectancy, and loss of normal life.

                                                   14.     Plaintiffs bring these personal injury claims against Sterigenics U.S., LLC

                                            (“Sterigenics U.S.”), Sotera Health, LLC (“Sotera”), Griffith Labs, two managers, and a private

                                            equity firm GTCR, LLC (“GTCR).

                                                   15.     In addition, since 2016, Sterigenics U.S. and Sotera, and their corporate investors

                                            and parents (including GTCR), have pursued a plan to escape accountability to those who have

                                            been sickened or have lost their lives, and thereby to cynically render this Court proceeding a

                                            sham. That is, they have funneled nearly $1.3 billion in cash out of the Sterigenics U.S. / Sotera

                                            companies in just the last 34 months for distribution to wealthy venture-capitalist investors, such

                                            that the funds could never be used to compensate the victims who have come to this Court to

                                            seek justice. And they have made certain that even those assets not siphoned away would never

                                            be available to those victims, by pledging the assets to banks to guarantee repayment of billions

                                            in corporate borrowings, so that even if the companies failed, they would be used to pay the

                                            banks, not the plaintiffs who had proven their cases.




                                                                                             7
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page54
                                                                                                        8 of 165
                                                                                                             119 PageID #:1019
                                                                                                                        #:28




                                                     16.     By these actions, Sterigenics U.S., Sotera, and GTCR admit culpability for the toxic

                                            exposure suffered by Plaintiffs, but intend never to be held accountable for it.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                     III.   Parties and Venue

                                                     17.     This is an Illinois controversy. This Complaint is brought by or on behalf of

                                            individuals who are or were citizens of Illinois, for injuries that occurred in Illinois, as a result of

                                            ethylene oxide emissions in Illinois, that were caused by Illinois Defendants’ negligence and other

                                            wrongful conduct, all of which took place in the State of Illinois. This court is a proper venue

                                            under 735 ILCS 5/2-101.

                                                     18.     Greater than two-thirds of Plaintiffs to this Complaint are Illinois citizens.

                                                     19.     All Plaintiffs to this Complaint were exposed to and inhaled EtO from Defendants’

                                            Willowbrook facilities on a routine and continuous basis.

                                                     20.     Plaintiffs did not have notice that the injuries and damages at issue were

                                            wrongfully caused or that they were caused by Defendants’ emissions of EtO until, at the earliest,

                                            August 21, 2018, when the ATSDR report was issued.

                                                     21.     Defendant Sterigenics U.S., LLC, is a wholly-owned subsidiary of Sotera Health,

                                            LLC, and is a limited liability company organized under the laws of Delaware with its

                                            headquarters and principal place of business at 2015 Spring Road, Suite 650, Oak Brook, Illinois

                                            60523.

                                                     22.     Defendant Sterigenics U.S., under its current name and previously under other

                                            names, operated EtO sterilization facilities at 7775 Quincy Street in Willowbrook, Illinois (the

                                            “Willowbrook facility”) and 830 Midway Drive in Willowbrook, Illinois, continuously and at all




                                                                                               8
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page55
                                                                                                        9 of 165
                                                                                                             119 PageID #:1020
                                                                                                                        #:29




                                            relevant times. (The two facilities are referred to collectively herein as “the Willowbrook facilities”

                                            or “the facilities.”)
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    23.      Sterigenics U.S.’s predecessors who operated the Willowbrook facilities include:

                                            Micro-Biotrol Company, Micro-Biotrol, Inc., Griffith Micro Science, Inc., IBA S&I, Inc., and

                                            Sterigenics EO, Inc. Through a series of acquisitions, mergers, and name changes, Sterigenics U.S.

                                            has assumed the liabilities of these predecessor entities for their respective involvement in the

                                            operation of the Willowbrook facilities. (Sterigenics U.S. and its predecessors are referred to

                                            collectively herein as “Sterigenics U.S.”.)

                                                    24.      Defendant Griffith Foods International, Inc., was previously known as Griffith

                                            Laboratories U.S.A, Inc. (“Griffith Labs”). During certain times prior to May 14, 1999, which are

                                            detailed below, Griffith Labs operated the Willowbrook facilities. At all times prior to May 14,

                                            1999, Griffith Labs directed and controlled the sterilization operations at the Willowbrook

                                            facilities. Further, at all times prior to May 14, 1999, Griffith Labs directly participated in the

                                            operation of the Willowbrook facilities. Defendant Griffith Foods International, Inc. is responsible

                                            for all acts and omissions of Griffith Labs as alleged herein. At all relevant times, Griffith Labs,

                                            now Griffith Foods International, Inc., had its headquarters and principal place of business in

                                            Alsip, Illinois, which is in Cook County. To be clear, Plaintiffs allege that Griffith Labs committed

                                            independent injurious acts and omissions separate and apart from, though alongside of,

                                            Sterigenics’ acts and omissions.

                                                    25.      Defendant Sotera Health, LLC, under its current name and previously under other

                                            names (first as Sterigenics International, Inc. and then as Sterigenics International, LLC), and as

                                            the sole owner, member, and “manager” of Sterigenics U.S., operated, managed, and/or

                                                                                              9
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page56
                                                                                                     10of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1021
                                                                                                                     #:30




                                            maintained and otherwise participated directly in Sterigenics U.S.’s operation of the Willowbrook

                                            facilities. (Defendant Sotera Health, LLC and its predecessors are referred to collectively herein
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            as “Sotera.”)

                                                   26.        For example, Sotera took responsibility for, and participated directly in, the

                                            following functions in connection with the facilities’ operations:

                                                         a. Preparing and implementing risk management plans regarding health,
                                                            safety, and other risks posed by the facilities’ use and storage of EtO to
                                                            human health and the environment;

                                                         b. Conducting hazard reviews at the facilities;

                                                         c. Developing written operating procedures for training and guiding the
                                                            work of operators;

                                                         d. Training operations employees;

                                                         e. Evaluating whether the facilities’ systems and equipment were in proper
                                                            working condition;

                                                         f.   Implementing a program to monitor the physical condition of process
                                                              equipment;

                                                         g. Investigating incidents;

                                                         h. Conducting safety audits;

                                                         i.   Determining potential impacts on the surrounding community from
                                                              worst-case and alternative-case releases of EtO;

                                                         j.   Evaluating the facilities’ accident history;

                                                         k. Developing procedures for notifying local, state and federal emergency
                                                            planning and response agencies about chemical spills;

                                                         l.   Developing an incident prevention program that includes the following:

                                                                i.   Process Safety Information;
                                                               ii.   Process Hazard Analysis;

                                                                                                10
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page57
                                                                                                     11of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1022
                                                                                                                     #:31




                                                        iii.      Employee Training;
                                                         iv.      Mechanical Integrity;
                                                          v.      Pre-Startup Review;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                         vi.      Compliance Audits;
                                                        vii.      Employee Participation; and
                                                       viii.      Hot Work Permit.

                                                    m. Developing plans to address accidental release that includes the following:

                                                          i.      Computer controls;
                                                          ii.     Door interlock system;
                                                          iii.    EtO leak detection monitors;
                                                          iv.     Emission Control Systems to destroy residual EtO;
                                                          v.      Pressure Relief Valves;
                                                          vi.     Process Safety Information for employees;
                                                          vii.    Written SOPs for training and instructions to employees; and
                                                          viii.   New hire and annual refresher training.

                                                     n. Applying for IEPA construction permits to allow structural modifications
                                                        at the facilities, including modifications impacting the volume of EtO
                                                        emitted;

                                                     o. Holding the facilities’ construction permit, as permittee, authorizing it to:

                                                          i.      Modify EtO emissions controls including sterilization chamber
                                                                  exhaust vents;
                                                          ii.     Operate the sterilization chamber exhaust vents without any EtO
                                                                  emissions controls; and
                                                          iii.    Modify the operation of its sterilization equipment, such as aeration
                                                                  rooms, by allowing EtO emissions controls to be bypassed.

                                                     p. Holding the facilities’ construction permit, as permittee, requiring it to:

                                                         i.       Operate EtO emission controls in a manner that complies with
                                                                  local, state and federal law;
                                                        ii.       Conduct operational monitoring for the EtO emissions controls to
                                                                  ensure compliance with plans previously submitted to EPA;
                                                       iii.       Enhance operational monitoring to address the effects of
                                                                  modification of EtO emissions controls;
                                                       iv.        Keeping records for operational monitoring for the EtO emissions
                                                                  controls affecting certain aeration rooms; and
                                                        v.        Notifying IEPA promptly of permit deviations including
                                                                  identifying the date, time, duration, description of the deviation, its

                                                                                            11
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page58
                                                                                                     12of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1023
                                                                                                                     #:32




                                                                    probable cause, corrective actions, if taken, and preventative
                                                                    measures, if taken.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          q. Certifying the facilities’ permit compliance (or non-compliance) to the
                                                             IEPA;

                                                          r. Communicating with IEPA regarding permit violations and uncontrolled
                                                             emissions events;

                                                          s. Communicating with IEPA about its emission control equipment,
                                                             including its plans to exhaust EtO from its chamber back vents to the
                                                             atmosphere;

                                                          t. Monitoring and reviewing of the facilities’ emission data to analyze the
                                                             duration and quantity of EtO emissions released, including any excess
                                                             emissions;

                                                          u. Reporting to IEPA on the volume of the facilities’ EtO emissions;

                                                          v. Monitoring the facilities’ emissions control equipment;

                                                          w. Assessing the capacity of the EtO sterilization chambers at the
                                                             Willowbrook facilities as compared to customer demand for its
                                                             sterilization services;

                                                          x. Deciding to add EtO sterilization chambers at the facilities to meet
                                                             customers’ demand;

                                                          y. Inventorying hazardous chemicals stored at the facilities, including EtO;
                                                             and

                                                          z. Communicating with state and local emergency response groups about
                                                             such hazardous chemicals, including EtO.

                                                    27.     Sotera undertook these responsibilities and functions even though, as alleged

                                            elsewhere in this complaint, it failed to ensure implementation adequate to keep the community

                                            safe.

                                                    28.     With respect to the Willowbrook facilities, the activities of Sterigenics U.S. and

                                            Sotera have been intertwined. Sterigenics U.S. and Sotera have routinely and publicly held

                                                                                             12
                                                Case:
                                                 Case:1:21-cv-04581
                                                        1:21-cv-04581
                                                                    Document
                                                                      Document
                                                                             #:#:
                                                                               45-1
                                                                                  1-1Filed:
                                                                                     Filed:09/23/22
                                                                                            08/27/21Page
                                                                                                    Page59
                                                                                                         13of
                                                                                                            of165
                                                                                                               119PageID
                                                                                                                  PageID#:1024
                                                                                                                         #:33




                                            themselves out as a single entity – “Sterigenics” – engaged in operating EtO sterilization facilities

                                            throughout the country, including the Willowbrook facilities; and others, including Moody’s
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Investor Services, for example, has always treated the Sterigenics entities as a single entity and

                                            issued them a single “Corporate Family Rating.” Indeed, Sterigenics U.S. and Sotera have shared

                                            the same Chairman and CEO, the same Vice President, the same General Counsel & Secretary,

                                            the same President and COO, and the same Vice President for Environmental, Health & Safety.

                                            And they have shared a complete unity of interest, with Sterigenics U.S. acting as an

                                            instrumentality of Sotera to accomplish Sotera’s business mission.

                                                       29.      Defendant Bob Novak was the Operations Manager at the Willowbrook facilities

                                            since August 2003. He was responsible throughout this period for coordinating and overseeing

                                            the operation of the facilities, directing personnel at the facilities, implementing procedures, and

                                            ensuring overall safety at the facilities. Upon information and belief, Mr. Novak resides in Illinois.

                                                       30.      Defendant Roger Clark was the Maintenance Supervisor at the Willowbrook

                                            facilities from the late 1980s until approximately 2015. Mr. Clark was responsible throughout this

                                            period for calibrating the internal EtO monitors and overseeing the maintenance activities at the

                                            facilities which included, among other responsibilities, monitoring and replacing emissions

                                            systems equipment. Mr. Clark resides in Cook County, Illinois.

                                                       31.      In 2011, a private equity trust managed by GTCR acquired Sterigenics

                                            International, LLC (now Sotera), along with its subsidiaries (including Sterigenics U.S.) and

                                            parent companies, for $675 million.5 From 2011 through the present, GTCR, with its principal



                                            5   https://www.gtcr.com/gtcr-announces-agreement-to-acquire-sterigenics-international-inc/


                                                                                                      13
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page60
                                                                                                     14of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1025
                                                                                                                     #:34




                                            place of business at 300 N. LaSalle Street, Suite 5600, Chicago, Illinois, has owned, operated,

                                            managed, and/or maintained Sterigenics U.S. and Sotera.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   32.     Defendants Sterigenics U.S., Griffith Labs, Sotera, and GTCR do regular and

                                            substantial business in Cook County, Illinois.

                                                   IV.    Griffith Labs is responsible for EtO emissions from the Willowbrook facility up
                                                          until at least May 14, 1999, when it sold its sterilization business

                                                           A.    Griffith Labs decided to locate an EtO Sterilization facility in
                                                                 Willowbrook notwithstanding its knowledge that exposure to EtO is
                                                                 harmful to human health and can cause cancer

                                                    33.    Griffith Labs claims to have pioneered the development and use of EtO as a

                                            sterilant in the 1930s. In the 1940s, Griffith Labs received patents for the EtO sterilization of

                                            hospital and medical supplies. Beginning in the 1950s, Griffith Labs began offering contract EtO

                                            sterilization to third-party customers. Griffith Labs continued its contract sterilization business

                                            for decades, and in or around 1984, it opened and operated an EtO sterilization facility in the

                                            Village of Willowbrook –– a suburban community located roughly 20 miles southwest of Chicago

                                            with a population of approximately 8,500.

                                                   34.     Before 1984, Griffith Labs knew or should have known that it was too dangerous

                                            to locate an EtO sterilization facility in or near a residential community, and indeed that any

                                            sterilization facility anywhere should be equipped with emission control equipment adequate to

                                            ensure that no one outside the facility was exposed to EtO.

                                                    35.    Griffith Labs’ decision to locate its EtO sterilization facility in Willowbrook was

                                            driven by logistical and financial self-interest, such as Griffith Labs’ belief that Willowbrook

                                            would be an optimal location because it is centrally located in the Midwest near highways and



                                                                                             14
                                                Case:
                                                 Case:1:21-cv-04581
                                                        1:21-cv-04581
                                                                    Document
                                                                      Document
                                                                             #:#:
                                                                               45-1
                                                                                  1-1Filed:
                                                                                     Filed:09/23/22
                                                                                            08/27/21Page
                                                                                                    Page61
                                                                                                         15of
                                                                                                            of165
                                                                                                               119PageID
                                                                                                                  PageID#:1026
                                                                                                                         #:35




                                            railroads and because it was able to secure favorable lease terms. Griffith Labs’ decision was also

                                            driven by a desire to expand its ethylene oxide sterilization services to the commercial
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            sterilization of medical supplies. In making its decision, Griffith Labs ignored its knowledge that

                                            placing an EtO sterilization facility in or near a residential community would cause significant

                                            risk to human health. Griffith Labs could have secured a facility far enough away from a

                                            residential population to drastically reduce and/or minimize the danger to residents, but

                                            consciously chose not to.

                                                     36.     On or about April 12, 1984, Griffith Labs, through its unincorporated division,

                                            Micro-Biotrol, Co6., leased a 44,939 square foot facility at 7775 Quincy Street in Willowbrook for

                                            the stated purpose of: “Sterilization process of various products.” The lease terms were originally

                                            for five years, with multiple options to renew for another five years thereafter. In this way,

                                            Griffith Labs ensured that a dangerous EtO sterilization facility would operate next to a

                                            residential neighborhood in Willowbrook for many years to come.

                                                     B. Griffith Labs’ dealings with IEPA in securing a permit to operate an EtO
                                                        sterilization facility in Willowbrook

                                                     37.     On or about May 31, 1984, in anticipation of constructing and operating the

                                            sterilization facility in Willowbrook, Griffith Labs created the plot below:




                                            6Sterigenics U.S. has also not assumed the liabilities for Micro-Biotrol, Co. Because Micro-Biotrol Co., was an
                                            unincorporated division of Griffith Labs, Griffith Labs is directly responsible for its conduct.

                                                                                                  15
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page62
                                                                                                     16of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1027
                                                                                                                     #:36




                                                                           t   I.JIU/IJ;', 1
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                                                                       I
                                                                                                                                   J
                                                                                                                     J    J DIil   I
                                                                                                                                   I

                                                                                                            ,.
                                                                                                            :a;     UTH
                                                                                                                  IA •




                                                                                                                                           y   I




                                                                                               I.   ,t;I(     W(I




                                                ...




                                                                                               16
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page63
                                                                                                     17of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1028
                                                                                                                     #:37




                                                    38.       In making this plot, Griffith Labs marked off the distances from its EtO facility in

                                            Willowbrook to various schools, and therefore knew its facility would be located within ½ mile
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            of Gower Elementary; one mile of Hinsdale South High School; two miles of Gower West

                                            Elementary; ¼ mile of the nearest residence to the west; ½ mile of the nearest residence to the

                                            south; and otherwise in the immediate proximity of many homes, parks, schools, and small

                                            businesses.

                                                    39.       Griffith Labs further knew that EtO emissions from its Willowbrook facility could

                                            and would migrate to each of the locations on the plot, including those listed on the plot, in

                                            concentrations that would endanger human health.

                                                    40.       Notwithstanding this knowledge, Griffith Labs elected to move forward with its

                                            plans to open an EtO sterilization facility in Willowbrook and, on or about June 1, 1984, applied

                                            for a construction and operating permit from IEPA.

                                                    41.       Griffith Labs’ permit application to IEPA included the above plot and also

                                            included a representation to IEPA that its maximum emissions of EtO would be 40 tons (80,000

                                            lbs.) per year.

                                                    42.       On or about July 6, 1984, Griffith Labs received the following letter from IEPA

                                            concerning the environmental impact of its proposed EtO emissions (highlighting added):




                                                                                               ***




                                                                                               17
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page64
                                                                                                     18of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1029
                                                                                                                     #:38




                                                  @      Illinois Envirnnmental P,otedion Agency        2200 Churchill Rqnd, Springfield, IL 62706
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                         217/782-2113     .
                                                         1.0. No. :    043110AAC
                                                         Application No . ; 84060002
                                                         July 6 1 1984



                                                         Griffith Laborato~ies
                                                         12200 South Central Avenue
                                                         Alsip. Illfnois 60658
                                                         AUentioi'l:    John Kjel lstrand
                                                         This is in response to a t.e·tephone call from Mr. Dickinson to Mr. Cobb on
                                                         July 3 . 1984. concerning the environmental impact of ethylene oxide
                                                         en1ss1ons from the six prosx>sed ster11 ·lzers included in the above
                                                         mentioned construction permit application.
                                                         According to the informtion provided by your company in the application,
                                                         the maxi1111m em1ssfons of ethylene oxicie were 40 tons per year durin'g
                                                         1983. The data you provided included a building which may cause a
                                                         downwash effect. therefore , the ISCST rodel was used in the analysis.
                                                         ISCST utilized one ~ar of meteorology (1975 Mi a.,,ay). the urban
                                                         dispersion mode and the building do\fflwash option. Model results were
                                                         obtained at 180 receptors located on five rings surrounding tbe source.
                                                         Each r ing contained 36 receptors spaced at 100 inter vals. The rings
                                                         were spaced at radial distances of .1 00. 400, 810, 1205. and 1609 meters
                                                         from the $OUrce. According to the ioodeling run, the llilXHll.lm annual
                                                         ground level concentrations of ethylene oxide will vary froll 3.120
                                                         micrograms per cubic meter at 100 ireters to 0.09883 micrograms per cubic
                                                         rooter at one mne outside the plant boundary line. A copy of the ltlldeled
                                                         annual concentrations 1s attached.
                                                          The ethylene oxide (ET0) toxicity data was derived from different.
                                                          literature references.. O,e such document is a USEPA draft publication
                                                                                                                               11
                                                                                                                                         --
                                                          •Heal th Assessment Document - Ethylene Oxide - EPA 600-8-84-009A.       A
                                                          cow of this <bcument can be obtained by Cii!l 1 ing USEPA at phone· nurii>er··
                                                          513/684-7562.
                                                          The toxicity data provides evidence of hlRlliln cancers of the 1>1ncreas, .
                                                          bladder. brain, central nervous system and stomach associated with ETO
                                                          exposure. Various animal studies have sh<Mn carcinogenic, iru~genic,
                                                          leukogeni c and teratogenic effects. These studies indicate that the
                                                          acceptable ground level concentrations of ETO is 0.007 lllicrograms per
                                                          clbic REter. htlfle the Agency does not have any establ fshed standards
                                                          for ETO at this time , nor are we suggesting that the acceptable
                                                          concentrations referenced above are necessarily the nunbers that we are
                                                          conmitted to using, fn our opinion the emissions from the Micro Biotrol
                                                          facility appear to be several magnitudes his,ier than desirable .




                                                                                            18
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page65
                                                                                                     19of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1030
                                                                                                                     #:39




                                                         ~
                                                         ~    Ill inoii;. ~nvi ro 11111c11Lo1I Pro l..t:c:Liou A ~~11c.;y   ·   2200 Chu.n.:hill Rw..S, $ p ri111fiJ!lu, lL 62706
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                               Page Z

                                                               We request a meeting as soon as possib1e to be able to better explain our
                                                               evaluation illld concerns. In our opinion, there are several irethods by
                                                               which emssions of ElO at this facil lty can be reduced. At our meeting,
                                                               we wish to also discuss steps that can be taken to w:infmze emissions In
                                                               order to remce the amient Impacts to an acceptable level.

                                                               We are looking forward to hearing fl'()lll you 'in tile near future. In the
                                                               meantime, should you have any questions, ple.se feel free to call
                                                               Jim Cobb, Harlsh Des4i or me at 217/782-2113.

                                                               Very ,~uly yours,                                -:::>
                                                                     lfr
                                                                    t//1v1U Yiu n ~--
                                                               Bharat f,'.atl , P. E.
                                                               Mana!J!!r. Perm1 t 5ect1on
                                                               Division of Air Pollution Control

                                                               BM1~d/1392d/24-25
                                                               cc, warren      Of Cldnson, Gr1 ffl th Laboratories
                                                                   Dennis      Lawler
                                                                   Penv1t      File
                                                                   Region      1 µ?-


                                                   43.     This July 6, 1984 letter from IEPA specifically addressed the “environmental

                                            impact” of ethylene oxide emissions from the sterilization chambers Griffith Labs sought to

                                            operate in Willowbrook. As Griffith Labs’ Project Engineer for the Willowbrook facility later

                                            testified, the “environmental impact” from the facility included the neighboring residents’

                                            exposure to EtO and their resulting risk of contracting cancer.

                                                   44.     By way of this July 6, 1984 letter, Griffith Labs was expressly advised by the state

                                            regulatory authority that its EtO sterilization operation posed significant adverse health risks to

                                            humans in that: (i) EtO exposure is associated with human cancers; and (ii) EtO has carcinogenic,

                                            mutagenic, leukogenic, and teratogenic effects. Griffith Labs thus had knowledge that its EtO




                                                                                                        19
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page66
                                                                                                     20of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1031
                                                                                                                     #:40




                                            emissions would cause harm to humans in neighboring communities long before it exposed any

                                            Plaintiff or Plaintiff’s decedent to EtO emissions.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   45.     As Griffith Labs’ Project Engineer later testified, IEPA was warning Griffith Labs

                                            by this letter that at least two of the schools and two residential areas on the plot (see Paragraph

                                            37) were within the area where IEPA had determined that EtO concentrations from the

                                            Willowbrook facility would be “several magnitudes higher than desirable”.

                                                   46.     Indeed, Griffith Labs was already aware of the toxic and deadly effects of EtO

                                            when it received the July 6, 1984 letter from IEPA. Even before that date, and before any Plaintiff

                                            or Plaintiff’s decedent was exposed to EtO emissions, Griffith Labs knew that:

                                                           a. there was “no safe level” of EtO, i.e., there was no concentration of EtO
                                                              that could be safely breathed without risk of serious damage to health;

                                                           b. “ethylene oxide has also been found to pose a serious health risk”;

                                                           c. the very attribute which made EtO so lethally effective as a sterilant—
                                                              e.g., its ability to inactivate DNA—also made EtO very dangerous for
                                                              human beings exposed to it;

                                                           d. the state of Illinois recognized EtO as one of the 19 most dangerous
                                                              chemicals (a “priority” pollutant);

                                                           e. EtO was suspected to cause cancer in humans, and threaten
                                                              reproductive harm;

                                                           f.   “the highly toxic nature of ethylene oxide and its classification as a
                                                                suspect carcinogen”;

                                                           g. any exposure to EtO that threatened to cause even one additional
                                                              cancer in a population of 1,000,000 was unacceptable;

                                                           h. those exposed to EtO emitted from a sterilization facility were
                                                              significantly more likely to contract cancer and other serious illnesses;




                                                                                             20
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page67
                                                                                                     21of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1032
                                                                                                                     #:41




                                                            i.   EtO was a “mutagen”, i.e., that it damaged human DNA in a way that
                                                                 promoted the development of cancer;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                            j.   “[t]here has been widespread recognition of the mutagenic potential of
                                                                 ethylene oxide”;

                                                            k. once emitted from a sterilization facility, EtO would be breathed by
                                                               those living, working, and attending school near the facility; and

                                                            l.   “human receptors outside of the building may unknowingly come into
                                                                 contact with ethylene oxide before it has been sufficiently dispersed in
                                                                 the ambient atmosphere.”

                                                      47.   As a result, and well before it began operations in Willowbrook, Griffith Labs was

                                            acutely aware of the catastrophic risk to human health that inhalation exposure to EtO would

                                            create.

                                                      48.   In addition to warning Griffith Labs about the health risks of EtO, the IEPA letter

                                            expressly told Griffith Labs that IEPA’s air modeling raised substantial concerns that the

                                            surrounding Willowbrook community would be adversely impacted by Griffith Labs’ EtO

                                            emissions. In particular, it informed Griffith Labs that: (i) emissions from the Willowbrook facility

                                            appear to be “several magnitudes higher than desirable”; and (ii) steps should be taken to

                                            “minimize emissions in order to reduce the ambient impacts to an acceptable level.”

                                                      49.   Moreover, Griffith Labs knew or should have known when it received IPEA’s

                                            letter that IEPA’s modeling results vastly understated the risk to Griffith Labs’ neighbors that the

                                            Willowbrook emissions would pose. According to the letter, IEPA had based its EtO modeling in

                                            part on Griffith Labs’ representation that its maximum emissions would be 40 tons (80,000 lbs.)

                                            per year. Upon information and belief, Griffith Labs knew that its emissions going forward would

                                            be significantly more than 80,000 pounds per year. In fact, in 1985, the Willowbrook facility



                                                                                              21
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page68
                                                                                                     22of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1033
                                                                                                                     #:42




                                            emitted more than 125,000 pounds of EtO. In each of 1986 and 1987, it emitted more than 160,000

                                            pounds of EtO.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   50.     Further, Griffith Labs’ representation to IEPA that it had emitted 40 tons of EtO

                                            during the year of 1983 was itself understated. In an internal memorandum dated May 3, 1984,

                                            Griffith Labs discloses that it had actually emitted approximately 50 tons in 1983. Griffith Labs

                                            never corrected its misrepresentation to IEPA.
                                            ---·---· ·-·""'-·   - - · -·-
                                            pollutant constitutes a major stationary emission source. Since our total
                                            emissions are approxiamtely 50 tons per year (calendar 1983) and our anti-
                                            cipated growth is to 65 tons per year in 5 years, the part 203 does not

                                                   51.     The same internal memo also predicted that Griffith Labs would grow to emit 65

                                            tons per year. Griffith Labs did not disclose this fact to IEPA either.

                                                   52.     As a result, Griffith Labs knew or should have known that IEPA’s opinion that its

                                            emissions would be “several magnitudes higher than desirable” was based on modeling that only

                                            accounted for about half of what Griffith Labs actually intended to emit. Griffith Labs never

                                            corrected IEPA’s modeling assumptions at any point prior to receiving its permit.

                                                   53.     Separately, upon information and belief, Griffith Labs misinformed IEPA about

                                            the height of the stack it would use at Willowbrook to release EtO emissions. The height of the

                                            stack is important because, in general, the higher the stack, the greater the EtO concentrations

                                            will be diminished before they descend to the zone in which they are breathed by, e.g., residents,

                                            workers, and schoolchildren. In connection with its 1984 permit application, Griffith Labs told

                                            IEPA that the stack exhaust point would be 40-50 feet above grade. However, upon information

                                            and belief, the actual exhaust point was only 28 feet above grade.




                                                                                             22
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page69
                                                                                                     23of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1034
                                                                                                                     #:43




                                                   54.     As a result, Griffith Labs knew or should have known that IEPA’s opinion that its

                                            emissions would be “several magnitudes higher than desirable” was based upon modeling that
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            used a falsely inflated stack height. Griffith Labs never corrected IEPA’s modeling assumptions

                                            at any point prior to receiving its permit.

                                                   55.     Even further, Griffith Labs took essentially no action in connection with IEPA’s

                                            stated concerns about its “minimiz[ing] emissions in order to reduce the ambient impacts to an

                                            acceptable level.” Instead, once Griffith Labs received its permit, it operated without any emission

                                            controls designed to remove or eliminate EtO from emissions and thereby caused massive

                                            unfiltered emissions of EtO into the Willowbrook community 24 hours a day, 7 days a week, 365

                                            days a year. Griffith Labs did so notwithstanding its knowledge that: (a) toxicity data showed

                                            that EtO exposure was associated with human cancers and other harms; (b) the facility was

                                            located within the immediate proximity of homes, parks, schools, and small businesses; and (c)

                                            IEPA’s (understated) modeling predicted emissions “several magnitudes higher than desirable.”

                                                   56.     Indeed, by no later than 1982, Griffith Labs knew that emission control technology

                                            was available that could remove up to 99% of EtO from the Willowbrook facility’s exhaust before

                                            it was allowed to enter Willowbrook’s air. Despite knowing of the availability of this technology

                                            before operating in Willowbrook, Griffith Labs specifically declined to use it for essentially the

                                            first four years of Willowbrook operations.




                                                                                            23
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page70
                                                                                                     24of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1035
                                                                                                                     #:44




                                                    C. Griffith Labs’ received an operating permit for the Willowbrook facility that was
                                                       subject to special conditions with which Griffith Labs failed to comply
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    57.              On July 30, 1984, IEPA issued Griffith Labs a Joint Construction and Operating

                                            Permit to construct and operate sterilization chambers 1, 3, 4, 5, 9, and 10 at the Willowbrook

                                            facility.



                                                        ~~ Illinois Envfronmental P,otection Agency               · 2200 Cbucchill Road, Sp,ingfield, IL 62706

                                                                 217 /782-2113
                                                              ....                      J·oiNT CONSTRUCTION ANO OPERATING PERMIT
                                                                •PERMrrm:
                                                                      '
                                                                 Griffith Laboratories, U.S.A., Inc.
                                                                 l:2200 S. Central Avenue
                                                        i
                                                        \      ;
                                                                 Alsip,  Illinois 60658
                                                        \
                                                                 Attention:        ·John Kjellstrand


                                                                       lication No.: 84060002                  I.D. No.: 043110AAC
                                                                         can . s esf nation: STERILIZER        Date Received : June 1, 1984
                                                                     u ec : as      r   za ion System                              .
                                                                          ssued: July 30, 1984                 Operating Permit Expiration
                                                                 ----------                                    Irate: JuTy 31. 1986
                                                                     Location: 7775 Quincy St., Willowbrook, TTTinois

                                                    58.              The permit was issued to “Griffith Laboratories, U.S.A., Inc.” (i.e., Griffith Labs)

                                            for its operation of the Willowbrook facility. The permit had a two-year term, expiring on July 31,

                                            1986. Griffith Labs never attempted to amend or correct this permit in any way, including to

                                            substitute any other entity as the permit holder.

                                                    59.              The 1984 permit, as well as all permits relating to the Willowbrook facility issued

                                            thereafter, expressly warned Griffith Labs the permit did not release it from liability for harm to

                                            its neighbors. They stated:

                                                            a. the permit “does not release the permittee from any liability for any loss due
                                                               to damage to person or property caused by, resulting from, or arising out


                                                                                                       24
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page71
                                                                                                     25of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1036
                                                                                                                     #:45




                                                              of, the design, installation, maintenance, or operation of” the Willowbrook
                                                              facility.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                         b. the permit “in no manner implies or suggests that the [IEPA] . . . assumes
                                                            any liability, directly or indirectly, for any loss due to damage, installation,
                                                            maintenance or operation” of the Willowbrook facility.

                                                         c. the Willowbrook facility could not be operated in such a manner as to
                                                            “cause a violation of the Environmental Protection Act or Regulations
                                                            promulgated thereunder,” all of which forbid air pollution in the State of
                                                            Illinois.

                                                   60.        As the permittee for the Willowbrook facility, Griffith Labs was responsible for the

                                            following operations:

                                                         a. sterilization processes for the six chambers for which it received a permit;

                                                         b. emissions of EtO and other volatile organic materials from the facility;

                                                         c. the acquisition, installation, and operation of pollution controls at the
                                                            facility;

                                                         d. testing and monitoring for levels of EtO both in the facility and the
                                                            environment;

                                                         e. monitoring, testing, maintenance, and repair of all equipment involved in
                                                            the sterilization processes at the facility;

                                                         f.   maintaining emission records and reporting to IEPA and as otherwise
                                                              required by law;

                                                         g. ensuring that its emissions and emission controls were compliant with
                                                            local, state, and federal law;

                                                         h. monitoring and reviewing the facility’s emission data to analyze the
                                                            duration and quantity of EtO emissions released, including any excess
                                                            emissions;

                                                         i.   assessing the capacity of the EtO sterilization chambers at the Willowbrook
                                                              facility as compared to customer demand for its sterilization services;




                                                                                               25
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page72
                                                                                                     26of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1037
                                                                                                                     #:46




                                                         j.   inventorying hazardous chemicals stored at the facilities, including EtO;
                                                              and
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                         k. communicating with state and local emergency response groups about
                                                            such hazardous chemicals, including EtO.

                                                   61.        Griffith Labs undertook these responsibilities and functions even though, as

                                            alleged elsewhere in this complaint, it failed in its duty to ensure that its implementation of these

                                            responsibilities and functions was adequate to keep the community safe.

                                                   62.        In addition, as part of the 1984 operating permit issued to Griffith Labs by IEPA,

                                            several special conditions were imposed on Griffith Labs to address IEPA’s concerns about the

                                            environmental impact of Griffith Labs’ EtO emissions, including that:

                                                         a. Griffith Labs was required to conduct ambient air monitoring for a one-
                                                            year period and submit a final report by December 1, 1985; and

                                                         b. Griffith Labs was required to “investigate the availability of emission
                                                            reduction measures for ethylene oxide.”

                                                   63.        Griffith Labs failed to comply with either special condition and, upon information

                                            and belief, misled IEPA as to both.

                                                   64.        Griffith Labs’ obligation to monitor EtO concentrations in the ambient air outside

                                            the Willowbrook facility required that monitoring be conducted at locations in between the

                                            facility and the local residents, workers, and schoolchildren. The plain intent of this requirement

                                            was so that Griffith Labs and IEPA would know the concentrations of EtO that were being emitted

                                            from the facility and carried by air currents into the surrounding neighborhoods. Ultimately, the

                                            monitoring would determine the extent of the threat to the health of Griffith Labs’ neighbors

                                            posed by the facility’s EtO emissions.




                                                                                              26
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page73
                                                                                                     27of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1038
                                                                                                                     #:47




                                                    65.    Despite its obligation to conduct such monitoring, and its knowledge that the

                                            purpose of the monitoring was to provide critical information about the seriousness of threats
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            posed to its neighbors’ health by its EtO emissions, Griffith Labs never monitored the ambient air

                                            nor ever made any effort to determine the ambient air EtO concentrations, such as by modeling

                                            them.

                                                    66.    Instead, Griffith Labs told IEPA that the monitoring equipment it purchased was

                                            not dependable and was malfunctioning. But instead of trouble-shooting the equipment with the

                                            supplier or getting new equipment (which was readily available), Griffith Labs simply ignored

                                            the requirement that it conduct ambient air monitoring, thereby also ignoring the serious threat

                                            to human health posed to those who lived and worked near its Willowbrook facility.

                                                    67.    Due to Griffith Labs’ initial failure to comply with the ambient air monitoring

                                            requirement and submit a final report by December 1, 1985, IEPA “extended” Griffith Labs’

                                            deadline to do so until July 31, 1986. Griffith Labs, however, did not perform ambient air

                                            monitoring or submit a final report by that date, either. Throughout Griffith Labs’ 15-year control

                                            of facility operations, it never performed the ambient air monitoring it had been told was

                                            necessary to perform back in 1984.

                                                    68.    Upon information and belief, Griffith Labs made a decision not to conduct ambient

                                            air monitoring because (i) it did not care about the harm its EtO emissions would cause those who

                                            lived and worked in the Willowbrook community; and (ii) it knew that actual monitoring would

                                            reveal to regulators that its EtO emissions were too dangerously high to warrant continued

                                            operation of the facility—either at all, or without installing significant and expensive emission

                                            control equipment.

                                                                                            27
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page74
                                                                                                     28of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1039
                                                                                                                     #:48




                                                    69.      Griffith Labs’ decision in this regard – a classic example of “profits over people” –

                                            exhibited reckless indifference and conscious disregard for the health and safety of its neighbors
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            in the Willowbrook community.

                                                    70.      Griffith Labs also failed to comply with and/or misled IEPA about the requirement

                                            that it “investigate the availability of emission reduction measures for ethylene oxide.” Griffith

                                            Labs was told in March 1983 – over one year before it submitted its permit application for the

                                            Willowbrook facility – that a Deoxx emission reduction system was certified as “Best Available

                                            Control Technology” and that the system was available for about $118,000. Even though Griffith

                                            Labs was well aware of the availability of this emission reduction technology for ethylene oxide

                                            when it applied for and received its permit, it stalled compliance with the requirement to

                                            purchase and implement it by falsely telling IEPA that it would have to “investigate [its]

                                            availability.”

                                                    D. Griffith Labs’ own independent acts and omissions contributed to cause Plaintiffs’
                                                       injuries

                                                    71.      Illinois law recognizes that multiple parties may contribute to cause a given injury.

                                            735 ILCS 5/2-1117; Sperl v. Henry, 2018 IL 123132, ¶¶ 24-25 (2018).

                                                    72.      At all times between 1984 and May 14, 1999, Griffith Labs was obligated to comply

                                            with the Illinois Environmental Protection Act and its supporting regulations, which prohibited

                                            “the emission of any contaminant into the environment so as to cause or tend to cause air

                                            pollution in Illinois;” defined as “emissions sufficient “to be injurious to human life [or] health.”

                                                    73.      Griffith Labs’ conduct, as detailed in the paragraphs immediately below, breached

                                            its duty in this regard and was a substantial contributing factor in causing injury to every Plaintiff



                                                                                              28
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page75
                                                                                                     29of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1040
                                                                                                                     #:49




                                            or Plaintiff’s decedent who lived and/or worked in the immediate vicinity of the Willowbrook

                                            facility up until May 14, 1999, when Griffith Labs sold the company.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   Griffith Labs greatly enhanced the danger to its neighbors by expanding its EtO operations in
                                                   Willowbrook

                                                   74.     As discussed above, in 1984, Griffith Labs located an EtO sterilization facility in a

                                            residential community, knowing that area residents, workers, and schoolchildren would be

                                            exposed to the facility’s EtO emissions, and as a result would be significantly more likely to

                                            contract cancer and other serious illnesses.

                                                   75.     In 1999, Griffith Labs authorized and funded the establishment, construction, and

                                            operation of an additional EtO sterilization facility in Willowbrook (Willowbrook II), despite

                                            knowing that the first Willowbrook facility had never been operated safely, and that Willowbrook

                                            II could not be operated safely. The impact of Willowbrook II was to further inundate the

                                            Willowbrook area and its residents with thousands of pounds of unnecessary and dangerous EtO

                                            emissions, in addition to the EtO emitted from the first Willowbrook facility.

                                                   76.     Griffith Labs also authorized and funded the use of several “off-site” facilities in

                                            the Willowbrook area, including facilities at: (i) 407 Heathrow Court in Burr Ridge; (ii) 417

                                            Heathrow Court in Burr Ridge; (iii) 261 Shore Drive in Burr Ridge; (iv) 7409 Quincy Street in Burr

                                            Ridge; and (v) 16 W 151 Shore Court in Burr Ridge. Upon information and belief, these facilities

                                            were used to store or treat sterilized products that were still off-gassing EtO. Upon further

                                            information and belief, these facilities had no emission controls such that all residual EtO from

                                            the off-gassing products at those facilities was emitted directly into the atmosphere.




                                                                                            29
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page76
                                                                                                     30of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1041
                                                                                                                     #:50




                                                     Griffith Labs failed to monitor and model ambient air concentrations

                                                     77.      Griffith Labs never monitored or modelled to determine the concentrations of EtO
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            from the Willowbrook facility that those in the Willowbrook area would be breathing, even

                                            though Griffith Labs was obligated to do so by its permit, as described in Paragraphs 62 – 67,

                                            above.

                                                     78.      Griffith Labs knew that these monitoring results were very important to provide

                                            to IEPA so that it could do its job and determine whether the company was operating safely or

                                            unnecessarily dangerously.

                                                     79.      In fact, it had conducted and/or authorized ambient air modeling and monitoring

                                            at other of its EtO facilities.

                                                     80.      Griffith Labs consciously chose not to do the same in Willowbrook.

                                                     Griffith Labs failed to timely or reasonably implement emission controls

                                                     81.      At all times between July 1984 and May 14, 1999, Griffith Labs owned and

                                            controlled the sterilization and emission control equipment that was utilized at the Willowbrook

                                            facility. By participating in and authorizing the Willowbrook facility’s decisions about the use of

                                            that equipment, Griffith Labs had the responsibility to ensure the adequacy of such equipment to

                                            protect its neighbors in the Willowbrook community. This is demonstrated, inter alia, by the

                                            following:

                                                           a. All expenditures for sterilization and emission control equipment used in
                                                              the operation of the Willowbrook facility had to be authorized before
                                                              purchase by Griffith Labs. Without such authorization, the equipment
                                                              could not have been purchased or used at the Willowbrook facility. Simply,
                                                              the facility could not have operated without Griffith Labs’ specific
                                                              authorization.



                                                                                                30
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page77
                                                                                                     31of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1042
                                                                                                                     #:51




                                                           b. Griffith Labs purchased and authorized for use at the Willowbrook facility
                                                              sterilization and emission control equipment without which the facility
                                                              could not function. Griffith Labs accomplished this via “Griffith
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                              Laboratories U.S.A. Purchase Order[s]” which it directed to specific
                                                              Griffith Labs’ vendors. An example of the purchase orders used by Griffith
                                                              Labs is depicted immediately below, with emphasis added to show that



                                                                     ,-,
                                                              the entity ordering and paying for the equipment was Griffith Labs:

                                              ..
                                            ".O.L
                                                '                                :'t/)U
                                                                                                                                       SHIP TO: GRIFFITH LABORATORIES U.S.A.
                                                                                                                                       0 1 GRIFFITH CENTER, ALSIP, IL eoe5&-3495
                                                                                                                                       □ 1437 WEST 37TH STAEET, CHICAGO, IL eoeo&-2194
                                                               PUIICHAII 011D111
                                                                                                                                       0 855 RAHWAY AVENUE, UNION, NJ 07083-1938


                                                    ~
                                                           IGRIFATH LABORATORIES U.S.A.                                                0 33300 WESTERN AVE., UNION CITY, CA 94587-0797
                                                                1 GRIFFITH CENTER • ALSIP, IL eoeM-34115       Mii,\
                                                                                                                                       0 lle01 GRIFFITH WAY, LITHONIA, GA 30058-5295
                                                                       AREA CODE 312 • 371-0900                                        0 4900 GIFFORO ST., LOS ANGELES, CA 90058-2785
                                                                                                                                       0 P. 0 . BOX 127, REMINGTON, IN 47977-01..0
                                                                 ttlu\olt:S"l" ,i EC HA.~lCAL. 1,-iC.
                                                                                                                           7           0 GRIFFITH DESIGN & EQUIPMENT ~
                                                                                                                                           1437 WEST 37TH ST., CHICAGO, IL       2194
                                                                 541.l E"JIBCU'fl Vf; DR.
                                                    T                                                                                  D   STAR ROUTE 2, HIGHWAY E
                                                                 wll,U"48ROOI~ , IL 60521                                                  GREENVILLE, MO 83844-9703
                                                    0
                                                                                                                                       SHIP TO: MICRO-BIOTROL, INC.

                                                           L                                                               .J


                                            -
                                                                                                                                       ijl~1~itOOK, IL
                                                    aaND    1Nvo1c• TO A~1" ADD1tan uNe.•n OTM•11•1•• anc1,-1•D. ••No
                                                    DU ....ICAT• a11.1. 01' I.AOIND TO D•ttlNATION. THIS 0110•11 18 .u..,•cT
                                                                                                                               •   I
                                                    TO Al.I. T • I I - ANO CONDITION• APP.AIIIND ON TN• • • v • • · · a10•-




                                                           c. Under its own “Griffith Laboratories U.S.A. Purchase Order[s],” Griffith
                                                              Labs ordered equipment from its vendors, and directed the vendors to
                                                              invoice Griffith Labs for payment thereon. Griffith Labs, in turn, paid the
                                                              vendors for the equipment. For example:

                                                                            i.      In 1986, Griffith Labs direct its vendor, Phillips Electric, Inc.,
                                                                                    to supply and install one complete computer control system
                                                                                    for the 12-pallet EtO sterilization chamber No. 2 at the
                                                                                    Willowbrook facility.

                                                                            ii. In 1986, Griffith Labs directed its vendor, Midwest
                                                                                Mechanical, Inc., to install one complete ventilation system
                                                                                for EtO sterilization chamber No. 2 at the Willowbrook
                                                                                facility.

                                                                            iii. In 1986, Griffith Labs directed its vendor Midwest
                                                                                 Mechanical, Inc., to install all mechanical equipment and
                                                                                 pipe that equipment according to a specific drawing for EtO
                                                                                 sterilization chamber No. 2 at the Willowbrook facility.

                                                                            iv. In 1990, Griffith Labs direct its vendor, Midwest
                                                                                Mechanical, Inc., to install one complete nitrogen system for


                                                                                                                 31
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page78
                                                                                                     32of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1043
                                                                                                                     #:52




                                                                          sterilization chamber No. 2 with piping and mechanical
                                                                          work at the Willowbrook facility.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                      v. In 1991, Griffith Labs directed its vendor Midwest
                                                                         Mechanical, Inc., to supply labor and material and install
                                                                         purging systems for gassing stations 1, 2, 3, 5, 6, 7, 8, 9, and
                                                                         10 at the Willowbrook facility.

                                                        d. At all times between 1984 and 1999, Griffith Labs owned all sterilization
                                                           and emission control equipment utilized at the Willowbrook facility.

                                                        e. On multiple occasions during the 1980s and 1990s, and after October 1984,
                                                           Griffith Labs-affiliated entities and/or Griffith Labs itself, while seeking
                                                           permits to construct or operate the Willowbrook facility, represented to
                                                           IEPA that Griffith Labs was the “Plant Owner.” For example, a 1988
                                                           application for a permit to construct and operate the EtO sterilizer system
                                                           in Willowbrook identifies Griffith Labs as the Willowbrook “Plant Owner.”

                                                        f.   On multiple occasions during the 1980s and 1990s, and after October 1984,
                                                             Griffith Labs-affiliated entities and/or Griffith Labs itself, while seeking
                                                             permits to construct or operate the sterilization system at the Willowbrook
                                                             facility, represented to IEPA that the “Owner” of the sterilization system
                                                             was Griffith Labs. The same 1988 application to IEPA referenced above
                                                             identifies Griffith Labs as the owner of the EtO sterilizer system which
                                                             needed the IEPA permission for construction and operation.

                                                        g. It was the Board of Directors of Griffith Labs which, on multiple occasions
                                                           in the 1980s and 1990s, and after October 1984, supplied IEPA with the
                                                           corporate resolution authorizing the operation of the Willowbrook
                                                           sterilization system. Such authorization was legally required before IEPA
                                                           could award a permit for the operation of a sterilization system at the
                                                           Willowbrook facility. Indeed, the application specifically provides that:


                                            THIS APPLICATION MUST 8£ SIGNED IN ACCORDANCE WITH PCB REGS., CHAPTER 2, PART 1, RULE 103(a)(4) OR 103(b)(5) WHICH STATES:
                                            "ALL APPLICATIONS ANO SUPPLEMENTS THERETO SHALL BE SIGNED BY THE OWNER ANO OPERATOR OF THE EHISSlON SOURCE OR AIR POLLIITION
                                            CONTROL EQUIPMENT, OR THEIR AUTfrJRIZEO AGENT, ANO SHALL BE ACCONPANIEO BY EVIDENCE OF AUTHORITY TO SIGN THE APPLICAT[ON."
                                            IF THE OWNER OR OPERATOR IS A CORPORATION, SUCH CORPORATION MUST HAVE ON FILE WITH THE AGENCY A CERTIFIED COPY OF A RESOLUTION
                                            OF THE CORPORATION'S BOARO OF DIRECTORS AUTHORIZING THE PERSONS SIGN[NG THIS APPLICATION TO CAUSE OR ALLOW THE CONSTRUCTION OR
                                            OPERATION OF THE El;\JIPNENT TO BE COVERED BY THE PERMIT.


                                                             Thus, pursuant to the legal requirements set forth in the permit application,
                                                             any corporation that owned or operated “the emission source or air
                                                             pollution control equipment,” had to file a certified copy of a board
                                                             resolution authorizing the construction or operation of the equipment. The
                                                             only board of directors to supply such a resolution, or authorize the use of

                                                                                                    32
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page79
                                                                                                     33of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1044
                                                                                                                     #:53




                                                                       the sterilization equipment at the Willowbrook facility, was Griffith Labs’
                                                                       (see below).
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                             CERTIFIED COPY OF RESOLUTION


                                                        I, Gregory L. Schmidt, Secretary of Griflith L~borato~ies, OE
                                              Inc., a Delaware Corporation, having custody of the corporate
                                              records thereof, do hereby certify that the Board of Directors
                                              adopted the following resolution curing a Meeting of the Board of
                                              Directors, on May 23, 1984, which is in accordance with the law
                                              and the by-laws of said corporation.   ··.- . .· . . ·.-•: :,(· · ..
                                             · · -::- · -·--:.:-: · :--:: - - RESOLVED, by · the Board of Directors :of the Company •.
                                                                     ·. ,; .·. that it authorize Ralph A. Sair, its Senior Vice                                                                           •           .
                                                    ..~ · .~7:.- ~- President or Donald E. Alguire' or John Kjellstran~, - ·-..:-:-:: ·.:
                                            .. . _.. :..:... .. .::.._;_:_:.respectively, President and ·Vice President of the . : · · ·- ; ·
                                                 .                  .' . ~- Company's · division, Micro-Eiotrol Company, .. to ··cause--:-:-~::.·::-
                                             __ ·· ·-·-:.:_~...:_: or _allow the constr•.lction or operation of the equipment ?::~:·
                                            . • _                       ·.. · to be covered , by the· Illinois Environmental Protection -:-~.-.~>·
                                              ··:..-;-: :.··::::-;;:.;7,•:.. Agency permit to construct and operate such equipment - -~; :=,:
                                                 ., ... .::. . · ·.:-:· at the Micro-B i otrol facilities at: 7775 Quincy Street, ·~:'. t~.: :
                                             ·--·- --· - ·- ·.·... · Willowbrook Illinois · 60S21. ·······- - ·•· ·. ~..,..__-.. .--·~· :----~- ·~-~ ~.:·, .
                                                 .     .       ~ -~~. ·: • . .- . ·. ·. . . ; . . . ... .' ~ . . • -· ; .....- . t;. - .:'~·- : : · : ,._: ~ ~:~ ~.-:·=~-= ~.:.~::/·. ~-- :~·.-::~:~!./};::.◄ ~- ~~::z; =:· ·• .

                                                              · ··; ·::--·· In witness · whereof,· I have hereunto·· subsc~ibed my -name :-:--;- ···
                                               as Secretary and have caused the corporate seal of said corporation
                                               to be hereunto affixed, this 31st· day of May, 1984. --:_;;:- ,·_.·~~.:. .:..~ -- ::·: =...·. :.!·..;.



                                            -:~T~7f~}t-::E1i~~~:2~~~<~a:' -~s;_y;~;~5
                                                   • ..•·.· •.
                                                                                    !2~ZY,~£~;~A;~::
                                                                          ~·. .-:::·.:.: .: . · ·:--;. ... _         ·.     7 •• · ~ ~-                                                               ·: .•_••:-.' : :.-.·.i , .
                                            ... "':'.···· ·-:- ·:-· :-;:: ·.: .-:-:--.--·-:.:. ..:~~---. ~ .-.- , secretary                                           > ·,.-:: ·: · · · --· · :.. ::,':..: _-/..~

                                                                       Applications submitted to IEPA for Willowbrook facility permits in the
                                                                       1980s and 1990s –– and after October 1984 –– included the above Griffith
                                                                       Lab’s board resolution. No operator — not Micro-Biotrol or Griffith Micro
                                                                       Science — supplied such a board resolution.

                                                                h. On multiple occasions during the 1980s and 1990s, and after October 1984,
                                                                   Griffith Labs-affiliated entities and/or Griffith Labs itself, while seeking
                                                                   permits to construct or operate the Willowbrook facility, represented to
                                                                   IEPA that the design of the facility’s sterilization system was that of Griffith
                                                                   Labs’. Indeed, in the 1988 application to the IEPA for example, Griffith
                                                                   Labs’ Process Flow Diagram, illustrating the EtO sterilization system
                                                                   process in order to obtain the permit, was submitted.

                                                                i.     Griffith Labs paid all permit and other regulatory fees relating to
                                                                       Willowbrook operations thereby, on each occasion, authorizing and

                                                                                                                                     33
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page80
                                                                                                     34of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1045
                                                                                                                     #:54




                                                              funding the Willowbrook facility’s continued operation and emission of
                                                              dangerous amounts of EtO into the Willowbrook community.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                         j.   Griffith Labs mandated an operating strategy of seeking a competitive
                                                              advantage by purchasing and directing the use of sterilization equipment
                                                              designed to protect its workers and customers from exposure to EtO at the
                                                              expense of exposing neighboring residents to even more EtO. Specifically,
                                                              EtO concentrations inside the Willowbrook facility that were too
                                                              dangerous for workers and customers to breathe were intentionally vented
                                                              into the Willowbrook community, where they were breathed by area
                                                              residents, workers, and schoolchildren.

                                                   82.        When the Willowbrook facility first began operating, Griffith Labs decided not to

                                            use any emission controls whatsoever even though it knew such controls were available and

                                            necessary. Thus, despite its knowledge that EtO emissions from its Willowbrook facility would

                                            make it significantly more likely that area residents, workers, and schoolchildren would contract

                                            cancer and other serious illnesses, Griffith Labs designed the Willowbrook facility without the

                                            emission controls that Griffith Labs knew were necessary to prevent such catastrophic outcomes.

                                                   83.        After about three years of operating without any controls, Griffith connected one

                                            of nine chambers to emission controls in July 1987. But, for the next nine months, until April 1988,

                                            Griffith Labs continued to operate eight of its sterilization chambers without any emission

                                            controls. As a result, for approximately the first four years of operation, close to 100% of all EtO

                                            used at the Willowbrook facility was emitted into the atmosphere.

                                                   84.        Griffith Labs made this decision despite its knowledge that it would result in the

                                            unnecessary emission of hundreds of thousands of pounds of EtO during over these four years,

                                            and gravely endanger its neighbors’ health.

                                                   85.        Further, at all times between 1984 and May 14, 1999, Griffith Labs made a decision

                                            not to control EtO emissions from the Willowbrook facility’s back-vents, aeration rooms, and

                                                                                              34
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page81
                                                                                                     35of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1046
                                                                                                                     #:55




                                            work aisles—three principal areas within the facility where EtO would collect after the products

                                            were sterilized.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   86.     As Griffith Labs knew or should have known, this failure to control emissions

                                            from, e.g., back-vents, aeration rooms, and work aisles resulted in the unnecessary emission of

                                            EtO into the surrounding community of at least 25,000 pounds each year, or a total of at least

                                            400,000 pounds between 1984 and 1999.

                                                   87.     Griffith Labs knew that these emissions, too, would gravely endanger its

                                            neighbors’ health, but allowed them to occur anyway.

                                                   88.     As a result of Griffith Labs’ decisions, at no time between 1984 and 1999 was the

                                            emission control equipment at Griffith Labs’ Willowbrook facility adequate to protect the health

                                            of its neighbors.

                                                   Griffith Labs’ failure to warn those in the Willowbrook community that they were being exposed to
                                                   a deadly carcinogen

                                                   89.     As detailed above, Griffith Labs knew before it opened the Willowbrook facility

                                            that (a) toxicity data showed that EtO exposure was associated with human cancers and other

                                            harms; (b) the facility was located within the immediate proximity of homes, parks, schools, and

                                            small business; and (c) IEPA’s (understated) modeling showed emissions were “several

                                            magnitudes higher than desirable.”

                                                   90.     Nevertheless, Griffith Labs made the conscious and purposeful decision not to

                                            warn those living and working in the Willowbrook community that they would be exposed to

                                            and caused to inhale a carcinogen on a routine and continuous basis.




                                                                                              35
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page82
                                                                                                     36of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1047
                                                                                                                     #:56




                                                   91.      As a result of Griffith Labs’ failure in this regard, those who lived and worked in

                                            the Willowbrook community were not able to adequately protect themselves or avoid the
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            emissions and were forced to unknowingly inhale a potent human carcinogen for years on end.

                                                   Griffith Labs failed to adhere to its own standard of care

                                                   92.      Between 1984 and 1999, Griffith Labs made decisions at other EtO sterilization

                                            facilities in both the Unites States and other countries to use emissions control equipment far

                                            more effective at protecting the facilities’ neighbors than the equipment it authorized for use at

                                            its Willowbrook facility.

                                                   93.      As examples, in 1996 and 1997, Griffith Labs’ EtO facilities in Willowbrook and

                                            Santa Teresa, NM, used roughly the same amount of EtO, but the emissions in Willowbrook were

                                            about 90-100x higher:

                                             1996             Chambers          Aeration Rooms        Back Vents   EtO Used       Eto Emitted
                                             Willowbrook      Controlled        Atmosphere            Atmosphere   423,721 lbs.   21,567 lbs.
                                             Santa Teresa     Controlled        Controlled            Controlled   401,875 lbs.   239 lbs.
                                             1997             Chambers          Aeration Rooms        Back Vents   EtO Used       Eto Emitted
                                             Willowbrook      Controlled        Atmosphere            Atmosphere   516,187 lbs.   25,985 lbs.
                                             Santa Teresa     Controlled        Controlled            Controlled   442,726 lbs.   260 lbs.

                                                   94.      In 1998, Griffith Labs’ EtO facility in Willowbrook used a little more than twice as

                                            much EtO as its facilities in Charlotte, NC, Glen Falls, NY, and Ontario, CA, but emitted 50 to 80

                                            times more EtO into the atmosphere.

                                             1998             Chambers          Aeration Rooms        Back Vents   EtO Used       Eto Emitted
                                             Willowbrook      Controlled        Atmosphere            Atmosphere   595,203 lbs.   30,829 lbs.
                                             Charlotte        Controlled        Controlled            Controlled   234,572 lbs.   562 lbs.
                                             Glen Falls       Controlled        Controlled            Controlled   262,318 lbs.   380 lbs.
                                             Charlotte        Controlled        Controlled            Controlled   277,249 lbs.   401 lbs.

                                                   95.      These actions by Griffith Labs prove that, between 1984 and 1999, Griffith Labs

                                            was not only aware of technology that would dramatically reduce the EtO to which the neighbors

                                                                                                36
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page83
                                                                                                     37of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1048
                                                                                                                     #:57




                                            of its sterilization facilities would be exposed, but was already using that technology at its own

                                            facilities. There was no legitimate justification for its failure to use the same technology at
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Willowbrook.

                                                   Griffith Labs failed to properly consider science and medicine in making operational decisions

                                                   96.      Throughout the entirety of the 1980s and 1990s, Griffith Labs continued to learn

                                            that respected public health agencies and organizations had concluded that EtO was extremely

                                            dangerous to human health. For example:

                                                         a. Between 1981 and 1994, the National Institute for Occupational Safety and
                                                            Health (“NIOSH”); the US Department of Health and Human Services
                                                            (“HHS”); US EPA; State of California; and World Health Organization
                                                            (“WHO”) concluded that EtO was, respectively, a potential occupational
                                                            human carcinogen, with no safe level; “reasonably anticipated to be a
                                                            human carcinogen”; “probably carcinogenic to humans”; “a carcinogen”;
                                                            and “carcinogenic to humans”.

                                                         b. In 1986, Griffith Labs learned that the state of California had modelled EtO
                                                            emissions from Griffith Labs’ facility in Southern California, and
                                                            concluded that those emissions would cause a significant increase in EtO-
                                                            related cancers for residents in the LA Basin.

                                                   97.      Despite this information about the human health dangers associated with EtO,

                                            Griffith Labs took no significant precautions to protect its Willowbrook neighbors. To the

                                            contrary, throughout the 1980s and 1990s, Griffith Labs worked––independently and through

                                            EtO industry organizations, lobbyists, lawyers, and public relations agents––to improperly

                                            dispute and distort independent studies showing the dangers of EtO, and to cause EtO to appear

                                            to be less dangerous than it really was. These efforts resulted in the allowance of greater emissions

                                            from the Willowbrook facility, further endangering the area’s residents, workers, and

                                            schoolchildren. Among other tactics, Griffith Labs and the EtO industry:



                                                                                               37
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page84
                                                                                                     38of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1049
                                                                                                                     #:58




                                                         a. successfully opposed implementation of back vent emission controls that
                                                            would reduce EtO emissions;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                         b. opposed limits on the EtO concentrations to which workers in sterilization
                                                            facilities could be exposed; such workplace concentrations impact the
                                                            health of the workers, of course, but also serve as the source of “fugitive”
                                                            EtO emissions, which escape the facility, and expose the facility’s
                                                            neighbors; and

                                                         c. funded scientifically baseless “studies,” aimed at influencing independent
                                                            public health studies on the health dangers of EtO with the ultimate
                                                            purpose being to make EtO appear less dangerous to human health than
                                                            Griffith Labs knew it to be.

                                                   Griffith Labs misled IEPA

                                                   98.        Between 1984 and May 14, 1999, Griffith Labs misrepresented to IEPA, or omitted

                                            from disclosing to IEPA, the following significant information:

                                                         a. what Griffith Labs knew to be the dangers to human health caused by EtO
                                                            emissions from sterilization facilities;

                                                         b. that Griffith Labs had emitted more EtO in 1983 than it told IEPA;

                                                         c. that Griffith Labs intended on emitting more EtO from the Willowbrook
                                                            facility than IEPA modeled for;

                                                         d. that Griffith Labs’ stack height where EtO would be released into the
                                                            community was lower that what it told EPA;

                                                         e. that emissions control equipment to reduce EtO emissions were available
                                                            to Griffith Labs when the Willowbrook facility was opened and for years
                                                            thereafter before such equipment was installed;

                                                         f.   that Griffith Labs was using emissions control equipment at its other EtO
                                                              facilities that was far more protective of neighboring communities than the
                                                              equipment its board of directors authorized for use at Willowbrook;

                                                         g. that the reporting of emissions from the Willowbrook facility was based on
                                                            false assumptions about the effectiveness of Griffith Labs’ emissions
                                                            control equipment;



                                                                                              38
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page85
                                                                                                     39of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1050
                                                                                                                     #:59




                                                          h. that fugitive EtO emissions from the Willowbrook facility were far greater
                                                             than reported;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          i.   that Griffith Labs was working with the EtO industry to improperly
                                                               influence science and make EtO appear less dangerous to human health
                                                               than it actually is, with the purpose of influencing regulators to permit
                                                               unsafe levels of EtO emissions.

                                                    99.        By misleading IEPA on these issues, Griffith Labs was able to evade further

                                            regulatory scrutiny of the Willowbrook facility and its operations such that far more EtO was

                                            emitted into the Willowbrook community.

                                                    Griffith Labs failed to properly train the operators of the Willowbrook Facility

                                                    100.       Between 1984 and May 14, 1999, Griffith Labs mandated that all EtO operations at

                                            the Willowbrook facility be conducted in strict compliance with its procedures and activity

                                            engaged with Willowbrook facility employees to ensure that those procedures were being

                                            followed.

                                                    101.       As a result, up until the point where it sold the company on May 14, 1999, it was

                                            incumbent upon Griffith Labs to train on-site employees at the Willowbrook facility how to

                                            properly operate the facility so as to minimize EtO emissions to the Willowbrook community.

                                                    102.       Griffith Labs failed to train those employees on how to operate the Willowbrook

                                            facility in a manner that would protect Willowbrook area residents, workers, and schoolchildren

                                            from the extraordinary health dangers posed by exposure to EtO emissions. Among other things,

                                            Griffith :abs:

                                                          a. failed to train employees to run aeration room emissions through the
                                                             emission control system;

                                                          b. failed to train employees to run back-vent emissions through the emission
                                                             control system;

                                                                                                 39
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page86
                                                                                                     40of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1051
                                                                                                                     #:60




                                                       c. failed to train employees to keep chamber doors, aeration doors, and
                                                          exterior doors closed and sealed so as to prevent EtO from escaping
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          directly into the atmosphere; and

                                                       d. failed to train employees to prevent and/or minimize off-gassing of
                                                          sterilized products in areas that were not ventilated to emission controls.

                                                   Griffith Labs failed to responsibly audit the Willowbrook Facility

                                                   103.    Between 1984 and May 14, 1999, Griffith Labs was responsible for conducting

                                            safety audits of the Willowbrook facility, and did in fact conduct such audits.

                                                   104.    Griffith Labs, however, failed to conduct those safety audits in a manner that

                                            ensured that Willowbrook area residents, workers, and schoolchildren would be protected from

                                            the extraordinary health dangers posed by exposure to EtO emissions.

                                                   E. Micro-Biotrol Company’s involvement at the Willowbrook facility does not negate
                                                      Griffith Labs’ liability.

                                                   105.     On October 4, 1984, Griffith Labs formed a nominal corporate subsidiary, Micro

                                            Biotrol Company (“MBC”). On that date, Griffith Labs also purported to transfer certain, but not

                                            all, assets to MBC.

                                                   106.    However, these events of October 4, 1984 do not negate Griffith Labs’ liability for

                                            its own conduct as set forth above. Instead, Griffith Labs may be held liable as a joint tortfeasor

                                            under Illinois law.

                                                   107.    The formation of MBC did not lead or cause Griffith Labs to reduce its involvement

                                            in the operations of the Willowbrook facility, or in the decision-making that caused and

                                            authorized the EtO emissions that in turn caused and contributed to Plaintiffs’ cancers and other




                                                                                               40
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page87
                                                                                                     41of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1052
                                                                                                                     #:61




                                            illnesses. Indeed, the great majority of the Griffith Labs’ conduct described in Paragraphs 33 –

                                            104, occurred after October 4, 1984.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    108.   Further, Griffith Labs’ purported asset transfer agreement with MBC did not

                                            transfer either (i) Griffith Labs’ status or obligations relative to any permit issued by IEPA; or (ii)

                                            any liability for injury to Willowbrook area residents caused by emissions from the Willowbrook

                                            facility.

                                                    109.   While MBC and its successors nominally operated the Willowbrook facility

                                            (hereinafter “Operators”), Griffith Labs’ participation in facility operations exceeded the accepted

                                            norms of parental oversight, and Griffith Labs mandated and directed an overall course of action

                                            for the facility’s operators which surpassed the control exercised as a normal incident of

                                            ownership. Facts relevant to this conclusion include, inter alia:

                                                        a. Griffith Labs’ independent obligations and tortious conduct set forth
                                                           above.

                                                        b. At all times through May 14, 1999, Griffith Labs was the 100% owner of the
                                                           facility’s operators.

                                                        c. While the facility’s operators were nominally corporations themselves,
                                                           upon information and belief, the boards of directors of these operators
                                                           never met to consider matters related to the Willowbrook facility. Instead,
                                                           all such board-level decisions were made by the Griffith Labs’ board of
                                                           directors.

                                                        d. There was no separate identity between Griffith Labs and the facility’s
                                                           operators. There was no arms-length relationship between them, including
                                                           the fact that there was no documentation of the contracts and agreements
                                                           between them, and no separate bank accounts. Griffith Labs and the
                                                           facility’s operators commingled funds in bank accounts that Griffith Labs
                                                           controlled.

                                                        e. Griffith Labs required the facility’s operators to conduct Willowbrook
                                                           sterilization operations in strict compliance with Griffith Labs’ procedures,

                                                                                              41
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page88
                                                                                                     42of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1053
                                                                                                                     #:62




                                                             which, as stated above, were grossly deficient in protecting Willowbrook
                                                             area residents from exposure to health endangering EtO concentrations,
                                                             violated emissions standards established by the State of Illinois and Village
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                             of Willowbrook, and indeed caused and contributed to cause Plaintiffs’
                                                             cancers and other illnesses.

                                                        f.   Griffith Labs provided the facility’s operators its intellectual property,
                                                             trade-secrets, and sterilization know-how to operate the Willowbrook
                                                             facility.

                                                        g. Griffith Labs directly participated in operational decisions that impact
                                                           environmental health and safety.

                                                        h. Griffith Labs controlled all operating funds; the facility’s operators had no
                                                           funds of their own, and could not have existed independently of Griffith
                                                           Labs. The facility’s operators had no access to funds without first
                                                           requesting them, or borrowing them, from Griffith Labs.

                                                        i.   Griffith Labs paid for, or had to approve payment of, any expenditure
                                                             related to the Willowbrook facility.

                                                        j.   Griffith Labs provided the facility’s operators with financial and
                                                             administrative services for essentially every aspect of Willowbrook
                                                             operations, including information systems, finance and accounting,
                                                             treasury, legal, insurance and risk management, taxation, human resources
                                                             and employee benefits, strategic planning, management services, and
                                                             systems and procedures.

                                                   110.      Griffith Labs even dealt with regulators on behalf of the operators when it was

                                            determined sterilization facilities were not in compliance with statute or regulation. For example,

                                            in 1993, Griffith Labs’ Chairman, Dean Griffith, personally corresponded with the FDA regarding

                                            Griffith Labs’ New Mexico EtO sterilization facility’s failure to meet FDA regulations. Mr. Griffith

                                            personally directed operator employees on how to respond to the regulatory issues and informed

                                            the FDA that he was personally involved, personally directing the operator’s plan of action to

                                            remedy violations, and requiring that operator personnel report to him directly regarding

                                            progress.

                                                                                              42
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page89
                                                                                                     43of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1054
                                                                                                                     #:63




                                                   V.     Ethylene Oxide as a Known Carcinogen

                                                   111.    At the center of this case is that from approximately July 1984 to February 2019,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Defendants emitted EtO, a known carcinogen, into the Willowbrook community. Before the

                                            Willowbrook facility ever began operation, Griffith Labs knew that its EtO emissions would be

                                            harmful to the communities surrounding its facility whose residents and workers would breathe

                                            the ambient air.

                                                   112.    The DNA-damaging properties of EtO have been studied since the 1940s. For more

                                            than 40 years, EtO has been consistently recognized as dangerous, toxic, and carcinogenic.

                                                   113.    In a 1977 report, the National Institute for Occupational Safety and Health

                                            (“NIOSH”) concluded that occupational exposure to EtO may increase the frequency of genetic

                                            mutations in human populations. The report recommended that EtO be considered as mutagenic

                                            and potentially carcinogenic to humans and therefore that alternative sterilization processes be

                                            used whenever available. Occupational exposure studies like this one and others were and are

                                            relied upon by medical, scientific, and industry experts to determine the risk of harm of inhalation

                                            exposure to non-workers, like Plaintiffs and their decedents. Similarly, studies involving animals

                                            were and are relied upon by medical, scientific, and industry experts to determine the risk of

                                            harm of inhalation exposure to humans, like Plaintiffs and their decedents. Griffith Labs was or

                                            should have been aware of such studies which gave them the knowledge long before opening the

                                            Willowbrook facility that its EtO emissions would foreseeably harm persons in the neighboring

                                            communities.

                                                   114.    In 1981, NIOSH released a new bulletin focusing on new evidence of the

                                            carcinogenic, mutagenic, and reproductive hazards associated with EtO, reiterated that EtO was


                                                                                            43
                                                Case:
                                                 Case:1:21-cv-04581
                                                        1:21-cv-04581
                                                                    Document
                                                                      Document
                                                                             #:#:
                                                                               45-1
                                                                                  1-1Filed:
                                                                                     Filed:09/23/22
                                                                                            08/27/21Page
                                                                                                    Page90
                                                                                                         44of
                                                                                                            of165
                                                                                                               119PageID
                                                                                                                  PageID#:1055
                                                                                                                         #:64




                                            a potential occupational carcinogen, and reported that no safe levels of EtO exposure had been

                                            demonstrated.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                     115.    In 1985, the U.S. Department of Health and Human Services (“U.S. HHS”) Fourth

                                            Annual Report on Carcinogens classified EtO as “reasonably anticipated to be a human

                                            carcinogen.”

                                                     116.    Also beginning in 1985, the U.S. Environmental Protection Agency (“U.S. EPA”)

                                            categorized EtO as “probably carcinogenic to humans.”

                                                     117.    In 1987, the State of California (home to at least two Sterigenics EtO sterilization

                                            facilities) officially designated EtO a carcinogen.

                                                     118.    In the early 1990s, NIOSH published a high quality, long-term research study on

                                            EtO’s carcinogenic impacts on humans. It tracked the mortality of 18,254 U.S. workers who had

                                            been exposed to EtO between the 1940s and the 1980s at sterilizer facilities much like the

                                            Willowbrook facilities. (According to Sterigenics Senior Vice President of Global Environmental,

                                            Health, and Safety, Kathleen Hoffman, the studied facilities included more than one operated by

                                            Sterigenics.7)

                                                     119.    The study found causal links between exposure to EtO and increased mortality

                                            from lymphatic, hematopoietic, and breast cancers. It has since been heavily cited and relied on

                                            by major regulatory organizations including the World Health Organization (“WHO”) and the

                                            U.S. EPA.




                                            7https://yosemite.epa.gov/Sab/Sabproduct.nsf/B839FA45582C200185257D9500496B0E/$File/EPA-
                                            +Sterigenics+Speaking+Points+for+IRIS+SAB+Review-Nov+2014.pdf

                                                                                                44
                                                Case:
                                                 Case:1:21-cv-04581
                                                        1:21-cv-04581
                                                                    Document
                                                                      Document
                                                                             #:#:
                                                                               45-1
                                                                                  1-1Filed:
                                                                                     Filed:09/23/22
                                                                                            08/27/21Page
                                                                                                    Page91
                                                                                                         45of
                                                                                                            of165
                                                                                                               119PageID
                                                                                                                  PageID#:1056
                                                                                                                         #:65




                                                       120.     In 1994, the WHO International Agency for Research on Cancer (“IARC”) found

                                            that “Ethylene Oxide is carcinogenic to humans,” designating EtO as a Group 1 human
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            carcinogen (the agency’s highest risk classification for cancer).

                                                       121.     In 2000, the U.S. HHS Ninth Annual Report on Carcinogens classified EtO as

                                            “known to be a human carcinogen.”

                                                       122.     In 2002, a U.S. Department of Labor’s Occupational Safety and Health

                                            Administration (“OSHA”) fact sheet on EtO stated that “[b]oth human and animal studies show

                                            that EtO is a carcinogen” and requires employers to provide clear signs and labels notifying

                                            workers of EtO’s “carcinogenic and reproductive hazards.”8

                                                       123.     In 2016, the EPA’s Integrated Risk Information System (“IRIS”) reclassified EtO as

                                            “carcinogenic to humans,” and increased its estimate of EtO’s cancer potency by 30 times.9 The

                                            U.S. EPA concluded that EtO is carcinogenic to humans by the inhalation route of exposure with a

                                            stated confidence level of “HIGH.”

                                                       124.     Acute exposure to EtO can result in nausea, vomiting, neurological disorders,

                                            bronchitis, pulmonary edema, and emphysema.

                                                       125.     Chronic exposure to EtO can irritate the eyes, skin, nose, throat, lungs, and can

                                            cause harm to the brain and nervous system leading to headaches, nausea, memory loss, and

                                            numbness.

                                                       126.     Chronic inhalation exposure to EtO can also cause reproductive and

                                            developmental impairments. Evidence recognized by the U.S. EPA indicates that inhalation




                                            8   https://www.osha.gov/OshDoc/data_General_Facts/ethylene-oxide-factsheet.pdf
                                            9   https://cfpub.epa.gov/ncea/iris/iris_documents/documents/toxreviews/1025tr.pdf

                                                                                                      45
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page92
                                                                                                     46of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1057
                                                                                                                     #:66




                                            exposure to EtO can cause an increased rate of miscarriages in females. Evidence also indicates

                                            that EtO inhalation exposure can cause decreased sperm concentration and testicular
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            degeneration in males.

                                                   127.   Additionally, inhalation exposure to EtO can cause mutations and chromosomal

                                            damage that can lead to birth defects and cancer. Even when exposure to EtO diminishes or

                                            ceases, the frequency of sister chromatid exchanges (mutations/chromosomal alterations) have

                                            been found to remain elevated.

                                                   128.   Chronic inhalation exposure to EtO also causes cancer. Evidence recognized by

                                            the U.S. EPA indicates that inhalation exposure to EtO causes various cancers including but not

                                            limited to lymphatic cancers, leukemia, and breast cancer. There is also evidence that EtO causes

                                            tumors in the body and reproductive issues in both men and women, as well as birth defects.

                                                   129.   At all relevant times during their respective operations and/or direct participation

                                            with the Willowbrook facilities, Defendants knew or should have known that EtO is toxic and

                                            dangerous to human health and well-being. In addition, Defendants knew or should have known

                                            that EtO is classified as a carcinogen and has been determined to cause the various illnesses and

                                            ailments described above.

                                                   130.   At all relevant times during their respective tenures at Sterigenics, Defendants Bob

                                            Novak and Roger Clark knew or should have known that EtO is toxic and dangerous to human

                                            health and well-being. In addition, Mr. Novak and Mr. Clark knew or should have known that

                                            EtO is classified as a carcinogen and has been determined to cause the various illnesses and

                                            ailments described above.




                                                                                           46
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page93
                                                                                                     47of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1058
                                                                                                                     #:67




                                                   131.    As described above, as early as in July 1984, Griffith was told by the IEPA that “the

                                            toxicity data provides evidence of human cancers of the pancreas, bladder, brain, central nervous
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            system and stomach associated with EtO exposure. Various animal studies have shown

                                            carcinogenic, mutagenic, leukogenic, and teratogenic effects.” In the same letter, the IEPA opined

                                            that there were “several methods” to reduce EtO emissions and requested a meeting to “discuss

                                            steps that can be taken to minimize emissions in order to reduce the ambient impacts to an

                                            acceptable level.” That same information was known or should have been known by all Operators

                                            of the Willowbrook Facilities and all Defendants.

                                                   132.    Accordingly, based on Griffith Labs’ industry expertise as the pioneer of EtO

                                            sterilization, and all Defendants’ knowledge of medical and scientific studies and reports dating

                                            back to the 1940s relating to the effects of EtO inhalation exposure (all of which scientific, medical,

                                            and industry professionals relied and rely upon to determine the risk of harm to persons like

                                            Plaintiffs and their decedents from inhalation exposure to EtO), and direct communications and

                                            warnings from IEPA, it was reasonably foreseeable to Defendants that their EtO emissions would

                                            far exceed levels safe for those in neighboring communities. Therefore, it was at all times

                                            reasonably foreseeable to Defendants that their Willowbrook operations would pose an

                                            unreasonable risk of harm to Plaintiffs and their decedents.

                                                   133.    Notwithstanding Defendants’ respective knowledge concerning the dangers of the

                                            sterilization operations in Willowbrook and the adverse health impacts of chronic inhalation

                                            exposure to EtO, Defendants chose to operate the facilities in a densely populated residential area

                                            and emitted hundreds of thousands of pounds of EtO into the environment without so much as




                                                                                              47
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page94
                                                                                                     48of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1059
                                                                                                                     #:68




                                            warning those who lived and worked in the Willowbrook area that they were being exposed to

                                            and inhaling EtO on a routine and continuous basis.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    VI.    Defendants’ Operations and Conduct in Willowbrook

                                                    134.     At all relevant times, the Willowbrook sterilization facilities were operated in a

                                            densely populated metropolitan area with 19,271 people living within one mile. Dense residential

                                            areas are located within approximately 0.3 miles to the immediate west, 0.6 miles to the southeast,

                                            0.9 miles to the southwest, 0.7 miles to the north, 0.8 miles to the northeast, and 1.0 miles to the

                                            east.

                                                    135.     At all relevant times, the Willowbrook facilities were close to numerous schools,

                                            daycare facilities, parks, government buildings, and businesses, including, at some point during

                                            operations, the following:

                                                          a. Schools: Gower Middle School (0.42 miles); Conev’s Cradle Infant Care,
                                                             Inc. (0.70 miles); St. Mark Christian Montessori (0.70 miles); Hinsdale South
                                                             High School (0.76 miles); Gower West Elementary School (0.79 miles);
                                                             Kingswood Academy (0.87 miles); KinderCare (1.0 mile); Our Lady of
                                                             Peace School (1.22 miles); Concord Elementary (1.62 miles); Ready Set
                                                             Grow (1.76 miles); Burr Ridge Middle School (1.86 miles).

                                                          b. Parks and Government Buildings: Willowbrook Police Department and
                                                             Mayor’s Office (0.07 miles); Willowbrook Community Park (0.45 miles);
                                                             Indian Prairie Library (0.97 miles); Harvester Park (1.0 mile); Whittaker
                                                             Park (1.03 miles); Burr Ridge Police Department (1.19 miles).

                                                          c. Businesses: Dance Duo Studio (0.1 miles); Dell Rhea’s Chicken Basket (0.16
                                                             miles); Denny’s (0.18 miles); Target (0.19 miles); La Quinta Inn (0.29 miles);
                                                             Red Roof PLUS+ (0.3 miles); Diamond Edge Training (0.3 miles); BIG
                                                             Gymnastics (0.68 miles); Darien Sportsplex (1.0 mile).




                                                                                               48
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page95
                                                                                                     49of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1060
                                                                                                                     #:69




                                                     136.   In addition, Willowbrook Town Center, which has nearly 200,000 square feet of

                                            retail stores, restaurants, and other businesses, is located 1.1 miles from the Willowbrook
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            facilities.

                                                     137.   Figure 1, below, depicts the area surrounding the Willowbrook facilities, in

                                            addition to a third facility that Defendants used for aerating products, and a lab Defendants used

                                            to test its sterilization process.

                                                                                         Figure 1




                                                     138.   Upon information and belief, the aeration facility Defendants used, which was

                                            located at 7409 Quincy Street in Willowbrook and referred to as “Willowbrook III,” did not have

                                            any pollution controls and, therefore, all EtO emissions from the facility went directly into the

                                            atmosphere. Further, upon information and belief, Defendants did not include their emissions

                                            from Willowbrook III in their reporting to the government.



                                                                                           49
                                             Case:
                                              Case:1:21-cv-04581
                                                     1:21-cv-04581
                                                                 Document
                                                                   Document
                                                                          #:#:
                                                                            45-1
                                                                               1-1Filed:
                                                                                  Filed:09/23/22
                                                                                         08/27/21Page
                                                                                                 Page96
                                                                                                      50of
                                                                                                         of165
                                                                                                            119PageID
                                                                                                               PageID#:1061
                                                                                                                      #:70




                                                       139.     Upon information and belief, the lab Defendants used, which was located at 16 W.

                                            151 Shore Court in Burr Ridge, was used to test sterilization runs and, accordingly, involved the
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            use of EtO. Upon information and belief, the lab did not have any pollution controls and,

                                            therefore, all EtO emissions from the lab went directly into the atmosphere. Further, upon

                                            information and belief, Defendants did not include its emissions from the lab in their reporting

                                            to the government.

                                                       140.     From 1984 through their permanent closure in 2019, the Willowbrook facilities

                                            released EtO into the air in the Willowbrook area. The facilities stored EtO and sprayed it into gas

                                            chambers to sterilize medical equipment and pharmaceuticals. The Willowbrook facility on

                                            Quincy Street (built in 1984) holds fifteen gas chambers. The facility on Midway Drive holds four

                                            chambers (some built during the facility’s original construction in 1999, some later in 2012).

                                                       141.     The facilities operated 24 hours per day, emitting toxic, cancerous gas on a steady

                                            and continuous basis. As a result, EtO has been a constant element in the air inhaled by those

                                            who lived and worked near the facilities.

                                                       142.     The half-life of EtO in the atmosphere has been reported at up to 211 days.10

                                            Neither rain nor absorption into aqueous aerosols is capable of removing EtO from the

                                            atmosphere.

                                                       143.     Table 1 depicts the facilities’ self-reported EtO emissions from point sources and

                                            self-reported amounts of EtO treated on site:




                                            10   https://publications.iarc.fr/115

                                                                                                50
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page97
                                                                                                     51of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1062
                                                                                                                     #:71




                                                                                        Table 1
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                            Pounds of EtO          Pounds of EtO
                                                                   Year
                                                                              Emissions           Treated On-site
                                                                   1984      Unreported             Unreported
                                                                   1985      Unreported             Unreported
                                                                   1986      Unreported             Unreported
                                                                   1987      Unreported             Unreported
                                                                   1988        169,996              Unreported
                                                                   1989        97,518               Unreported
                                                                   1990      Unreported             Unreported
                                                                   1991      Unreported             Unreported
                                                                   1992      Unreported             Unreported
                                                                   1993      Unreported             Unreported
                                                                   1994        18,407                 420,069
                                                                   1995        18,423                 420,441
                                                                   1996        22,000                 400,000
                                                                   1997        27,000                 480,000
                                                                   1998        31,000                 560,000
                                                                   1999         2,700                 598,000
                                                                   2000         7,627                 565,086
                                                                   2001         8,113                 521,257
                                                                   2002         6,686                 535,109
                                                                   2003         6,909                 550,984
                                                                   2004         5,313                 540,797
                                                                   2005         2,910                 572,547
                                                                   2006         4,280                 573,961
                                                                   2007         3,965                 532,245
                                                                   2008         3,858                 517,941
                                                                   2009         3,690                 493,418
                                                                   2010         6,595                 512,570
                                                                   2011         7,160                 557,437
                                                                   2012         7,091                 553,083
                                                                   2013         6,121                 470,159
                                                                   2014         5,241                 404,681
                                                                   2015         4,899                 381,213
                                                                   2016         4,205                 388,288

                                                   144.   There is little emissions data publicly available from before 1995. However, the

                                            ATSDR report notes that the available data suggests that “substantially higher ambient releases

                                                                                          51
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page98
                                                                                                     52of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1063
                                                                                                                     #:72




                                            prior to 1995 were likely.” Indeed, emissions from 1988 and 1989 – approximately 170,000 pounds

                                            and 100,000 pounds respectively––are far more than the highest amount recorded in the
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            contiguous 1995 – 2016 data set (31,000 pounds in 1998) and over 20 times more than emissions

                                            levels in 2016 (4,205 pounds). It is therefore reasonable to infer that the pre-1995 emissions of EtO

                                            were, at best, similar to those from 1998 and, at worst, closer to the colossal emissions in 1988 and

                                            1989.

                                                    145.   In addition to the reported point source emissions (EtO emitted through stacks),

                                            the facilities released significant volumes of fugitive (nonpoint source) emissions into the air.

                                                    146.   Effective technologies to reduce EtO emissions to levels low enough to make the

                                            emissions a “non-significant contributor” to cancer risk have been available, cost-effective, and

                                            widely known since the 1980s; and on information and belief, Defendants have known it.

                                                    147.   Despite the availability of these technologies, on information and belief, there have

                                            been periods during which the Willowbrook facilities had no pollution controls in place, had

                                            inadequate controls in place, and/or had pollution controls in place that failed to work due to the

                                            acts and omissions of the defendants.

                                                    148.   On information and belief, there have also been periods during which the

                                            Willowbrook facilities, despite having some pollution controls in place, vented EtO directly into

                                            the air. Upon information and belief, since at least 2006 and up until July 27, 2018, the facilities

                                            allowed uncontrolled emissions of EtO from backvent valves in the sterilization chambers.




                                                                                             52
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page99
                                                                                                     53of
                                                                                                        of165
                                                                                                           119PageID
                                                                                                              PageID#:1064
                                                                                                                     #:73




                                                   VII.    A Pattern of Reckless Conduct

                                                   149.    Sotera predecessor Sterigenics International, Inc. (“Sterigenics International”) has
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            been the subject of regulatory and administrative enforcement action relative to its EtO emissions

                                            in Europe. Beginning in 1992, Sterigenics International (now Sotera) operated a sterilization

                                            facility in Zoetermeer, a city in the western Netherlands. The Zoetermeer facility was located in

                                            an area with residential housing and numerous small business. In 2009, it was determined that

                                            Sterigenics International had been knowingly releasing amounts of EtO that exceeded the local

                                            Maximum Permissible Risk concentration into the air for years, was penalized, yet continued

                                            with its excessive emissions until it ultimately relocated its facility in 2010. According to the

                                            Public Prosecutor, Sterigenics International knew the emissions were unauthorized, but failed to

                                            act or even warn local residents about them or the associated dangers.

                                                   150.    Sterigenics has also been faulted for neglecting safety in the United States. For

                                            example, after a major explosion in August 2004 at a sterilizing plant in Ontario, California,

                                            injuring four employees and forcing the evacuation of the plant and neighboring facilities, the

                                            U.S. Chemical Safety and Hazard Investigation Board (hereinafter “CSB”) found that Sterigenics

                                            had failed to ensure its maintenance employees understood the hazards associated with EtO-

                                            based processes, which led them to manually override safety devices, causing the explosion. And

                                            it faulted Sterigenics management for not implementing “company-wide engineering control

                                            recommendations that could have prevented this explosion” and failing to follow

                                            recommendations on EtO concentrations disseminated by NIOSH.

                                                   151.    Current and former Sterigenics employees elsewhere have raised safety concerns.

                                            For example, on the company’s Glassdoor page, one former employee noted on June 25, 2013 that

                                                                                            53
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page100
                                                                                                        54 of 119
                                                                                                              165 PageID #:74
                                                                                                                         #:1065




                                            “[t]here is a minimum attention to quality & safety which will backfire eventually.”11 Another

                                            stated on October 9, 2015 that “you’re working with Ethylene Oxide which is extremely
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            dangerous and the company seems to cut corners around safety at times.”12 Similarly, an “EtO A

                                            Operator” in the Charlotte, North Carolina facility reported on February 24, 2015 that “The

                                            maintenance team cuts a lot of corners.”13

                                                       152.     Former employees at the Willowbrook facilities have raised the same concerns,

                                            reporting, among other things, that Sterigenics and its predecessors:

                                                           a. routinely permitted chamber doors, aeration doors, and exterior doors to
                                                              be left open, thereby allowing EtO to escape directly into the environment;

                                                           b. manipulated the EtO detection systems in the facilities to allow for an
                                                              increased tolerance of EtO;

                                                           c. told employees to ignore warning lights in the facilities indicating high
                                                              levels of EtO, and fired employees who complained about the warning
                                                              lights;

                                                           d. directed employees to dump or wash toxic chemicals, including EtO and
                                                              ethylene glycol, into the sewer system;

                                                           e. told an employee to take a leaking drum of EtO outside the facilities;

                                                           f.   used off-site warehouse facilities without any pollution control or
                                                                ventilation systems to store sterilized products that were still off-gassing
                                                                EtO while, at the same time, leaving the exterior doors of those facilities
                                                                open, causing the off-gassing EtO to go directly into the environment.

                                                       153.     Key operational managers at the Willowbrook facilities actively participated in

                                            dangerous and harmful activities, which resulted in extraordinary uncontrolled emissions of EtO

                                            into the environment.


                                            11   https://www.glassdoor.com/Reviews/Employee-Review-Sterigenics-RVW2768416.htm.
                                            12   https://www.glassdoor.com/Reviews/Employee-Review-Sterigenics-RVW8236300.htm.
                                            13   https://www.glassdoor.com/Reviews/Employee-Review-Sterigenics-RVW5987616.htm.

                                                                                                  54
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page101
                                                                                                        55 of 119
                                                                                                              165 PageID #:75
                                                                                                                         #:1066




                                                   154.    Defendant Novak routinely ignored warning systems in the Willowbrook facilities

                                            indicating the presence of unsafe levels of EtO. When Mr. Novak received employee complaints
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            regarding such warning systems, he ignored them and instructed employees to ignore them as

                                            well. Mr. Novak permitted and/or directed chamber doors, aeration doors, and exterior doors in

                                            the Willowbrook facilities to remain open allowing uncontrolled EtO emissions into the

                                            environment. Mr. Novak also approved of inaccurate EtO monitoring and testing results,

                                            effectively hiding the actual EtO emissions within the facilities and into the environment and

                                            ensuring that the facilities would continue to operate in dangerous fashion.

                                                   155.    In addition, Defendant Roger Clark recalibrated EtO monitoring systems at the

                                            Willowbrook facilities to permit increased tolerance of EtO. As a result, Mr. Clark caused and/or

                                            permitted consistently elevated levels of EtO in the facilities. Mr. Clark did this knowing that

                                            doors within the facilities as well as exterior doors were routinely left open and thereby caused

                                            or permitted uncontrolled EtO emissions into the environment.

                                                   156.    Mr. Clark and Mr. Novak also routinely participated in and/or directed the

                                            operation of all chamber sterilization units in the facilities at the same time, which they knew or

                                            reasonably should have known would overload emissions control systems. As a result, both Mr.

                                            Clark and Mr. Novak caused excessive uncontrolled EtO emissions into the environment.

                                                   157.    Mr. Clark and Mr. Novak also bore responsibility for monitoring, maintenance,

                                            and replacement of emissions systems equipment. They routinely failed to replace emissions

                                            system equipment, including filters, such that they caused excessive levels of EtO emissions into

                                            the environment.




                                                                                            55
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page102
                                                                                                        56 of 119
                                                                                                              165 PageID #:76
                                                                                                                         #:1067




                                                      158.    Taken together, these facts demonstrate a pattern of Defendants consistently

                                            failing to implement company-wide safety measures across all their facilities despite research,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            NIOSH bulletins, regulatory interventions, and problematic incidents demonstrating their need.

                                            This willingness to “cut corners” and lack of oversight may explain why Defendants failed for

                                            decades to install available emission control technology to limit emissions of EtO from their

                                            Willowbrook facilities.

                                                      VIII. EtO’s Human Impact

                                                      159.    EtO is a highly potent human carcinogen relative even to other carcinogens. For

                                            example, chronically inhaled EtO is 385 times more potent a carcinogen in comparison with

                                            benzene (pound for pound), and 231 times more potent in comparison with formaldehyde.14 In

                                            terms of excess cancer risk effect, 6,000 pounds per year of EtO air emissions are roughly as

                                            harmful to humans as 2,300,000 pounds of benzene or 1,380,000 pounds of formaldehyde.

                                                      160.    The Willowbrook area has an extremely high cancer risk relative to other parts of

                                            the country. U.S. EPA’s 2014 update to the National Air Toxics Assessment documented cancer

                                            risks in 76,727 census tracts across the country. Of these, 106 had cancer risk scores above U.S.

                                            EPA’s acceptable limits. The area surrounding the Willowbrook facilities was among those tracts.

                                            Most of the remaining 106 tracts were located in “Cancer Alley” (the notoriously polluted, highly

                                            industrial area along the Mississippi River between Baton Rouge and New Orleans).

                                                      161.    Figure 2 lists the top 19 tracts, which also include the Willowbrook area tract—

                                            Tract No. 17043845902.




                                            14   https://www.epa.gov/sites/production/files/2014-05/documents/table1.pdf

                                                                                                56
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page103
                                                                                                        57 of 119
                                                                                                              165 PageID #:77
                                                                                                                         #:1068




                                                                                                     Figure 2
                                                        A                 B                    C                D             E         F                 G
                                                                                                                      --
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                                                                                     Total Cancer
                                                                                                                                                      Risk (per
                                              1        State          EPA Region            County             FIPS         Tract   Population        million)
                                              2   LA           EPA Region 6        St. John the Baptist   22095       22095070800            2,537     1,505.1167
                                              3   LA           EPA Region 6        St. Charles            22089       22089060100            1,937       808.7227
                                              4   LA           EPA Region 6        St. John the Baptist   22095       22095070900            3,115       616.6193
                                              5   PA           EPA Region 3        Lehigh                 42077       42077005902            1,571       596.4609
                                              6   co           EPA Region 8        Jefferson              08059       08059010902            2,310       525.5596
                                              7   LA           EPA Region 6        St. John the Baptist   22095       22095070700            4,348       511.3240
                                              8   LA           EPA Region 6        St. John the Baptist   22095       22095071000            2,840       490.2785
                                              9   LA           EPA Region 6        St. John the Baptist   22095       22095000000           45,924       413.3152
                                             10 WV             EPA Region 3        Kanawha                54039       54039013400            2,222       366.6597
                                             11   LA           EPA Region 6        St. John the Baptist   22095       22095071100            3,398       363.1912
                                             12   TX           EPA Region 6        Harris                 48201       48201343100            4,629       348.2016
                                             13   PA           EPA Region 3        Lehigh                 42077       42077000101            3,661       346.5181
                                             14   LA           EPA Region 6        St. John the Baptist   22095       22095070500            6,229       329.2657
                                             15   LA           EPA Region 6        St. John the Baptist   22095       22095070100            2,685       303.0079
                                             16   LA           EPA Region 6        St. John the Baptist   22095       22095070300            6,258       296.3112
                                             17   TX           EPA Region 6        Harris                 48201       48201343200            4,944       296.1831
                                             18   LA           EPA Region 6        St. John the Baptist   22095       22095070400            4,381       286.5417
                                             19   LA           EPA Region 6        St. Charles            22089       22089062700            4,753       284.5145
                                             20 l 1L           EPA Region 5        DuPage                 17043       17043845902            3,411       281.8075


                                            Twelve of these top 19 tracts are located in Cancer Alley. Another five, like the Willowbrook area

                                            tract, have sterilization facilities that emitted massive amounts of EtO. The Assessment shows

                                            that sterilization facilities were responsible for the extraordinarily high cancer risks reported for

                                            three of the top 19: DuPage County, Illinois, Jefferson County, Colorado, and Lehigh County,

                                            Pennsylvania.

                                                        162.     For the Willowbrook area tract, the U.S. EPA assessment found a cancer risk of

                                            281.8075 in 1 million––nearly three times higher than U.S. EPA’s acceptable upper limit and the

                                            highest in Illinois. The Willowbrook area tract is in the top 99.98% tracts in terms of cancer risk in

                                            the country.

                                                        163.     The U.S. EPA assessment attributed 88.98% of the elevated cancer risk to EtO

                                            emissions. Thus, the Willowbrook facilities—the sole emitter of EtO anywhere in the



                                                                                                          57
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page104
                                                                                                        58 of 119
                                                                                                              165 PageID #:78
                                                                                                                         #:1069




                                            Willowbrook area tract—were almost entirely responsible for the Willowbrook area tract having

                                            the 19th highest cancer risk in the country.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       164.     Later data revealed an even higher risk. The August 2018 ATSDR report, based on

                                            air measurements collected from 29 discrete locations around the Willowbrook facilities,

                                            concluded that the facilities’ emissions were exposing Willowbrook-area residents and workers

                                            to elevated airborne EtO concentrations, and that these concentrations created a cancer risk of

                                            6,400 in 1 million (or 64 in 10 thousand)—64 times the U.S. EPA acceptable limit of just 1 in 10

                                            thousand.15 The report also concluded that these elevated risks created a public health hazard and

                                            called for Sterigenics to reduce emissions immediately.

                                                       165.     According to U.S. EPA, each year of exposure to EtO creates even higher cancer

                                            risk for children than it does for adults because EtO can damage DNA and children have more

                                            years ahead of them to develop other cancer risk factors that lead to the formation of malignant

                                            cells.16 Children are also at greater risk than adults because children receive larger doses per body

                                            weight compared to adults, so they have greater lung surface area and increased lung volume

                                            per body weight and they inhale in more air per body weight.

                                                       166.     According to U.S. Census data, 3,494 children ages five and under lived within

                                            three miles of the facilities in 2010, including 250 children who lived within one mile of the

                                            facilities.




                                            15   https://www.epa.gov/national-air-toxics-assessment/nata-frequent-questions
                                            16   https://www.epa.gov/hazardous-air-pollutants-ethylene-oxide/frequent-questions-ethylene-oxide

                                                                                                     58
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page105
                                                                                                        59 of 119
                                                                                                              165 PageID #:79
                                                                                                                         #:1070




                                                   167.    Neither the volume of the facilities’ EtO emissions nor their impact on

                                            Willowbrook-area residents and workers was made known to the general public until the release
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            of the ATSDR report on August 21, 2018.

                                                   168.    In February 2019, IEPA issued a seal order against Sterigenics U.S. “to prevent the

                                            commencement of any new sterilization cycles using EtO until measures are in place to prevent

                                            emissions of EtO . . . which present a public health hazard to residents and off-site workers . . . in

                                            the Willowbrook community.”

                                                   IX.    Sterigenics Under GTCR’s Control and Leadership

                                                   169.    GTCR knew of the inherently dangerous nature of the EtO sterilization business:

                                            that this danger was driving medical companies to outsource sterilization to firms like Sterigenics

                                            is what made Sterigenics attractive for investment.

                                                   170.    Indeed, GTCR knew, from its pre-acquisition due diligence of the Sterigenics

                                            purchase, about of the risks and dangers posed by EtO.

                                                   171.    GTCR also knew that medical companies were beginning to outsource sterilization

                                            to firms like Sterigenics in order to avoid the risks of injury and potential for liability EtO posed;

                                            and this trend is what made Sterigenics an attractive target for investment to GTCR.

                                                   172.    All of this — the inherent risk, the danger, and the outsourcing trend — was

                                            publicly available as early as 1998 (well before GTCR’s 2011 acquisition of Sterigenics), when

                                            Sterigenics U.S. and Sotera’s predecessors, Griffith and Sterigenics International disclosed it in

                                            prospectuses they filed with the United States Securities and Exchange Commission in

                                            anticipation of issuing publicly traded securities.




                                                                                             59
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page106
                                                                                                        60 of 119
                                                                                                              165 PageID #:80
                                                                                                                         #:1071




                                                    173.     The Griffith prospectus warned that “[e]thylene oxide is a toxic and hazardous

                                            chemical which is flammable and explosive. It has been identified as a cancer and reproductive
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            hazard” and that “[t]he cancer and reproductive hazards associated with exposure to ethylene

                                            oxide subject the Company to the risk of liability claims being made against it by workers and

                                            others who are exposed to ethylene oxide.”17

                                                    174.     Both prospectuses expressly identified the dangers, potential liabilities and new

                                            government regulations concerning EtO as catalysts for a sterilization outsourcing trend that was

                                            increasing demand for services from medical sterilization contractors like Sterigenics.

                                                    175.     The Sterigenics International prospectus stated that “[b]eginning in the 1970’s,

                                            several governmental limitations were placed on gas fumigation due to the discovery that EtO

                                            was a mutagenic substance with possible carcinogenic properties…” and that “increased costs”

                                            and “exposure” concerns led many device manufacturers to outsource their sterilization

                                            processes.18

                                                    176.     The Griffith prospectus stated that “the significant capital required to construct

                                            and maintain an in-house sterilization facility and the need to comply with dynamic

                                            environmental and health and safety regulations” has contributed to “increased volume of

                                            outsourced sterilization to contract processors.”19

                                                    177.     On information and belief, GTCR learned both as part of its pre-acquisition due

                                            diligence investigation of Sterigenics’ business and in the course of providing management

                                            services after the acquisition, about Sterigenics’ use of EtO in its sterilization process, Sterigenics’


                                            17 https://www.sec.gov/Archives/edgar/data/1066622/0000950124-98-006256.txt
                                            18 https://www.sec.gov/Archives/edgar/data/1009988/0000891618-98-000926.txt
                                            19 Id.



                                                                                                   60
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page107
                                                                                                        61 of 119
                                                                                                              165 PageID #:81
                                                                                                                         #:1072




                                            permitting history, the levels of its emissions of EtO, alternative sterilization processes,

                                            methodologies to capture EtO emissions and the cancer risks Sterigenics’ EtO emissions posed to
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            the neighboring community. GTCR also learned that the use of emissions control equipment

                                            required to reduce emissions of EtO was expensive and required substantial amounts of capital

                                            to operate.

                                                       178.     GTCR purchased Sterigenics to capitalize on the risk-avoidant trend of companies

                                            outsourcing sterilization to outfits like Sterigenics. GTCR’s website admits this: “Based on

                                            extensive diligence, GTCR believed that Sterigenics was well positioned to capitalize on the

                                            consistent industry growth fueled by increasing med tech procedure volumes and continued

                                            outsourced sterilization trends.” In other words, GTCR chose to capitalize on the potential for

                                            growth fueled by danger—the danger of EtO and client-companies’ fear of liability.

                                                       179.     GTCR in turn used Sterigenics to execute a GTCR-focused investment strategy

                                            favoring growth and acquisition at the expense of safety.

                                                       180.     GTCR did this utilizing a hand-picked executive team it had worked with many

                                            times in the past. This was GTCR’s core business strategy, which it has actually trademarked as

                                            “The Leaders Strategy.”20

                                                       181.     GTCR’s pitch books for the GTCR Funds it would use for the Sterigenics

                                            investment make the Leaders Strategy clear: “As in previous GTCR funds, [the Fund’s]

                                            investment strategy is to team with strong executive teams to build companies in fragmented

                                            industries. These ‘management startups’ – where GTCR will first team up with a management




                                            20   https://www.gtcr.com/the-leaders-strategy/

                                                                                               61
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page108
                                                                                                        62 of 119
                                                                                                              165 PageID #:82
                                                                                                                         #:1073




                                            group and then purchase a platform on which to build the company – are expected to make up

                                            approximately 60% of the deals in [the Fund].”
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    182.     Consistent with the Leaders Strategy, GTCR viewed its involvement with

                                            Sterigenics as a partnership with the new Sterigenics CEO and executive team to grow the

                                            Sterigenics business and profits.

                                                    183.     Thus, as part of the Sterigenics transaction, GTCR hand-picked Michael Mulhern,

                                            whom GTCR had worked with in the past, to serve as Sterigenics CEO.21 “Together, GTCR and

                                            Mr. Mulhern identified several initiatives to improve Sterigenics’ operational and growth

                                            initiatives, enhance its market leadership and drive incremental earnings growth.”22

                                                    184.     In pursuit of the strategy, GTCR directed Sterigenics’ free cash flow to be used to

                                            pay interest on high yield bonds, acquire other companies, and only be used for capital

                                            investments that drove incremental earnings growth – not investments in safety and/or the

                                            maintenance or installation of emissions control equipment. GTCR knew or should have

                                            reasonably foreseen that the high yield bonds used in the leveraged buyout acquisitions left

                                            Sterigenics with extremely high interest expenses that would deplete its free cash flow and

                                            prevent its investing in emissions capture and control systems. Indeed, GTCR directed Sterigenics

                                            to borrow up, increasing the debt that required high interest payments.

                                                    185.     In other words, GTCR acquired Sterigenics in order to actively expand the

                                            Sterigenics’ geographic footprint through acquisitions that depleted its free cash flow and




                                            21https://www.prnewswire.com/news-releases/amri-names-michael-mulhern-as-chief-executive-officer-
                                            300577662.html
                                            22https://www.gtcr.com/leadership-stories/sterigenics-transformation-through-organic-growth-and-strategic-

                                            acquisitions/

                                                                                                    62
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page109
                                                                                                        63 of 119
                                                                                                              165 PageID #:83
                                                                                                                         #:1074




                                            required it to pledge its assets as collateral for high yield debt financed leveraged buy-outs,

                                            including the acquisition of two sterilization facility add-ons and “the transformative acquisition”
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            of Nordion, a key supplier to Sterigenics.23

                                                    186.     In a March 8, 2011 report following the GTCR buy-out, Moody’s expressed

                                            concerns about Sterigenics’ free cash flow, capital expenditures, high interest expenses and EtO

                                            liability. It assigned Sterigenics debt and probability of default as “B2” or “highly speculative,”

                                            explaining that “Sterigenics has very high fixed operating costs and capital expenditures, which

                                            limits free cash flow and can lead to significant volatility in profit margins based on variation in

                                            revenue,” and specifically noting that “[t]he ratings also reflect the potential for event risk

                                            associated with the highly sensitive nature of the company’s raw materials, including radioactive

                                            isotopes and toxic gases.” “Because of some of the inherent risks in the business,” Moody’s wrote,

                                            “Moody’s believes available liquidity, such as cash balances and revolver access, is of particular

                                            importance to Sterigenics.”24

                                                    187.     Despite Sterigenics’ struggles with free cash flow and its expensive capital

                                            structure, however, GTCR was determined to use Sterigenics as a platform to earn high returns

                                            through acquisitions of companies in the commercial sterilization industry. By using Sterigenics’

                                            free cash flow and assets to finance a leveraged buy-out of Nordion, the world’s largest supplier

                                            of Cobalt 60, making Sterigenics the only vertically integrated commercial sterilization company




                                            23https://www.gtcr.com/leadership-stories/sterigenics-transformation-through-organic-growth-and-strategic-
                                            acquisitions/
                                            24https://www.moodys.com/research/Moodys-assigns-B2-CFR-to-STHI-Holdings-Sterigenics-outlook-stable--

                                            PR_215182

                                                                                                   63
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page110
                                                                                                        64 of 119
                                                                                                              165 PageID #:84
                                                                                                                         #:1075




                                            in the world, in combination with its cost cutting and incremental earnings growth strategy,

                                            GTCR was able to begin selling its interest in Sterigenics at a higher price.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       188.    Sterigenics CEO, Michael Mulhern, crows about the Nordion acquisition on the

                                            GTCR website, explaining: “It came to our knowledge that a company was about to come to

                                            market to be sold. If that company got into the wrong hands, it would put at risk our source of

                                            supply. GTCR just kicked it into high gear and said we must own this asset, and today we’re the

                                            only vertically integrated sterilization company in the world and in large part because GTCR

                                            made the decision and committed the resources [i.e., Sterigenics’ resources] to get it done.”

                                                       189.    Thus, the Nordion acquisition further depleted Sterigenics free cash flow and

                                            forced Sterigenics to cut costs. After the acquisition, Sterigenics was forced to pay the interest on

                                            the high interest junk bond debt that GTCR had secured with Sterigenics’ and Nordion’s assets.

                                            On July 17, 2015 Moody’s wrote “[t]he total transaction is valued at $826 million and will be

                                            funded using a combination of new debt facilities and Nordion and Sterigenics’ cash on hand”25

                                            and that most of the “cash on hand” was Sterigenics’. Moody’s observed, “Nordion’s business

                                            profile is weak” and “that around two-thirds of the combined company’s gross profit will be

                                            generated by the legacy Sterigenics sterilization business.”26

                                                       190.    The degree of control GTCR exercised over Sterigenics – in service of GTCR’s own

                                            interests and disregard of Sterigenics interests and potential liability – surpassed the control

                                            exercised as a normal incident of ownership.




                                            25   https://www.moodys.com/research/Moodys-assigns-B2-to-STHIs-new-bank-debt-confirms-B2--PR_304313
                                            26   https://www.moodys.com/research/Moodys-assigns-B2-to-STHIs-new-bank-debt-confirms-B2--PR_304313

                                                                                                   64
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page111
                                                                                                        65 of 119
                                                                                                              165 PageID #:85
                                                                                                                         #:1076




                                                    191.    GTCR’s relationship with Sterigenics executive team is evidence of this. At least

                                            four of GTCR’s ten managing directors served as Sterigenics directors, acting (upon information
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            and belief) for the protection of GTCR’s interest.27 Mulhern, GTCR’s designated Sterigenics CEO,

                                            had previously been hired by GTCR as CEO of at least four GTCR-controlled portfolio

                                            companies.28 The others had worked with GTCR as well.

                                                    192.    Indeed, during an Illinois Venture Capital Association (IVCA) award ceremony

                                            on May 7, 2015, GTCR Managing Director Sean Cunningham made these connections clear when

                                            he thanked the new Sterigenics executives team for their work in the past. He thanked “long time

                                            management collaborator, Phil McNabb, who has been in several GTCR deals” for his role at

                                            Sterigenics. He thanked Kevin Theriot, stating “I don’t know what your title is at Sterigenics but

                                            you played just about every role in now three GTCR portfolio companies. He is our [GTCR’s]

                                            client problem solver.”29 He waxed on about GTCR’s long employment relationship with

                                            Mulhern: “Michael and GTCR have a very long history together. We actually initially recruited

                                            Michael in 2002 to run AmSan [American Sanitary].” “We partnered with Michael [again] in 2008

                                            and asked him to become the CEO of Fairmont Food Group, which he did with Phil and Kevin

                                            nearly tripling the EBITDA from 2008 to 2011.” “The very same week we sold Fairmont Food …

                                            we acquired Sterigenics with Michael, Phil and Kevin and the team.” And he thanked the team



                                            27https://www.gtcr.com/team-member/sean-l-cunningham/;
                                            https://www.gtcr.com/gtcr-promotes-aaron-d-cohen-and-sean-l-cunningham-to-principal/;
                                            https://www.gtcr.com/team-member/benjamin-j-daverman/;
                                            https://www.bloomberg.com/research/stocks/private/person.asp?personId=66077&privcapId=20801;
                                            https://www.gtcr.com/team-member/david-a-donnini/;
                                            https://www.bloomberg.com/research/stocks/private/person.asp?personId=1155789&privcapId=20801
                                            https://www.gtcr.com/team-member/constantine-s-mihas/
                                            28https://www.prnewswire.com/news-releases/amri-names-michael-mulhern-as-chief-executive-officer-

                                            300577662.html
                                            29 https://drive.google.com/file/d/0B1vewN8DYsfDei1nM2diWnJ1X28/view?pref=2&pli=1



                                                                                                  65
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page112
                                                                                                        66 of 119
                                                                                                              165 PageID #:86
                                                                                                                         #:1077




                                            for growing Sterigenics EBITDA (profitability ratio) from $90 million to $250 million, allowing

                                            GTCR to recapitalize Sterigenics and recoup its investment.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   193.   Mulhern, at the same award ceremony, in turn acknowledged his long-term

                                            working relationship with GTCR: “I’ve had the great pleasure to work with [GTCR], as Sean

                                            pointed out, for thirteen years;” “Sterigenics is the third company that I have run for GTCR;”

                                            “I’ve described [GTCR] as very forward leaning in terms of doing acquisitions to grow the

                                            company and move it forward.”

                                                   194.   GTCR operated, managed, and controlled Sterigenics U.S. through its hand-

                                            picked team of Mulhern, McNabb and Theriot, whose interests and loyalty were to GTCR, which

                                            had provided them with executive employment for almost two decades, not Sterigenics. Based

                                            on their past experiences with GTCR, Mulhern, McNabb, and Theriot could expect that if they

                                            were able to drastically cut costs and invest in incremental earnings growth to increase

                                            Sterigenics’ EBITDA in the short run, GTCR would be able to sell the company at a higher price,

                                            and they would have new employment opportunities to lead new GTCR projects.

                                                   195.   Sterigenics U.S.’ own employees raised concerns about the safety of its operations

                                            under GTCR’s management, budgetary, and operational control. On Sterigenics U.S.’ Glassdoor

                                            page one employee on June 25, 2013 wrote, after GTCR made Mulhern CEO, that: “Since new

                                            management was installed by the investment company that owns them, doubling customer prices

                                            and massive cost cutting are paramount. There is minimum attention to quality & safety which




                                                                                          66
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page113
                                                                                                        67 of 119
                                                                                                              165 PageID #:87
                                                                                                                         #:1078




                                            will backfire eventually. Only profitability counts to boost the company’s value. Btw, new CEO

                                            was installed some time ago.”30
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       196.    Another employee expressed his concerns with Sterigenics U.S.’ lack of

                                            independence under GTCR’s control, writing on February 21, 2012, that: “No education is given.

                                            No chance to expand kno[w]ledge. Owned by capital investment f[u]nd meaning that Sterigenics

                                            can [m]ake no independent decisions.”31

                                                       197.    Another wrote on February 24, 2015 that: “Safety is an issue sometimes regarding

                                            procedures. The maintenance team cuts a lot of corners. Managers aren't involved in what goes

                                            on during off shifts. A lot of our training is just a paperwork exercise. We learn very quickly how

                                            to cover our butts.” That employee further addressed his concerns about safety under GTCR’s

                                            management and recommended “[l]ock out the overrides for equipment. Fire any maintenance

                                            manager that shows operators how to manually operate equipment without it showing on the

                                            computer system.” On October 9, 2015 another employee wrote “you're working with Ethylene

                                            Oxide which is extremely dangerous and the company seems to cut corners around safety at

                                            times.”

                                                       198.    GTCR knew that the only feasible way to acquire other companies in the

                                            commercial sterilization industry, like Nordion, without investing additional capital, would be

                                            to implement budget cuts or invest in projects that would drive incremental earnings growth to

                                            increase Sterigenics’ free cash flow and EBITDA. GTCR also knew or should have reasonably

                                            foreseen that the budget cuts and investment in projects that only drove incremental earnings




                                            30   https://www.glassdoor.com/Reviews/Employee-Review-Sterigenics-RVW2768416.htm
                                            31   https://www.glassdoor.com/Reviews/Sterigenics-Reviews-E107174_P3.htm

                                                                                                 67
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page114
                                                                                                        68 of 119
                                                                                                              165 PageID #:88
                                                                                                                         #:1079




                                            would stop Sterigenics from spending on safety, maintenance and training and prevent

                                            Sterigenics’ use, addition and/or maintenance of EtO emission control equipment, and cause
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            continued injury to Plaintiffs and others exposed to the facilities’ toxic emissions of EtO.

                                                   X.     Systematic Distribution of Money to Shareholders to Avoid Accountability to
                                                          Creditors

                                                   199.    As discussed above, GTCR knew about the dangers of EtO and the liability risks

                                            before and after acquiring Sterigenics. One of the ways GTCR sought to limit its own investment

                                            risk and recoup its investment was by using dividend recapitalizations to pay itself dividends.

                                                   200.    GTCR knew that if it continually pulled cash out of Sterigenics with dividend

                                            recapitalizations and pledged any increase in the value of Sterigenics’ assets for bonds used to

                                            fund acquisitions of other companies in the commercial sterilization industry, it could limit any

                                            liability stemming from Sterigenics’ EtO emissions.

                                                   201.    Investopedia states: “A dividend recapitalization (also known as a dividend

                                            recap) happens when a company incurs a new debt in order to pay a special dividend to private

                                            investors or shareholders. This usually involves a company owned by a private investment firm,

                                            which can authorize a dividend recapitalization as an alternative to the company declaring

                                            regular dividends, based on earnings.” “The dividend recap has seen explosive growth, primarily

                                            as an avenue for private equity firms to recoup some or all of the money they used to purchase

                                            their stake in a business. The practice is generally not looked upon favorably by creditors or

                                            common shareholders as it reduces the credit quality of the company, while benefiting only a

                                            select few.” “The dividend reduces risk for PE firms by providing early and immediate returns

                                            to shareholders but increases debt on the portfolio company's balance sheet.”



                                                                                             68
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page115
                                                                                                        69 of 119
                                                                                                              165 PageID #:89
                                                                                                                         #:1080




                                                    202.    Shortly after it acquired Sterigenics in March of 2011, GTCR issued $95 million in

                                            additional debt as part of a dividend recapitalization, pulling $95 million out of Sterigenics.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    203.    After the buy-out, GTCR continually sought to increase Sterigenics’ EBITDA by

                                            investing capital in projects that would drive incremental earnings growth and acquiring other

                                            companies using high yield debt. Between 2011 and 2016, acquisitions included Food Technology

                                            Service, Inc32; Gammarad33; Companhia Brasileira de Esterilização34; Nordion; Gibraltar

                                            Laboratories; Nelson Laboratories; and REVISS Services35.

                                                    204.    In December 2016, when the US EPA altered EtO’s cancer weight of evidence

                                            descriptor from “probably carcinogenic to humans” to “carcinogenic to humans” and changed

                                            its adult based inhalation unit risk to 0.0001 µg/m³ from 0.003 µg/m³ (a thirty fold increase), GTCR

                                            recognized that its investment in Sterigenics had become substantially more risky and drastically

                                            increased its efforts to recover its money.

                                                    205.    Sterigenics U.S., Sotera and GTCR each played indispensable roles in a carefully-

                                            orchestrated funneling of nearly $1.3 billion to shareholders over 27 months beginning in 2016,

                                            with the intention of ensuring that these funds will not be available to compensate Plaintiffs when

                                            they secure judgments against them in this Court. By these transfers, Sterigenics U.S. and Sotera

                                            effectively admit, but hope to avoid accountability for, their culpability in exposing Willowbrook




                                            32https://www.businesswire.com/news/home/20131206005135/en/Food-Technology-Service-Acquired-Sterigenics-
                                            International-LLC
                                            33https://www.businesswire.com/news/home/20141031005705/en/Sterigenics-International-Continues-Growth-

                                            Acquisition-Leading-Italian
                                            34 https://sterigenics.com/sterigenics-acquires-companhia-brasileira-de-esterilizacao-cbe/

                                            35https://www.ots.at/presseaussendung/OTE_20160816_OTE0004/sterigenics-international-and-its-subsidiary-

                                            nordion-enter-into-agreement-to-acquire-reviss-services

                                                                                                69
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page116
                                                                                                        70 of 119
                                                                                                              165 PageID #:90
                                                                                                                         #:1081




                                            area residents (including Plaintiffs) to the extraordinarily dangerous EtO, which seriously

                                            damaged the health of many, and even claimed the lives of some.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   206.    Specifically, during those 27 months, Sterigenics U.S. and Sotera executives were

                                            learning:

                                                        a. in 2016, that the US EPA would reclassify ethylene oxide as a “known”
                                                           (from “probable”) human carcinogen, and that the chemical was 30 times
                                                           more likely to cause cancer than US EPA had previously recognized;

                                                        b. in 2018, that this information would soon be reported to the public,
                                                           including and especially Willowbrook area residents;

                                                        c. in 2018, that cancer-stricken plaintiffs had begun to file lawsuits, some of
                                                           them wrongful death lawsuits; and

                                                        d. in 2019, that the first of these plaintiffs had successfully obtained the
                                                           remand to this Court of their lawsuits which had been baselessly removed
                                                           by defendants to federal court.

                                                   207.    Yet, throughout these months, Sterigenics U.S. and Sotera executives were

                                            working with their corporate parents to make sure that virtually all available cash and other

                                            assets would be funneled away from these unsecured-creditor-Plaintiffs — and instead to their

                                            venture-capitalist investors and their banks in the form of massive distributions, pledged assets,

                                            and hundreds of millions in interest payments on borrowings undertaken to fund these

                                            payments. For example:

                                                        a. In October 2016, Sterigenics-Nordion Topco, LLC (“Topco”), a parent of
                                                           defendants Sterigenics U.S. and Sotera, borrowed $350 million, for the
                                                           purpose of funding a $340 million cash distribution to GTCR and other
                                                           shareholders. Sterigenics U.S. and Sotera were necessary to this borrowing,
                                                           upon information and belief, as they each guaranteed its repayment by
                                                           granting the lender group a security interest in their tangible and
                                                           intangible assets, thus making these assets unavailable to Plaintiffs, as
                                                           Sterigenics U.S.’ and Sotera’s unsecured creditors.



                                                                                            70
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page117
                                                                                                        71 of 119
                                                                                                              165 PageID #:91
                                                                                                                         #:1082




                                                       b. In October 2017, Sotera Health Holdings, LLC (“Health Holdings”), also a
                                                          parent of Sterigenics U.S. and Sotera, with Topco, together increased their
                                                          borrowings by $175 million and added to these increased borrowings some
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          $28 million in free cash to fund a $203 million distribution to their
                                                          shareholders, including GTCR. As with the October 16 transactions, upon
                                                          information and belief, the repayment of these borrowings was guaranteed
                                                          by Sterigenics U.S. and Sotera, thus granting the lender group a security
                                                          interest in their tangible and intangible assets, making the pledged assets
                                                          unavailable to pay the judgments Plaintiffs will secure.

                                                       c. In August 2018, Sotera itself made a $95 million cash distribution to
                                                          investors, including GTCR, thus making this cash unavailable to Plaintiffs.

                                                       d. In July 2019, Health Holdings borrowed an additional $320 million, which
                                                          was used in its entirety to fund a $320 million cash distribution to
                                                          Sterigenics’ investors (including GTCR). Upon information and belief, once
                                                          again, Sterigenics U.S. and Sotera each facilitated this distribution by
                                                          guaranteeing repayment of Health Holdings’ borrowing, thus granting the
                                                          lender group a security interest in their tangible and intangible assets, thus
                                                          making these assets unavailable to Plaintiffs as Sterigenics U.S. and
                                                          Sotera’s unsecured creditors.

                                                       e. Just last month, in December 2019, Health Holdings completed a
                                                          refinancing of, inter alia, previous borrowings, obtaining nearly $3.28
                                                          billion in new debt financing. This borrowing was used, in part, to fund a
                                                          $309 cash million distribution to investors in December of 2019. As with
                                                          previous borrowings by their parents, Sterigenics U.S. and Sotera
                                                          guaranteed the repayment of this new borrowing, thus granting to the
                                                          lender group security interests in their tangible and intangible assets.

                                                   208.   Sterigenics U.S., Sotera and GTCR’s central role in this orchestrated and

                                            intentional effort has effectively placed the companies’ cash and other assets out of Plaintiffs’

                                            reach, prevented Sterigenics from investing in emission control equipment, and dangerously de-

                                            stabilized the Sterigenics companies, thereby jeopardizing the companies’ viability and the

                                            likelihood that Plaintiffs will receive just compensation for their injuries. As Moody’s has

                                            observed, after the 2019 transactions noted above, these companies have “a high degree of




                                                                                            71
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page118
                                                                                                        72 of 119
                                                                                                              165 PageID #:92
                                                                                                                         #:1083




                                            environmental risk[,]” and will have “limited ability to absorb unforeseen setbacks or cash

                                            demands on the business…”
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   209.    Neither Sterigenics U.S. nor Sotera received reasonably equivalent value for any

                                            of the guarantees they gave to enable dividends to be paid to GTCR to facilitate the dividend

                                            recapitalizations, notwithstanding that the guarantees increased their debt load and/or placed

                                            additional assets out of the reach of Plaintiffs as their unsecured creditors. The dividend

                                            recapitalizations and secured debt financing benefited only GTCR.

                                                   210.    On June 21, 2019, Illinois enacted Public Act 101-0022. Public Act 101-0022

                                            prohibits EtO sterilization facilities from operating in Illinois unless: (a) the facility captures 100

                                            percent of all fugitive EtO emissions within the facility; and (b) the facility reduces EtO emissions

                                            to the atmosphere from each exhaust point by at least 99.9 percent or to 0.2 parts per million.

                                                   211.    On June 24, 2019, Sterigenics applied to the IEPA for a construction permit to

                                            install or update its emissions control systems to ensure that it satisfies Public Act 101-0022’s EtO

                                            emission requirements.

                                                   212.    In September of 2019, Sterigenics entered into an agreed final consent order

                                            prohibiting the operation of its Willowbrook EtO sterilization facilities before installing and

                                            testing new emissions capture and control equipment to reduce its EtO emissions in compliance

                                            with Public Act 101-0022 and reduce its EtO emissions below 85 pounds a year.

                                                   213.    Other companies in the commercial sterilization industry have limited their EtO

                                            emissions with capital investments. In 2019, Medline, a competing EtO commercial sterilization

                                            company, invested several million dollars in equipment to comply with Illinois Public Act 101-




                                                                                              72
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page119
                                                                                                        73 of 119
                                                                                                              165 PageID #:93
                                                                                                                         #:1084




                                            0022, and on January 7, 2020, Medline released a press report stating that it was in compliance

                                            with the regulation.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                        214.    Sterigenics U.S. and Sotera declined to take measures to improve their emissions

                                            control systems due to the debt and dividend payments orchestrated by GTCR and on October

                                            2019, when faced with the cost of capital improvement to reduce emissions, decided not to reopen

                                            the Willowbrook facilities.36

                                                                                             COUNT 1
                                                                                  Negligence – Sterigenics U.S., LLC

                                                        215.    Plaintiffs incorporate by reference all allegations contained herein.

                                                        216.    Sterigenics U.S. owned and operated the facilities during a material portion of time

                                            since 1984.

                                                        217.    Sterigenics U.S. managed, controlled, and supervised sterilization operations at

                                            the facilities during a material portion of time since 1984.

                                                        218.    Sterigenics U.S. had a duty to exercise ordinary care for the health, safety, and

                                            well-being of Plaintiffs, their decedents, and others living and working near the Willowbrook

                                            facilities.

                                                        219.    At all relevant times, Sterigenics U.S. knew that the EtO emitting from the facilities

                                            would have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-

                                            being of persons inhaling it.

                                                        220.    Sterigenics U.S. breached its duty and failed to exercise ordinary care in one or

                                            more of the following ways:



                                            36   https://www2.illinois.gov/epa/topics/community-relations/sites/ethylene-oxide/Documents/04OCT19.cvrltr.pdf

                                                                                                      73
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page120
                                                                                                        74 of 119
                                                                                                              165 PageID #:94
                                                                                                                         #:1085




                                                       a. by choosing to operate within a densely populated residential area and
                                                          thereby expose Plaintiffs, their decedents, and others to unsafe levels EtO
                                                          and a heightened cancer risk;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       b. by emitting massive and unnecessary amounts of EtO into the air from the
                                                          Willowbrook facilities;

                                                       c. by using EtO as part of its sterilization process when safer alternatives
                                                          could accomplish the same or similar business purpose without presenting
                                                          the same level of risk to human health and well-being;

                                                       d. by placing its own economic interests above the health and well-being of
                                                          those who lived or worked near the facilities;

                                                       e. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                          lived or worked near the facilities that they were being exposed to EtO;

                                                       f.   by failing to warn or advise Plaintiffs, their decedents, and others who
                                                            lived or worked near the facilities that they were inhaling EtO;

                                                       g. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                          lived or worked near the facilities that it was emitting a known carcinogen
                                                          into the air from the facilities;

                                                       h. by failing to employ safe methods to adequately control, reduce, minimize,
                                                          and/or mitigate EtO emissions from the facilities;

                                                       i.   by failing to adequately study and test the effect of its EtO emissions from
                                                            the facilities on the quality of air; and

                                                       j.   by failing to adequately study and test the effect of its EtO emissions from
                                                            the facilities on the health and well-being of people who lived or worked
                                                            near the facilities.

                                                   221.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                                                             74
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page121
                                                                                                        75 of 119
                                                                                                              165 PageID #:95
                                                                                                                         #:1086




                                                      WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                       COUNT 2
                                                                        Negligent Training – Sterigenics U.S., LLC

                                                      222.   Plaintiffs incorporate by reference all allegations contained herein.

                                                      223.   Sterigenics U.S. had a duty to properly train its employees to control and dispose

                                            of hazardous substances including EtO and its byproducts, including but not limited to ethylene

                                            glycol.

                                                      224.   At all relevant times, Sterigenics U.S. knew that failing to properly train its

                                            employees to control, monitor, and dispose of hazardous materials would have a toxic,

                                            poisonous, and highly deleterious effect upon the health, safety, and well-being of persons

                                            exposed to it.

                                                      225.   Sterigenics U.S. breached its duty to properly train its employees in one or more

                                            of the following ways:

                                                         a. by failing to train its employees about the carcinogenic effects of EtO;

                                                         b. by failing to train its employees about the proper procedures to control and
                                                            store EtO and its byproducts such that it would prevent unintended leaks,
                                                            spills, or emissions;

                                                         c. by failing to train its employees about the proper procedures to monitor
                                                            EtO emissions;

                                                         d. by failing to train its employees about the proper procedures for recording
                                                            EtO emissions;

                                                         e. by failing to train its employees about the proper procedures to adequately
                                                            control, reduce, minimize, and/or mitigate EtO emissions from the
                                                            facilities;



                                                                                              75
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page122
                                                                                                        76 of 119
                                                                                                              165 PageID #:96
                                                                                                                         #:1087




                                                       f.   by failing to train its employees about the proper procedures for repairing
                                                            and/or replacing defective EtO emissions equipment;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       g. by failing to train its employees about the proper procedures for reporting
                                                          uncontrolled emissions; and

                                                       h. by failing to properly train its employees about the proper procedures for
                                                          disposing of EtO and its byproducts.

                                                   226.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.

                                                                                     COUNT 3
                                                                     Negligent Supervision – Sterigenics U.S., LLC

                                                   227.     Plaintiffs incorporates by reference all allegations contained herein.

                                                   228.     Sterigenics U.S. had a duty to properly supervise its employees to prevent a

                                            creation of danger or harm to others.

                                                   229.     At all relevant times, Sterigenics U.S. knew that failing to properly supervise its

                                            employees in their control, monitoring, and disposal of hazardous materials including EtO and

                                            its byproducts would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons inhaling it.

                                                   230.     Sterigenics U.S., LLC breached its duty to supervise its employees in one or more

                                            of the following ways:

                                                                                             76
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page123
                                                                                                        77 of 119
                                                                                                              165 PageID #:97
                                                                                                                         #:1088




                                                     a. by failing to recognize when the proper procedures to control and store
                                                        EtO and its byproducts were violated, resulting in unintended leaks, spills,
                                                        or emissions;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                     b. by failing to reprimand and/or discipline employees when the proper
                                                        procedures to control and store EtO and its byproducts were violated,
                                                        resulting in unintended leaks, spills, or emissions;

                                                     c. by retaining employees who repeatedly violated the proper procedures to
                                                        control and store EtO and its byproducts, resulting in unintended leaks,
                                                        spills, or emissions;

                                                     d. by failing to recognize when the proper procedures to adequately control,
                                                        reduce, minimize, and/or mitigate EtO emissions from the facilities were
                                                        violated, resulting in unintended leaks, spills, or emissions;

                                                     e. by failing to reprimand and/or discipline employees when the proper
                                                        procedures to adequately control, reduce, minimize, and/or mitigate EtO
                                                        emissions from the facilities were violated, resulting in unintended leaks,
                                                        spills, or emissions;

                                                     f.   by retaining employees who repeatedly violated the proper procedures to
                                                          adequately control, reduce, minimize, and/or mitigate EtO emissions from
                                                          the facilities, resulting in unintended leaks, spills, or emissions;

                                                     g. by failing to recognize when the proper procedures for repairing and/or
                                                        replacing defective EtO emissions equipment were violated;

                                                     h. by failing to reprimand and/or discipline employees when the proper
                                                        procedures for repairing and/or replacing defective EtO emissions
                                                        equipment were violated;

                                                     i.   by retaining employees who repeatedly violated the proper procedures for
                                                          repairing and/or replacing defective EtO emissions equipment;

                                                     j.   by failing to recognize when the proper procedures for reporting
                                                          uncontrolled emissions were violated;

                                                     k. by failing to reprimand and/or discipline employees when the proper
                                                        procedures for reporting uncontrolled emissions were violated;

                                                     l.   by retaining employees who repeatedly violated the proper procedures for
                                                          reporting uncontrolled emissions;

                                                                                         77
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page124
                                                                                                        78 of 119
                                                                                                              165 PageID #:98
                                                                                                                         #:1089




                                                       m. by failing to recognize when the proper procedures for disposing of EtO or
                                                          its byproducts were violated;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       n. by failing to reprimand and/or discipline employees when the proper
                                                          procedures for disposing of EtO or its byproducts were violated;

                                                       o. by retaining employees who repeatedly violated the proper procedures for
                                                          disposing of EtO or its products;

                                                       p. by failing to recognize when the proper procedures to monitor EtO
                                                          emissions were violated;

                                                       q. by failing to reprimand and/or discipline employees when the proper
                                                          procedures to monitor EtO emissions were violated;

                                                       r. by retaining employees who repeatedly violated the proper procedures to
                                                          monitor EtO emissions;

                                                       s. by failing to recognize when the proper procedures for recording EtO
                                                          emissions were violated;

                                                       t.   by failing to reprimand and/or discipline employees when the proper
                                                            procedures for recording EtO emissions were violated; and

                                                       u. by retaining employees who repeatedly violated the proper procedures for
                                                          recording EtO emissions.

                                                   231.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.




                                                                                            78
                                            Case:
                                              Case:
                                                  1:21-cv-04581
                                                     1:21-cv-04581
                                                                Document
                                                                   Document
                                                                         #: 45-1
                                                                            #: 1-1Filed:
                                                                                   Filed:09/23/22
                                                                                          08/27/21Page
                                                                                                   Page125
                                                                                                        79 of 119
                                                                                                              165 PageID #:99
                                                                                                                         #:1090




                                                                                       COUNT 4
                                                                    Willful and Wanton Conduct – Sterigenics U.S., LLC
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    232.      Plaintiffs incorporate by reference all allegations contained herein.

                                                    233.      Sterigenics U.S. had a duty to refrain from willful and wanton conduct and/or

                                            conduct that exhibits an utter indifference and/or conscious disregard to the health, safety, and

                                            well-being of Plaintiffs, their decedents, and others living and working in the area surrounding

                                            the facilities.

                                                    234.      At all relevant times, Sterigenics U.S. knew that EtO emitting from the facilities

                                            would have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-

                                            being of persons inhaling it.

                                                    235.      Sterigenics U.S. breached its duty and was guilty of willful and wanton conduct

                                            in one or more of the following ways:

                                                         a. by choosing to operate within a densely populated residential area and
                                                            thereby expose Plaintiffs, their decedents, and others to unsafe levels EtO
                                                            and a heightened cancer risk;

                                                         b. by emitting massive and unnecessary volumes EtO into the air from the
                                                            Willowbrook facilities notwithstanding its knowledge that EtO is toxic,
                                                            poisonous, and causes adverse medical issues including, but not limited to,
                                                            cancer;

                                                         c. by placing its own economic interests above the health, safety, and well-
                                                            being of Plaintiffs, their decedents, and others who lived or worked near
                                                            the facilities;

                                                         d. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                            lived or worked near the facilities that they were being exposed to EtO
                                                            notwithstanding its knowledge that EtO is toxic, poisonous, and causes
                                                            adverse medical issues including, but not limited to, cancer;

                                                         e. by failing to a warn or advise Plaintiffs, their decedents, and others who
                                                            lived and worked in the Willowbrook area that they were inhaling EtO

                                                                                               79
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page126
                                                                                                     80 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:100
                                                                                                                     #:1091




                                                            notwithstanding its knowledge that EtO is toxic, poisonous, and causes
                                                            adverse medical issues including, but not limited to, cancer;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                       f.   by emitting EtO, a known carcinogen, into the air from the facilities before
                                                            fully studying, researching, or understanding the deleterious impact that
                                                            EtO inhalation exposure has on the health, safety, and well-being of those
                                                            in the surrounding area; and

                                                       g. by deliberately concealing its knowledge concerning the deleterious
                                                          impact that EtO inhalation exposure has on Plaintiffs, their decedents, and
                                                          others who lived or worked near the facilities.

                                                   236.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.

                                                                                       COUNT 5
                                                            Ultrahazardous Activity / Strict Liability – Sterigenics U.S., LLC

                                                   237.     Plaintiffs incorporate by reference all allegations contained herein.

                                                   238.     Sterigenics U.S. use and emission of EtO from the facilities constitutes an ultra-

                                            hazardous activity.

                                                   239.     Sterigenics U.S.’s use and emission of EtO created a high degree of risk to

                                            Plaintiffs, their decedents, and others who lived or worked near the facilities such that the

                                            likelihood of cancer caused by its use and emission of EtO is as much as 64 times the level of

                                            acceptable risk.



                                                                                             80
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page127
                                                                                                     81 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:101
                                                                                                                     #:1092




                                                   240.    Sterigenics U.S.’s use and emission of EtO is especially inappropriate given the

                                            area in which it is located; namely, within a densely populated residential area.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   241.    While the activities conducted by Sterigenics U.S. are exceedingly dangerous, it

                                            offers little to no value to the surrounding community.

                                                   242.    Because the activities of Sterigenics U.S. are ultrahazardous, it is strictly liable for

                                            any injuries proximately resulting therefrom.

                                                   243.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.

                                                                                         COUNT 6
                                                                            Civil Battery – Sterigenics U.S., LLC

                                                   244.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   245.    At all relevant times, Sterigenics U.S. knew that EtO emitting from the facilities

                                            would have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-

                                            being of persons inhaling it.

                                                   246.    Notwithstanding this knowledge, Sterigenics U.S. caused and/or set in motion

                                            events that caused EtO to come in contact with Plaintiffs and their decedents.

                                                   247.    Plaintiffs and their decedents’ contact with EtO was offensive and harmful.



                                                                                             81
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page128
                                                                                                     82 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:102
                                                                                                                     #:1093




                                                     248.   Sterigenics U.S. intended to emit EtO into the air despite its knowledge that it

                                            would contact people who lived or worked near the facilities.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                     249.   Plaintiffs and their decedents did not consent to contact with EtO emitted from the

                                            facilities.

                                                     250.   As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                     WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.

                                                                                        COUNT 7
                                                                          Public Nuisance – Sterigenics U.S., LLC

                                                     251.   Plaintiffs incorporate by reference all allegations contained herein.

                                                     252.   The general public has a common right to breathe in clean air without dangerous

                                            levels of carcinogens such as EtO. The Illinois Constitution guarantees these rights to its citizens.

                                            Article XI of the Illinois Constitution of 1970, Environment, Section 1, Public Policy - Legislative

                                            Responsibility, provides that:

                                                            The public policy of the State and the duty of each person is to
                                                            provide and maintain a healthful environment for the benefit of this
                                                            and future generations. The General Assembly shall provide by law
                                                            for the implementation and enforcement of this public policy.

                                                     Article XI of the Illinois Constitution of 1970, Environment, Section 2, Rights of

                                            Individuals, provides that:

                                                                                             82
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page129
                                                                                                     83 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:103
                                                                                                                     #:1094




                                                           Each person has the right to a healthful environment. Each person
                                                           may enforce this right against any party, governmental or private,
                                                           through appropriate legal proceedings subject to reasonable
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                           limitation and regulation as the General Assembly may provide by
                                                           law.

                                                   253.    Sterigenics U.S.’s use and emission of EtO from the facilities substantially and

                                            unreasonably infringed upon and/or transgresses this public right. In particular, the activities of

                                            Sterigenics U.S. caused those who lived and worked in the area surrounding the facilities to inhale

                                            high levels of EtO on a routine and constant basis, and further, to be exposed to air causing a

                                            substantially elevated risk of cancer.

                                                   254.    Sterigenics U.S.’s use and emission of EtO is especially inappropriate given the

                                            area in which it is located; namely, within a densely populated residential area.

                                                   255.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sterigenics U.S., LLC in an amount to be determined by a trier of fact.

                                                                                      COUNT 8
                                                                            Negligence – Sotera Health, LLC

                                                   256.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   257.    Sotera wholly owned, managed, controlled, supervised and otherwise

                                            participated directly in the sterilization operations at the Willowbrook facilities. With respect to



                                                                                            83
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page130
                                                                                                     84 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:104
                                                                                                                     #:1095




                                            those operations, Sotera shared a complete unity of interest with Sterigenics U.S., with Sterigenics

                                            U.S. operating as an instrumentality of Sotera.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                    258.    At all relevant times, Sotera knew that the EtO emitting from the facilities would

                                            have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-being of

                                            persons inhaling it.

                                                    259.    Sotera had a duty to ensure that the facilities were operated with ordinary care for

                                            the health, safety, and well-being of Plaintiffs, their decedents, and others living and working

                                            near the facilities.

                                                    260.    Sotera breached this duty by failing to ensure that the facilities were operated with

                                            ordinary care for the health, safety, and well-being of Plaintiffs, their decedents, and others living

                                            and working near the facilities with respect to one or more of the following:

                                                            a.     by conducting operations in a densely populated residential area,
                                                                   exposing Plaintiffs, their decedents, and others to unsafe levels EtO and
                                                                   a heightened cancer risk;

                                                            b. by emitting massive and unnecessary amounts of EtO into the air from
                                                                   the facilities;

                                                            c. using of EtO as part of its sterilization process when safer alternatives
                                                                   could accomplish the same or similar business purpose without
                                                                   presenting the same level of risk to human health and well-being;

                                                            d. placing of its own economic interests and the interest of Sterigenics U.S.
                                                                   above the health and well-being of those who lived or worked near the
                                                                   facilities;

                                                            e. failing to warn or advise Plaintiffs, their decedents, and others who
                                                                   lived or worked near the facilities that they were being exposed to EtO;

                                                            f. failing to warn or advise Plaintiffs, their decedents, and others who
                                                                   lived or worked near the facilities that they were inhaling EtO;

                                                            g. failing to warn or advise Plaintiffs, their decedents, and others who
                                                                                                84
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page131
                                                                                                     85 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:105
                                                                                                                     #:1096




                                                              lived or worked near the facilities that it was emitting a known
                                                              carcinogen into the air from the facilities;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                           h. failing to employ safe methods to adequately control, reduce,
                                                              minimize, and/or mitigate EtO emissions from the facilities;

                                                           i. failing to adequately study and test the effect of its EtO emissions from
                                                              the facilities on the quality of air; and

                                                           j. failing to adequately study and test the effect of its EtO emissions from
                                                              the facilities on the health and well-being of people who lived or
                                                              worked near the facilities.

                                                   261.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sotera Health, LLC in an amount to be determined by a trier of fact.

                                                                                      COUNT 9
                                                                        Negligent Training – Sotera Health, LLC

                                                   262.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   263.    As a direct participant in the facilities’ sterilization operations, including but not

                                            limited to developing written operating procedures for training and guiding the work of

                                            operators and training operations employees, Sotera had a duty to ensure that the facilities’

                                            employees were properly trained on conducting sterilization operations, the use, control, storage,

                                            and disposal of hazardous substances including EtO and its byproducts, and the operation and

                                            maintenance of equipment used in the sterilization process, to prevent a creation of danger or


                                                                                             85
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page132
                                                                                                     86 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:106
                                                                                                                     #:1097




                                            harm to others.

                                                    264.   Sotera, knowing that that a failure to ensure the facilities’ employees were
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            properly trained would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons exposed to it, breached this duty.

                                                    265.   As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                    WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sotera Health, LLC in an amount to be determined by a trier of fact.

                                                                                    COUNT 10
                                                                  Willful and Wanton Conduct – Sotera Health, LLC

                                                    266.   Plaintiffs incorporate by reference all allegations contained herein.

                                                    267.   At all relevant times, Sotera knew that EtO emitting from the facilities would have

                                            a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-being of persons

                                            inhaling it.

                                                    268.   Sotera had a duty to refrain from willful and wanton conduct and/or conduct that

                                            exhibits an utter indifference and/or conscious disregard to the health, safety, and well-being of

                                            Plaintiffs, their decedents, and others living and working in the area surrounding the facilities.

                                                    269.   Sotera breached its duty and was guilty of willful and wanton conduct with

                                            respect to one or more of the following:



                                                                                            86
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page133
                                                                                                     87 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:107
                                                                                                                     #:1098




                                                           a. conducting operations in a densely populated residential area,
                                                              exposing Plaintiffs, their decedents, and others to unsafe levels EtO and
                                                              a heightened cancer risk;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                           b. emitting massive and unnecessary volumes EtO into the air from the
                                                              facilities notwithstanding its knowledge that EtO is toxic, poisonous,
                                                              and causes adverse medical issues including, but not limited to, cancer;

                                                           c. placing its own economic interests above the health, safety, and well-
                                                              being of Plaintiffs, their decedents, and others who lived or worked
                                                              near the facilities;

                                                           d. failing to warn or advise Plaintiffs, their decedents, and others who
                                                              lived or worked near the facilities that they were being exposed to EtO
                                                              notwithstanding Sotera’s knowledge that EtO is toxic, poisonous, and
                                                              causes adverse medical issues including, but not limited to, cancer;

                                                           e. failing to warn or advise Plaintiffs, their decedents, and others who
                                                              lived and worked in the Willowbrook area that they were inhaling EtO
                                                              notwithstanding Sotera’s knowledge that EtO is toxic, poisonous, and
                                                              causes adverse medical issues including, but not limited to, cancer;

                                                           f. emitting EtO, a known carcinogen, into the air from the facilities before
                                                              fully studying, researching, or understanding the deleterious impact
                                                              that EtO inhalation exposure has on the health, safety, and well-being
                                                              of those in the surrounding area; and

                                                           g. deliberately concealing its knowledge concerning the deleterious
                                                              impact that EtO inhalation exposure has on Plaintiffs, their decedents,
                                                              and others who lived or worked near the facilities.

                                                   270.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sotera Health, LLC in an amount to be determined by a trier of fact.


                                                                                            87
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page134
                                                                                                     88 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:108
                                                                                                                     #:1099




                                                                                      COUNT 11
                                                                          Public Nuisance – Sotera Health, LLC
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   271.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   272.    The general public has a common right to breathe in clean air without dangerous

                                            levels of carcinogens such as EtO. The Illinois Constitution guarantees these rights to its citizens.

                                            Article XI of the Illinois Constitution of 1970, Environment, Section 1, Public Policy - Legislative

                                            Responsibility, provides that:

                                                           The public policy of the State and the duty of each person is to
                                                           provide and maintain a healthful environment for the benefit of this
                                                           and future generations. The General Assembly shall provide by law
                                                           for the implementation and enforcement of this public policy.

                                                   Article XI of the Illinois Constitution of 1970, Environment, Section 2, Rights of

                                            Individuals, provides that:

                                                           Each person has the right to a healthful environment. Each person
                                                           may enforce this right against any party, governmental or private,
                                                           through appropriate legal proceedings subject to reasonable
                                                           limitation and regulation as the General Assembly may provide by
                                                           law.

                                                   273.    The activities of Sotera as described above unreasonably infringed upon and/or

                                            transgressed this public right by causing those who lived and worked in the area surrounding

                                            the facilities to inhale high levels of EtO on a routine and constant basis, and further, to be exposed

                                            to air causing a substantially elevated risk of cancer.

                                                   274.    Sotera’s use and emission of EtO is especially inappropriate given the area in

                                            which it is located; namely, within a densely populated residential area.

                                                   275.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and


                                                                                              88
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page135
                                                                                                     89 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:109
                                                                                                                     #:1100




                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Sotera Health, LLC in an amount to be determined by a trier of fact.

                                                                                      COUNT 12
                                                             Negligence – Griffith Foods International, Inc. (Griffith Labs)

                                                   276.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   277.    From July 30, 1984 to July 31, 1986, Griffith Labs was the permittee and thus

                                            operator of the Willowbrook facilities.

                                                   278.    From July 30, 1984 to May 14, 1999, as set forth in the paragraphs above, Griffith

                                            Labs was a direct participant of operations at the Willowbrook facilities such that it both actively

                                            participated in, directed, and/or exercised control over operations, and it mandated an overall

                                            course of action and authorized the manner in which specific activities were conducted.

                                                   279.    Additionally, from July 30, 1984 to April 15, 1999, as set forth in the paragraphs

                                            above, the relationship between Griffith Labs and the Operators was such that was no true

                                            separate identity between them.

                                                   280.    The “touchstone” of the duty analysis in Illinois “is whether a plaintiff and a

                                            defendant stood in such a relationship to one another that the law imposed on defendant an

                                            obligation of reasonable conduct for the benefit of the plaintiff.” Marshall v. Burger King Corp., 222

                                            Ill.2d 422, 436 (2006). The existence of such a “relationship” is determined by consideration of

                                            four factors, including: (a) the reasonable foreseeability of the injury; (b) the likelihood of the



                                                                                             89
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page136
                                                                                                     90 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:110
                                                                                                                     #:1101




                                            injury; (c) the magnitude of the burden of guarding against the injury; and (d) the consequences

                                            of placing that burden on the defendant. Id. at 436-37.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                   281.    At all relevant times, Griffith Labs knew that the EtO emitting from the facilities

                                            would have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-

                                            being of persons inhaling it. Accordingly, at all relevant times, it was reasonably foreseeable to

                                            Griffith Labs that emitting EtO from the Willowbrook facilities would injure Plaintiffs. Numerous

                                            facts set forth demonstrate that such injury was reasonably foreseeable, including in Paragraphs

                                            5, 7, 9-10, 33-35, 37-56, 68-70, 74-76, 82-88, 96-99, 111-129, 131-141, 144-148, and 159-166.

                                                   282.    At all relevant times, the likelihood of injury to Plaintiffs was exceedingly high as

                                            set forth above in Paragraphs 5, 7, 9-10, 34, 37-39, 42-56, 82-91, 111-129, 131-141, and 159-166.

                                                   283.    Griffith Labs not only knew that it was emitting a known carcinogen into the

                                            Willowbrook community and that it would be inhaled by neighboring residents, but Griffith Labs

                                            also knew that conservative modeling performed by IEPA showed that its emissions were

                                            “several magnitudes higher than desirable.”

                                                   284.    The magnitude of the burden on Griffith Labs of guarding against such injury was

                                            minimal as set forth above in paragraphs 35, 56, 70, 82-95, 100-102, and 146-147, particularly for a

                                            self-espoused pioneer and expert in the field of EtO. Griffith Labs could have, but did not, control

                                            the emissions from the Willowbrook facility by using state of the art equipment or even the same

                                            equipment used at its other facilities during the same timeframe.

                                                   285.    The consequences of placing such a burden on Griffith Labs would be appropriate,

                                            such that the expert in the field—with superlative knowledge and expertise with EtO and the

                                            sterilization process, the opportunity to select and update sterilization sites, emissions controls,

                                                                                              90
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page137
                                                                                                     91 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:111
                                                                                                                     #:1102




                                            operational actions and processes, and financial incentive and ability—would have the obligation

                                            to prevent foreseeable injury to residents who, on the other hand, have no such expertise or
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            knowledge, no such opportunity, and no such corresponding financial ability.

                                                   286.    Accordingly, at all relevant times, Griffith Labs had a duty to ensure that the

                                            facilities were operated with ordinary care for the health, safety, and well-being of Plaintiffs, their

                                            decedents, and others living and working near the facilities.

                                                   287.    Griffith Labs breached this duty by failing to ensure that the facilities were

                                            operated with ordinary care for the health, safety, and well-being of Plaintiffs, their decedents,

                                            and others living and working near the facilities with respect to one or more of the following:

                                                       a. Locating, and then for the next 16 years operating, controlling and/or
                                                          maintaining, an EtO sterilization facility in the residential community of
                                                          Willowbrook despite knowing at all times that EtO is very dangerous to
                                                          human health and that area residents, workers, and schoolchildren would
                                                          be unknowingly breathing daily the facility’s EtO emissions, significantly
                                                          increasing their risk of contracting cancer and other serious illnesses.

                                                       b. Operating the Willowbrook facility with virtually no emission control
                                                          equipment designed to remove or eliminate EtO from emissions for its first
                                                          four years of operation (1984-1988), even though Griffith Labs knew that
                                                          this violated the standard of care and would result in its neighbors being
                                                          unnecessarily exposed to more than 500,000 pounds of EtO emissions
                                                          during that time;

                                                       c. Operating the Willowbrook facility for the entirety of the 1984 – 1999 time
                                                          period without any control designed to remove or eliminate EtO from
                                                          emissions from the facility’s back-vents, aeration rooms, and work aisles,
                                                          even though Griffith Labs knew that this too violated the standard of care
                                                          and would result in its neighbors being unnecessarily exposed to at least
                                                          400,000 pounds of EtO emissions (in addition to those alleged in
                                                          subparagraph (b), above) during that time;

                                                       d. Designing in 1984, and then from 1984 to 1999, mandating the use of, a
                                                          sterilization/emissions process that Griffith Labs knew violated the



                                                                                              91
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page138
                                                                                                     92 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:112
                                                                                                                     #:1103




                                                          standard of care and was inadequate to protect the health of its neighbors
                                                          against EtO emissions from the facility;
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                     e. Purchasing, using, and mandating the use of sterilization and emission
                                                        control equipment that Griffith Labs knew violated the standard of care
                                                        and was inadequate to protect the health of its neighbors against EtO
                                                        emissions from the facility;

                                                     f.   Failing to use emission control equipment in Willowbrook and otherwise
                                                          comply with the standard of care that Griffith Labs was in fact using in its
                                                          other EtO facilities in the United States and other countries, which resulted
                                                          in EtO emissions from the Willowbrook facilities that were sometimes
                                                          hundreds of times higher, and more dangerous, than those at Griffith Labs’
                                                          other facilities;

                                                     g. Failing to employ safe methods to adequately control, reduce, minimize,
                                                        and/or mitigate EtO emissions from the facilities;

                                                     h. Using EtO as part of its sterilization process when safer alternatives could
                                                        accomplish the same or similar business purpose without presenting the
                                                        same level of risk to human health and well-being;

                                                     i.   Conducting operations which exposed Plaintiffs, their decedents, and
                                                          others to unsafe levels EtO and a heightened cancer risk;

                                                     j.   Emitting massive and unnecessary amounts of EtO into the air from the
                                                          facilities;

                                                     k. Failing to heed IEPA’s warning that emissions into the Willowbrook
                                                        community based on Griffith’s operational design would be “several
                                                        magnitudes higher than desirable”;

                                                     l.   Failing to heed IEPA’s advisement that steps “can be taken to minimize
                                                          emissions in order to reduce the ambient impacts to an acceptable level”;

                                                     m. Failing to warn the Willowbrook community, including Plaintiffs, that the
                                                        toxicity data reviewed by the IEPA and communicated to Griffith
                                                        “provides evidence of human cancers of the pancreas, bladder, brain,
                                                        central nervous system and stomach associated with EtO exposure”;

                                                     n. Failing to warn the Willowbrook community, including Plaintiffs, that
                                                        “various animal studies have shown carcinogenic, mutagenic, leukogenic
                                                        and teratogenic effects” of EtO exposure;

                                                                                           92
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page139
                                                                                                     93 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:113
                                                                                                                     #:1104




                                                     o. Failing to warn its neighbors that they were in danger because of the
                                                        Willowbrook facility’s EtO emissions, even though Griffith Labs: (A) knew
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                        that the emissions threatened its neighbors’ health and that its neighbors
                                                        had no idea that EtO was even being emitted into their community, and
                                                        (B) provided warnings to residents living near some of Griffith Labs’ other
                                                        EtO sterilization facilities outside of Illinois;

                                                     p. Failing to warn or advise Plaintiffs, their decedents, and others who lived
                                                        or worked near the facilities that they were being exposed to EtO;

                                                     q. Failing to warn or advise Plaintiffs, their decedents, and others who lived
                                                        or worked near the facilities that they were inhaling EtO;

                                                     r. Failing to warn or advise Plaintiffs, their decedents, and others who lived
                                                        or worked near the facilities that it was emitting a known carcinogen into
                                                        the air from the facilities;

                                                     s. Failing to test the air outside the Willowbrook facility (ambient air) to
                                                        determine the concentrations of EtO that had been emitted from the facility
                                                        and would be inhaled by Griffith Labs’ neighbors, even though Griffith
                                                        Labs was specifically required to conduct extensive ambient air testing in
                                                        1984-1986 as a special condition for its permit to operate the Willowbrook
                                                        facility;

                                                     t.   Failing to adequately study and test the effect of its EtO emissions from the
                                                          facilities on the quality of air;

                                                     u. Failing to adequately study and test the effect of its EtO emissions from the
                                                        facilities on the health and well-being of people who lived or worked near
                                                        the facilities;

                                                     v. Misleading the State’s regulator, Illinois EPA, by, inter alia, failing to inform
                                                        the agency as to what Griffith Labs knew about the dangers of EtO to
                                                        human health; planning to emit more EtO from the Willowbrook facility
                                                        than it had represented to induce IEPA into granting Griffith Labs the
                                                        initial Willowbrook permit; failing to advise IEPA that it was not using the
                                                        same caliber equipment and processes in Willowbrook that it was using at
                                                        its other facilities; and reporting to IEPA EtO emissions from Willowbrook
                                                        that were based on assumptions which Griffith Labs knew had no basis or
                                                        were false;




                                                                                           93
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page140
                                                                                                     94 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:114
                                                                                                                     #:1105




                                                       w. Failing to train its employees and failing to audit the Willowbrook facility
                                                          to ensure that the facility’s operations were not endangering its neighbors
                                                          even though such training and auditing were Griffith Labs’
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          responsibilities;

                                                       x. Placing its own economic interests above the health and well-being of those
                                                          who lived or worked near the facilities;

                                                       y. Failing to provide the Operators with capital to invest in reasonable
                                                          emission control systems even though such capital was available;

                                                       z. Failing to provide the Operators with capital to invest in reasonable
                                                          equipment upgrades and maintenance even though such capital was
                                                          available; and

                                                       aa. Working independently and through an EtO industry lobbyist to
                                                           improperly dispute conclusions concerning the health dangers of EtO that
                                                           had been reached by independent scientists and health agencies with the
                                                           purpose of understating those health dangers and ultimately creating a
                                                           justification for emissions that endangered the health of those living near
                                                           the Willowbrook (and other) sterilization facilities.

                                                   288.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.

                                                                                       COUNT 13
                                                          Negligent Training – Griffith Foods International, Inc. (Griffith Labs)

                                                   289.     Plaintiffs incorporate by reference all allegations contained herein.

                                                   290.     As a direct participant in the facilities’ sterilization operations, including but not



                                                                                              94
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page141
                                                                                                     95 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:115
                                                                                                                     #:1106




                                            limited to developing written operating procedures for training and guiding the work of

                                            operators and training operations employees, Griffith Labs had a duty to ensure that the facilities’
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            employees were properly trained on the following to prevent a creation of danger or harm to

                                            others:

                                                         a. conducting sterilization operations;

                                                         b. the use, control, storage, and disposal of hazardous substances including EtO and
                                                            its byproducts;

                                                         c. the operation and maintenance of equipment used in the sterilization process;

                                                         d. running aeration room and back-vent emissions through the emission control
                                                            system;

                                                         e. keeping chamber doors, aeration doors, and exterior doors closed and sealed so as
                                                            to prevent EtO from escaping directly into the atmosphere;

                                                         f.   preventing and/or minimizing off-gassing of sterilized products in areas that were
                                                              not ventilated to emission controls; and

                                                         g. auditing the Willowbrook facility to ensure that the facility’s operations were not
                                                            endangering its neighbors.

                                                      291.    Griffith Labs, knowing that that a failure to ensure the facilities’ employees were

                                            properly trained would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons exposed to it, breached this duty.

                                                      292.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.



                                                                                              95
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page142
                                                                                                     96 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:116
                                                                                                                     #:1107




                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                    COUNT 14
                                                      Negligent Supervision – Griffith Foods International, Inc. (Griffith Labs)

                                                   293.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   294.    As a direct participant in the facilities’ sterilization operations, including but not

                                            limited to preparing and implementing the facilities’ risk management plans, developing written

                                            operating procedures for training and guiding the work of operators, training operations

                                            employees, investigating incidents, conducting safety audits, and evaluating the facilities’

                                            accident history, Griffith Labs had a duty to ensure the facilities’ employees were properly

                                            supervised on conducting sterilization operations, the use, control, storage, and disposal of

                                            hazardous substances including EtO and its byproducts, and the operation and maintenance of

                                            equipment used in the sterilization process, to prevent a creation of danger or harm to others.

                                                   295.    Griffith Labs, knowing that that a failure to ensure the facilities’ employees were

                                            properly supervised would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons exposed to it, breached this duty.

                                                   296.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.




                                                                                             96
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page143
                                                                                                     97 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:117
                                                                                                                     #:1108




                                                    WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                        COUNT 15
                                                           Willful and Wanton – Griffith Foods International, Inc. (Griffith Labs)

                                                    297.      Plaintiffs incorporate by reference all allegations contained herein.

                                                    298.      At all relevant times, Griffith Labs knew that EtO emitting from the facilities

                                            would have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-

                                            being of persons inhaling it.

                                                    299.      Griffith Labs had a duty to refrain from willful and wanton conduct and/or

                                            conduct that exhibits an utter indifference and/or conscious disregard to the health, safety, and

                                            well-being of Plaintiffs, their decedents, and others living and working in the area surrounding

                                            the facilities.

                                                    300.      Griffith Labs breached its duty and was guilty of willful and wanton conduct with

                                            respect to one or more of the following:

                                                         a. Locating, and for then for next 16 years, operating, controlling and/or
                                                            maintaining, an EtO sterilization facility in the residential community of
                                                            Willowbrook despite knowing that all times that EtO is very dangerous to
                                                            human health and that area residents, workers, and schoolchildren would
                                                            be unknowingly breathing daily the facility’s EtO emissions, significantly
                                                            increasing their risk of contracting cancer and other serious illnesses;

                                                         b. Operating the Willowbrook facility with virtually no emission control
                                                            equipment designed to remove or eliminate EtO from emissions for its first
                                                            four years of operation (1984-1988), even though Griffith Labs knew that
                                                            this violated the standard of care and would result in its neighbors being
                                                            unnecessarily exposed to more than 500,000 pounds of EtO emissions
                                                            during that time;

                                                         c. Operating the Willowbrook facility for the entirety of the 1984 – 1999 time
                                                            period without any control designed to remove or eliminate EtO from


                                                                                               97
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page144
                                                                                                     98 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:118
                                                                                                                     #:1109




                                                          emissions from the facility’s back-vents and aeration rooms, even though
                                                          Griffith Labs knew that this too violated the standard of care and would
                                                          result in its neighbors being unnecessarily exposed to at least 400,000
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          pounds of EtO emissions (in addition to those alleged in subparagraph (b),
                                                          above) during that time;

                                                     d. Designing and requiring the use of a sterilization/emissions process that
                                                        Griffith Labs knew violated the standard of care and was inadequate to
                                                        protect the health of its neighbors against EtO emissions from the facility;

                                                     e. Purchasing, using, and authorizing the use of sterilization and emission
                                                        control equipment that Griffith Labs knew violated the standard of care
                                                        and was inadequate to protect the health of its neighbors against EtO
                                                        emissions from the facility;

                                                     f.   Failing to use emission control equipment in Willowbrook and otherwise
                                                          comply with the standard of care that Griffith Labs was in fact using in its
                                                          other EtO facilities in the United States and other countries, which resulted
                                                          in EtO emissions from the Willowbrook facilities that were sometimes
                                                          hundreds of times higher, and more dangerous, than those at Griffith Labs’
                                                          other facilities;

                                                     g. Failing to employ safe methods to adequately control, reduce, minimize,
                                                        and/or mitigate EtO emissions from the facilities;

                                                     h. Using EtO as part of its sterilization process when safer alternatives could
                                                        accomplish the same or similar business purpose without presenting the
                                                        same level of risk to human health and well-being;

                                                     i.   Conducting operations which exposed Plaintiffs, their decedents, and
                                                          others to unsafe levels EtO and a heightened cancer risk;

                                                     j.   Emitting massive and unnecessary amounts of EtO into the air from the
                                                          facilities;

                                                     k. Failing to heed IEPA’s warning that emissions into the Willowbrook
                                                        community based on Griffith’s operational design would be “several
                                                        magnitudes higher than desirable”;

                                                     l.   Failing to heed IEPA’s advisement that steps “can be taken to minimize
                                                          emissions in order to reduce the ambient impacts to an acceptable level”;




                                                                                           98
                                            Case:
                                             Case:1:21-cv-04581
                                                    1:21-cv-04581
                                                                Document
                                                                  Document
                                                                         #:#:
                                                                           45-1
                                                                              1-1Filed:
                                                                                 Filed:09/23/22
                                                                                        08/27/21Page
                                                                                                Page145
                                                                                                     99 of
                                                                                                        of119
                                                                                                           165PageID
                                                                                                              PageID#:119
                                                                                                                     #:1110




                                                     m. Failing to warn the Willowbrook community, including Plaintiffs, that the
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                        toxicity data reviewed by the IEPA and communicated to Griffith
                                                        “provides evidence of human cancers of the pancreas, bladder, brain,
                                                        central nervous system and stomach associated with EtO exposure”;

                                                     n. Failing to warn the Willowbrook community, including Plaintiffs, that
                                                        “various animal studies have shown carcinogenic, mutagenic, leukogenic
                                                        and teratogenic effects” of EtO exposure;

                                                     o. Failing to warn its neighbors that they were in danger because of the
                                                        Willowbrook facility’s EtO emissions, even though Griffith Labs: (A) knew
                                                        that the emissions threatened its neighbors’ health and that its neighbors
                                                        had no idea that EtO was even being emitted into their community, and
                                                        (B) provided warnings to residents living near some of Griffith Labs’ other
                                                        EtO sterilization facilities outside of Illinois;

                                                     p. Failing to warn or advise Plaintiffs, their decedents, and others who lived
                                                        or worked near the facilities that they were being exposed to EtO;

                                                     q. Failing to warn or advise Plaintiffs, their decedents, and others who lived
                                                        or worked near the facilities that they were inhaling EtO;

                                                     r. Failing to warn or advise Plaintiffs, their decedents, and others who lived
                                                        or worked near the facilities that it was emitting a known carcinogen into
                                                        the air from the facilities;

                                                     s. Failing to test the air outside the Willowbrook facility (ambient air) to
                                                        determine the concentrations of EtO that had been emitted from the facility
                                                        and would be inhaled by Griffith Labs’ neighbors, even though Griffith
                                                        Labs was specifically required to conduct extensive ambient air testing in
                                                        1984-1986 as a special condition for its permit to operate the Willowbrook
                                                        facility;

                                                     t.   Failing to adequately study and test the effect of its EtO emissions from the
                                                          facilities on the quality of air;

                                                     u. Failing to adequately study and test the effect of its EtO emissions from the
                                                        facilities on the health and well-being of people who lived or worked near
                                                        the facilities;




                                                                                           99
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 100
                                                                                                       146 of 119
                                                                                                              165 PageID #:120
                                                                                                                         #:1111




                                                     v. Misleading the State’s regulator, Illinois EPA, by, inter alia, failing to inform
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                        the agency as to what Griffith Labs knew about the dangers of EtO to
                                                        human health; planning to emit more EtO from the Willowbrook facility
                                                        than it had represented to induce IEPA into granting Griffith Labs the
                                                        initial Willowbrook permit; failing to advise IEPA that it was not using the
                                                        same caliber equipment and processes in Willowbrook that it was using at
                                                        its other facilities; and reporting to IEPA EtO emissions from Willowbrook
                                                        that were based on assumptions which Griffith Labs knew had no basis or
                                                        were false;

                                                     w. Failing to train its employees and failing to audit the Willowbrook facility
                                                        to ensure that the facility’s operations were not endangering its neighbors
                                                        even though such training and auditing were Griffith Labs’
                                                        responsibilities;

                                                     x. Placing its own economic interests above the health and well-being of those
                                                        who lived or worked near the facilities;

                                                     y. Failing to provide the Operators with capital to invest in reasonable
                                                        emission control systems even though such capital was available;

                                                     z. Failing to provide the Operators with capital to invest in reasonable
                                                        equipment upgrades and maintenance even though such capital was
                                                        available;

                                                     aa. Working independently and through an EtO industry lobbyist to
                                                         improperly dispute conclusions concerning the health dangers of EtO that
                                                         had been reached by independent scientists and health agencies with the
                                                         purpose of understating those health dangers and ultimately creating a
                                                         justification for emissions that endangered the health of those living near
                                                         the Willowbrook (and other) sterilization facilities;

                                                     bb. Emitting EtO, a known carcinogen, into the air from the facilities before
                                                         fully studying, researching, or understanding the deleterious impact that
                                                         EtO inhalation exposure has on the health, safety, and well-being of those
                                                         in the surrounding area; and

                                                     cc. deliberately concealing its knowledge concerning the deleterious impact
                                                         that EtO inhalation exposure has on Plaintiffs, their decedents, and others
                                                         who lived or worked near the facilities.




                                                                                          100
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 101
                                                                                                       147 of 119
                                                                                                              165 PageID #:121
                                                                                                                         #:1112




                                                    301.   As a direct and proximate result of one or more of the foregoing acts or omissions,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                    WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.

                                                                                       COUNT 16
                                             Ultrahazardous Activity / Strict Liability – Griffith Foods International, Inc. (Griffith Labs)

                                                    302.   Plaintiffs incorporate by reference all allegations contained herein.

                                                    303.   The use and emission of EtO from the facilities constitutes an ultrahazardous

                                            activity.

                                                    304.   The use and emission of EtO created a high degree of risk to Plaintiffs, their

                                            decedents, and others who lived or worked near the facilities such that the likelihood of cancer

                                            caused by its use and emission of EtO is as much as 64 times the level of acceptable risk.

                                                    305.   The use and emission of EtO is especially inappropriate given the area in which it

                                            is located; namely, within a densely populated residential area.

                                                    306.   While the activities conducted at the facilities are exceedingly dangerous, they

                                            offer little to no value to the surrounding community.

                                                    307.   Griffith Labs is strictly liable for any injuries proximately resulting therefrom.




                                                                                            101
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 102
                                                                                                       148 of 119
                                                                                                              165 PageID #:122
                                                                                                                         #:1113




                                                     308.   As a direct and proximate result of one or more of the foregoing acts or omissions,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                     WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.

                                                                                       COUNT 17
                                                            Civil Battery – Griffith Foods International, Inc. (Griffith Labs)

                                                     309.   Plaintiffs incorporate by reference all allegations contained herein.

                                                     310.   At all relevant times, Griffith Labs knew that EtO emitted from the facilities would

                                            have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-being of

                                            persons inhaling it.

                                                     311.   Notwithstanding this knowledge, Griffith Labs caused and/or set in motion events

                                            that caused EtO to come in contact with Plaintiffs and their decedents.

                                                     312.   Plaintiffs and their decedents’ contact with EtO was offensive and harmful.

                                                     313.   Griffith Labs intentionally emitted EtO into the air despite its knowledge that it

                                            would contact people who lived or worked near the facilities.

                                                     314.   Plaintiffs and their decedents did not consent to contact with EtO emitted from the

                                            facilities.




                                                                                            102
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 103
                                                                                                       149 of 119
                                                                                                              165 PageID #:123
                                                                                                                         #:1114




                                                   315.    As a direct and proximate result of one or more of the foregoing acts or omissions,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.

                                                                                      COUNT 18
                                                          Public Nuisance – Griffith Foods International, Inc. (Griffith Labs)

                                                   316.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   317.    The general public has a common right to breathe in clean air without dangerous

                                            levels of carcinogens such as EtO. The Illinois Constitution guarantees these rights to its citizens.

                                            Article XI of the Illinois Constitution of 1970, Environment, Section 1, Public Policy - Legislative

                                            Responsibility, provides that:

                                                           The public policy of the State and the duty of each person is to
                                                           provide and maintain a healthful environment for the benefit of this
                                                           and future generations. The General Assembly shall provide by law
                                                           for the implementation and enforcement of this public policy.

                                                   Article XI of the Illinois Constitution of 1970, Environment, Section 2, Rights of

                                            Individuals, provides that:

                                                           Each person has the right to a healthful environment. Each person
                                                           may enforce this right against any party, governmental or private,
                                                           through appropriate legal proceedings subject to reasonable
                                                           limitation and regulation as the General Assembly may provide by
                                                           law.



                                                                                            103
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 104
                                                                                                       150 of 119
                                                                                                              165 PageID #:124
                                                                                                                         #:1115




                                                    318.     The activities of Griffith Labs as described above unreasonably infringed upon
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            and/or transgressed this public right by causing those who lived and worked in the area

                                            surrounding the facilities to inhale high levels of EtO on a routine and constant basis, and further,

                                            to be exposed to air causing a substantially elevated risk of cancer.

                                                    319.     Griffith Labs’ use and emission of EtO is especially inappropriate given the area

                                            in which it is located; namely, within a densely populated residential area.

                                                    320.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                    WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.

                                                                                          COUNT 19
                                                           In Concert Liability – Griffith Foods International, Inc. (Griffith Labs)

                                                    321.     Plaintiffs incorporate by reference all allegations contained herein.

                                                    322.     Illinois law has adopted section 876 of the Restatement (Second) of Torts, entitled

                                            “Persons Acting In Concert,” which holds liable persons who act “in concert” with another

                                            tortfeasor to cause harm. E.g., Woods v. Cole, 181 Ill.2d 512 (1998).

                                                    323.     Specifically, for harm resulting to a third person for the tortious conduct of

                                            another, one is subject to liability if he (a) does a tortious act in concert with the other or pursuant




                                                                                              104
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 105
                                                                                                       151 of 119
                                                                                                              165 PageID #:125
                                                                                                                         #:1116




                                            to a common design with him, or (b) knows that the other’s conduct constitutes a breach of duty
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            and gives substantial assistance or encouragement to the other to so conduct himself, or (c) gives

                                            substantial assistance to the other in accomplishing a tortious result and his own conduct,

                                            separately considered, constitutes a breach of duty to the third person.

                                                   324.    The activities of Griffith Labs as described above, including those occurring

                                            subsequent to its October 1984 asset transfer to Micro-Biotrol Company: (a) were done in concert

                                            with the operators of the Willowbrook facility or pursuant to a common design with the

                                            operators, namely, to operate an ethylene oxide sterilization facility in a residential community

                                            with insufficient pollution controls and without warning to the community; (b) gave substantial

                                            assistance or encouragement to the Willowbrook facility operators knowing that such operators

                                            were breaching duties to Plaintiffs; and (c) gave substantial assistance to the Willowbrook facility

                                            operators to accomplish such tortious result and, when separately considered, Griffith Labs’

                                            conduct constituted an independent breach of duty to Plaintiffs.

                                                   325.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Griffith Foods International, Inc. in an amount to be determined by a trier of fact.




                                                                                            105
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 106
                                                                                                       152 of 119
                                                                                                              165 PageID #:126
                                                                                                                         #:1117




                                                                                      COUNT 20
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                                Negligence – Bob Novak

                                                   326.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   327.    Beginning in August 2003, Mr. Novak was the Operations Manager at the

                                            Willowbrook facilities.

                                                   328.    In that capacity, Mr. Novak was responsible for the operation of the facilities,

                                            coordinating and overseeing all activities in facility operations, which included testing and

                                            analysis to determine the nature and extent of EtO emissions.

                                                   329.    At all relevant times, Mr. Novak had a duty to exercise ordinary care for the health,

                                            safety, and well-being of Plaintiffs, their decedents, and others who lived and worked in the area

                                            surrounding the facilities.

                                                   330.    At all relevant times, Mr. Novak knew or should have known that the EtO emitted

                                            from the facilities would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons inhaling it.

                                                   331.    Mr. Novak breached his duty and failed to exercise ordinary care in one or more

                                            of the following ways:

                                                       a. by permitting chamber doors to remain open during and/or after the
                                                          sterilization process and thereby allowing dangerous amounts of EtO to
                                                          escape the chamber area in the facilities;

                                                       b. by permitting products that have been sterilized and are still off-gassing to
                                                          be placed and stored in areas without pollution control and/or adequate
                                                          ventilation system in the facilities;




                                                                                             106
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 107
                                                                                                       153 of 119
                                                                                                              165 PageID #:127
                                                                                                                         #:1118




                                                       c. by allowing at least six chambers to run at the same time and thereby
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          overloading the vacuum system such that pollution control for one or more
                                                          chambers was inoperable and/or ineffective in the facilities;

                                                       d. by allowing exterior doors to remain open for unreasonable lengths of time
                                                          in the facilities;

                                                       e. by failing to timely order and/or replace filters for the dry system and
                                                          thereby allowing excess amounts of EtO emissions therefrom in the
                                                          facilities;

                                                       f.   by failing to properly monitor EtO emissions and/or document EtO
                                                            emissions resulting in an inaccurate report on pollution relating to the
                                                            facilities;

                                                       g. by failing to employ safe methods to adequately control, reduce, minimize,
                                                          and/or mitigate EtO emissions from the facilities;

                                                       h. by permitting emissions of excessive, unnecessary, and/or dangerous
                                                          volumes of EtO into air from the facilities;

                                                       i.   by subjecting Plaintiffs, their decedents, and others who lived and worked
                                                            near the facilities to an elevated cancer risk;

                                                       j.   by failing to warn or advise Plaintiffs, their decedents, and others who
                                                            lived and worked in the Willowbrook area that they were being exposed
                                                            to EtO notwithstanding his knowledge that EtO is toxic, poisonous, and
                                                            causes adverse medical issues including, but not limited to, cancer; and

                                                       k. by failing to a warn or advise Plaintiffs, their decedents, and others who
                                                          lived and worked in the Willowbrook area that they were inhaling EtO
                                                          notwithstanding his knowledge that EtO is toxic, poisonous, and causes
                                                          adverse medical issues including, but not limited to, cancer.

                                                   332.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur




                                                                                            107
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 108
                                                                                                       154 of 119
                                                                                                              165 PageID #:128
                                                                                                                         #:1119




                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Bob Novak in an amount to be determined by a trier of fact.

                                                                                     COUNT 21
                                                                       Willful and Wanton Conduct – Bob Novak

                                                   333.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   334.    At all relevant times, Mr. Novak had a duty to refrain from willful and wanton

                                            conduct and/or conduct that exhibits an utter indifference and/or conscious disregard to the

                                            health, safety, and well-being of Plaintiffs, their decedents, and others who lived and worked in

                                            the area surrounding the facilities.

                                                   335.    At all relevant times, Mr. Novak knew that EtO emitting from the facilities would

                                            have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-being of

                                            persons inhaling it.

                                                   336.    Mr. Novak breached his duty and was guilty of willful and wanton conduct in one

                                            or more of the following ways:

                                                       a. by approving test results and/or monitoring systems which provided
                                                          misleading and inaccurate report on pollution relating to the facilities;

                                                       b. by permitting emissions of massive and unnecessary amounts of EtO into
                                                          the air from the Facility notwithstanding his knowledge that EtO is toxic,
                                                          poisonous, and causes adverse medical issues including, but not limited to,
                                                          cancer;

                                                       c. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                          lived and worked in the Willowbrook area that they were being exposed


                                                                                           108
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 109
                                                                                                       155 of 119
                                                                                                              165 PageID #:129
                                                                                                                         #:1120




                                                            to EtO notwithstanding his knowledge that EtO is toxic, poisonous, and
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                            causes adverse medical issues including, but not limited to, cancer;

                                                       d. by failing to a warn or advise Plaintiffs, their decedents, and others who
                                                          lived and worked in the Willowbrook area that they were inhaling EtO
                                                          notwithstanding his knowledge that EtO is toxic, poisonous, and causes
                                                          adverse medical issues including, but not limited to, cancer;

                                                       e. by deliberately concealing his knowledge concerning the deleterious
                                                          impact that EtO inhalation exposure has on people who lived or worked
                                                          near the facilities; and

                                                       f.   by subjecting Plaintiffs, their decedents, and others who lived and worked
                                                            near the facilities to an elevated cancer risk without warning them of the
                                                            same.

                                                   337.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Bob Novak in an amount to be determined by a trier of fact.

                                                                                      COUNT 22
                                                                                Negligence – Roger Clark

                                                   338.     Plaintiffs incorporate by reference all allegations contained herein.

                                                   339.     Mr. Clark was the Maintenance Supervisor at the Willowbrook facilities from the

                                            late 1980s until approximately 2015.




                                                                                            109
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 110
                                                                                                       156 of 119
                                                                                                              165 PageID #:130
                                                                                                                         #:1121




                                                   340.    In that capacity, Mr. Clark was responsible for calibrating the internal EtO
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            monitors and overseeing the sterilization process at the facilities.

                                                   341.    At all relevant times, Mr. Clark had a duty to exercise ordinary care for the health,

                                            safety, and well-being of Plaintiffs, their decedents, and others who lived and worked in the area

                                            surrounding the facilities.

                                                   342.    At all relevant times, Mr. Clark knew or should have known that the EtO emitting

                                            from the facilities would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons inhaling it.

                                                   343.    Mr. Clark breached his duty and failed to exercise ordinary care in one or more of

                                            the following ways:

                                                       a. by inaccurately calibrating and/or manipulating internal EtO monitors to
                                                          allow for erroneous monitoring results and excessive levels of EtO in the
                                                          facilities;

                                                       b. by failing to properly monitor EtO emissions and/or document EtO
                                                          emissions resulting in an inaccurate report on pollution relating to the
                                                          facilities;

                                                       c. by permitting chamber doors to remain open during and/or after the
                                                          sterilization process and thereby allowing dangerous amounts of EtO to
                                                          escape the chamber area in the facilities;

                                                       d. by permitting products that have been sterilized and are still off-gassing to
                                                          be placed and stored in areas without pollution control and/or adequate
                                                          ventilation system in the facilities;

                                                       e. by allowing at least six chambers to run at the same time and thereby
                                                          overloading the vacuum system such that pollution control for one or more
                                                          chambers was inoperable and/or ineffective in the facilities;




                                                                                             110
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 111
                                                                                                       157 of 119
                                                                                                              165 PageID #:131
                                                                                                                         #:1122




                                                       f.   by allowing exterior doors in the warehouse to remain open for
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                            unreasonable lengths of time in the facilities;

                                                       g. by failing to timely order and/or replace filters for the dry system and
                                                          thereby allowing excess amounts of EtO emissions therefrom in the
                                                          facilities;

                                                       h. by failing to employ safe methods to adequately control, reduce, minimize,
                                                          and/or mitigate EtO emissions from the facilities;

                                                       i.   by permitting emissions of excessive, unnecessary, and/or dangerous
                                                            volumes of EtO into air from the facilities;

                                                       j.   by subjecting Plaintiffs, their decedents, and others who lived or worked
                                                            near the facilities to an elevated cancer risk;

                                                       k. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                          lived or worked near the facilities that they were being exposed to EtO
                                                          notwithstanding his knowledge that EtO is toxic, poisonous, and causes
                                                          adverse medical issues including, but not limited to, cancer; and

                                                       l.   by failing to a warn or advise Plaintiffs, decedents, and others who lived
                                                            or worked near the facilities that they were inhaling EtO notwithstanding
                                                            his knowledge that EtO is toxic, poisonous, and causes adverse medical
                                                            issues including, but not limited to, cancer.

                                                   344.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Roger Clark in an amount to be determined by a trier of fact.




                                                                                            111
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 112
                                                                                                       158 of 119
                                                                                                              165 PageID #:132
                                                                                                                         #:1123




                                                                                     COUNT 23
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                      Willful and Wanton Conduct – Roger Clark

                                                   345.    Plaintiffs incorporate by reference all allegations contained herein.

                                                   346.    At all relevant times, Mr. Clark had a duty to refrain from willful and wanton

                                            conduct and/or conduct that exhibits an utter indifference and/or conscious disregard to the

                                            health, safety, and well-being of Plaintiffs, their decedents, and others who lived and worked in

                                            the area surrounding the facilities.

                                                   347.    At all relevant times, Mr. Clark knew that EtO emitting from the facilities would

                                            have a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-being of

                                            persons inhaling it.

                                                   348.    Mr. Clark breached his duty and was guilty of willful and wanton conduct in one

                                            or more of the following ways:

                                                       a. by deliberately falsifying test results and/or inaccurately calibrating and/or
                                                          manipulating the monitoring systems to provide a misleading and
                                                          inaccurate report on pollution relating to the facilities;

                                                       b. by permitting emissions of EtO into the air from the facilities
                                                          notwithstanding his knowledge that EtO is toxic, poisonous, and causes
                                                          adverse medical issues including, but not limited to, cancer;

                                                       c. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                          lived or worked near the facilities that they were being exposed to EtO
                                                          notwithstanding his knowledge that EtO is toxic, poisonous, and causes
                                                          adverse medical issues including, but not limited to, cancer;

                                                       d. by failing to a warn or advise Plaintiffs, their decedents, and others who
                                                          lived or worked near the facilities that they were inhaling EtO
                                                          notwithstanding his knowledge that EtO is toxic, poisonous, and causes
                                                          adverse medical issues including, but not limited to, cancer;




                                                                                           112
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 113
                                                                                                       159 of 119
                                                                                                              165 PageID #:133
                                                                                                                         #:1124




                                                       e. by deliberately concealing his knowledge concerning the deleterious
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                          impact that EtO inhalation exposure had on people who lived or worked
                                                          near the facilities; and

                                                       f.   by subjecting Plaintiffs, their decedents, and others who lived or worked
                                                            near the facilities to an elevated cancer risk without warning them of the
                                                            same.

                                                   349.     As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against Roger Clark in an amount to be determined by a trier of fact.

                                                                                      COUNT 24
                                                                                   Negligence – GTCR

                                                   350.     Plaintiffs incorporate by reference all allegations contained herein.

                                                   351.     Along with Sterigenics, GTCR owned and operated the facilities since 2011.

                                                   352.     In that capacity, GTCR had a duty to exercise ordinary care for the health, safety,

                                            and well-being of Plaintiffs, the decedents, and all those living and working in the area

                                            surrounding the facilities.

                                                   353.     At all relevant times, GTCR knew or should have known that the EtO emitting

                                            from the facilities would have a toxic, poisonous, and highly deleterious effect upon the health,

                                            safety, and well-being of persons inhaling it.




                                                                                             113
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 114
                                                                                                       160 of 119
                                                                                                              165 PageID #:134
                                                                                                                         #:1125




                                                   354.   GTCR breached its duty and failed to exercise ordinary care in one or more of the
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            following ways:

                                                          a. by emitting massive and unnecessary amounts of EtO into air from the
                                                             facilities;

                                                          b. by using EtO as part of its sterilization process when safer alternatives
                                                             could accomplish the same or similar business purpose without
                                                             presenting the same level of risk to human health and well-being;

                                                          c. by placing its own economic interests above the health and well-being
                                                             of Plaintiffs, their decedents, and others who lived or worked near the
                                                             facilities;

                                                          d. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                             lived or worked near the facilities that they were being exposed to EtO;

                                                          e. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                             lived or worked near the facilities that they were inhaling EtO;

                                                          f.   by failing to warn or advise Plaintiffs, their decedents, and others who
                                                               lived or worked near the facilities that it was emitting a known
                                                               carcinogen into the air from the facilities;

                                                          g. by failing to employ safe methods to adequately control, reduce,
                                                             minimize, and/or mitigate EtO emissions from the facilities;

                                                          h. by failing to adequately study and test the effect of its EtO emissions
                                                             from the facilities on the quality of air;

                                                          i.   by failing to adequately study and test the effect of its EtO emissions
                                                               from the facilities on the health and well-being of people who lived or
                                                               worked near the facilities; and

                                                          j.   by subjecting Plaintiffs, their decedents, and others who lived and
                                                               worked near the facilities to an elevated cancer risk.

                                                   355.   As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and


                                                                                           114
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 115
                                                                                                       161 of 119
                                                                                                              165 PageID #:135
                                                                                                                         #:1126




                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                    WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against GTCR, LLC in an amount to be determined by a trier of fact.

                                                                                       COUNT 25
                                                                          Willful and Wanton Conduct – GTCR

                                                    356.   Plaintiffs incorporate by reference all allegations contained herein.

                                                    357.   At all relevant times, GTCR had a duty to refrain from willful and wanton conduct

                                            and/or conduct that exhibits an utter indifference and/or conscious disregard to the health, safety,

                                            and well-being of Plaintiffs, their decedents, and all those living and working in the area

                                            surrounding the facilities.

                                                    358.   At all relevant times, GTCR knew that EtO emitting from the facilities would have

                                            a toxic, poisonous, and highly deleterious effect upon the health, safety, and well-being of persons

                                            inhaling it.

                                                    359.   GTCR breached its duty and was guilty of willful and wanton conduct in one or

                                            more of the following ways:

                                                           a. by permitting emissions of massive and unnecessary amounts of EtO
                                                              into the air from the facilities notwithstanding its knowledge that EtO
                                                              is toxic, poisonous, and causes adverse medical issues including, but
                                                              not limited to, cancer;

                                                           b. by failing to warn or advise Plaintiffs, their decedents, and others who
                                                              lived or worked near the facilities that they were being exposed to EtO




                                                                                            115
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 116
                                                                                                       162 of 119
                                                                                                              165 PageID #:136
                                                                                                                         #:1127




                                                                notwithstanding its knowledge that EtO is toxic, poisonous, and causes
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                                                adverse medical issues including, but not limited to, cancer;

                                                           c. by failing to a warn or advise Plaintiffs, their decedents, and others who
                                                              lived or worked near the facilities that they were inhaling EtO
                                                              notwithstanding its knowledge that EtO is toxic, poisonous, and causes
                                                              adverse medical issues including, but not limited to, cancer;

                                                           d. by permitting emissions of EtO, a known carcinogen, into the air from
                                                              the facilities before fully studying, researching, or understanding the
                                                              deleterious impact that EtO inhalation exposure has on the health,
                                                              safety, and well-being of those in the surrounding area;

                                                           e. by deliberately concealing its knowledge concerning the deleterious
                                                              impact that EtO inhalation exposure has on people who lived or
                                                              worked near the facilities; and

                                                           f.   by subjecting Plaintiffs, their decedents, and others who lived or
                                                                worked near the facilities to an elevated cancer risk without warning
                                                                them of the same.

                                                   360.    As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and

                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur

                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against GTCR, LLC in an amount to be determined by a trier of fact.

                                                                                       COUNT 26
                                                                                Public Nuisance - GTCR

                                                   361.    Plaintiffs incorporate by reference all allegations contained herein.




                                                                                           116
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 117
                                                                                                       163 of 119
                                                                                                              165 PageID #:137
                                                                                                                         #:1128




                                                   362.       The general public has a common right to breathe in clean air without dangerous
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            levels of carcinogens such as EtO. The Illinois Constitution guarantees these rights to its citizens.

                                            Article XI of the Illinois Constitution of 1970, Environment, Section 1, Public Policy - Legislative

                                            Responsibility, provides that:

                                                              The public policy of the State and the duty of each person is to
                                                              provide and maintain a healthful environment for the benefit of this
                                                              and future generations. The General Assembly shall provide by law
                                                              for the implementation and enforcement of this public policy.

                                            Article XI of the Illinois Constitution of 1970, Environment, Section 2, Rights of Individuals,

                                            provides that:

                                                              Each person has the right to a healthful environment. Each person
                                                              may enforce this right against any party, governmental or private,
                                                              through appropriate legal proceedings subject to reasonable
                                                              limitation and regulation as the General Assembly may provide by
                                                              law.

                                                   363.       GTCR’s use and emission of EtO from the facilities substantially and unreasonably

                                            infringed upon and/or transgresses this public right. In particular, the activities of GTCR caused

                                            those who lived and worked in the area surrounding the facilities to inhale high levels of EtO on

                                            a routine and constant basis, and further, to be exposed to air causing a substantially elevated

                                            risk of cancer.

                                                   364.       GTCR’s use and emission of EtO is especially inappropriate given the area in

                                            which it is located; namely, within a densely populated residential area.

                                                   365.       As a direct and proximate result of one or more of the foregoing acts or omissions,

                                            Plaintiffs and their decedents inhaled dangerous amounts of EtO and developed the diseases and




                                                                                              117
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 118
                                                                                                       164 of 119
                                                                                                              165 PageID #:138
                                                                                                                         #:1129




                                            conditions identified in their Short Form Complaints and, as a result, have been caused to incur
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            and endure medical bills, lost wages, pain and suffering, mental anguish, disability,

                                            disfigurement, reduced life expectancy, loss of normal life, and death.

                                                   WHEREFORE Plaintiffs respectfully request that judgment be entered in their favor and

                                            against GTCR in an amount to be determined by a trier of fact.




                                            Date: April 16, 2021                                 Respectfully submitted,

                                                                                                 /s/ Antonio M. Romanucci
                                                                                                 Antonio M. Romanucci

                                            Antonio M. Romanucci, Lead Counsel
                                            Bryce T. Hensley, Liaison Counsel
                                            ROMANUCCI & BLANDIN, LLC
                                            321 N. Clark Street, Suite 900
                                            Chicago, IL 60654
                                            (312) 458-1000
                                            aromanucci@rblaw.net
                                            bhensley@rblaw.net




                                                                                           118
                                            Case:
                                             Case:1:21-cv-04581
                                                   1:21-cv-04581Document
                                                                 Document#:#:45-1
                                                                              1-1 Filed: 08/27/21
                                                                                         09/23/22 Page 119
                                                                                                       165 of 119
                                                                                                              165 PageID #:139
                                                                                                                         #:1130
FILED DATE: 4/16/2021 2:00 PM 2018L010475




                                            Steven A. Hart                               Scott A. Entin
                                            Brian H. Eldridge                            Sarah Siskind
                                            John S. Marrese                              Deanna Pihos
                                            HART MCLAUGHLIN & ELDRIDGE                   MINER, BARNHILL & GALLAND, P.C.
                                            22 W. Washington Street, Suite 1600          325 N. LaSalle St., Ste. 350
                                            Chicago, Illinois 60602                      Chicago, IL 60654
                                            (312) 955-0545                               (312) 751-1170
                                            shart@hmelegal.com                           sentin@lawmbg.com
                                            beldridge@hmelegal.com                       ssiskind@lawmbg.com
                                            jmarrese@hmelegal.com                        dpihos@lawmbg.com

                                            Patrick A. Salvi II
                                            Lance Northcutt                              Daniel M. Kotin
                                            Jennifer M. Cascio                           Shawn K. Kasserman
                                            SALVI, SCHOSTOK & PRITCHARD P.C.             Loren Legorreta
                                            161 North Clark Street, Suite 4700           TOMASIK KOTIN KASSERMAN, LLC
                                            Chicago, IL 60601                            161 North Clark Street, Suite 3050
                                            (312) 372-1227                               Chicago, Illinois 60601
                                            psalvi2@salvilaw.com                         (312) 605-8800
                                            lnorthcutt@salvilaw.com                      dan@ttklaw.com
                                            jcascio@salvilaw.com                         skasserman@tkklaw.com
                                                                                         loren@tkkkaw.com
                                            Todd Smith
                                            Brian LaCien                                 Shawn Collins
                                            SMITH LACIEN LLP                             Edward J. Manzke
                                            70 West Madison, Suite 5770                  Margaret Galka
                                            Chicago, Illinois                            THE COLLINS LAW FIRM, P.C.
                                            (312) 236-9381                               1770 Park St., Ste. 200
                                            tsmith@smithlacien.com                       Naperville, IL 60563
                                            blacien@smithlacien.com                      (630) 537-1595
                                                                                         shawn@collinslaw.com
                                                                                         ejmanzke@collinslaw.com
                                                                                         mgalka@collinslaw.com




                                                                                   119
